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                       EXHIBIT 2
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  12
     Lead Counsel for Lead Plaintiffs
  13
  14 [Additional counsel appear on signature page.]
  15                       UNITED STATES DISTRICT COURT

  16                     CENTRAL DISTRICT OF CALIFORNIA

  17                               SOUTHERN DIVISION

  18 In re QUALITY SYSTEMS, INC.             ) No. 8:13-cv-01818-CJC-JPR
                                             )
     SECURITIES LITIGATION                   ) CLASS ACTION
  19                                         )
  20                                         ) STIPULATION OF SETTLEMENT
       This Document Relates To:             )
  21                                         )
                                             )
            ALL ACTIONS.                     )
  22                                         )
  23
  24
  25
  26
  27
  28
                                                        STIPULATION OF SETTLEMENT
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   1        This Stipulation of Settlement, dated July 16, 2018 (the “Stipulation”), is
   2 made and entered into by and among: (i) Lead Plaintiffs City of Miami Fire
   3 Fighters’ and Police Officers’ Retirement Trust (“Miami”) and Arkansas Teacher
   4 Retirement System (“ATRS”) (collectively, “Lead Plaintiffs”) (on behalf of
   5 themselves and each of the Class Members), by and through their counsel of record
   6 in the Litigation (as defined herein); and (ii) defendants Quality Systems, Inc.
   7 (“QSI”), Steven T. Plochocki, Paul Holt, and Sheldon Razin (collectively,
   8 “Defendants”), by and through their counsel of record in the Litigation. The
   9 Stipulation is intended to fully, finally, and forever resolve, discharge, and settle
  10 the Released Plaintiffs’ Claims and Released Defendants’ Claims (as defined
  11 herein), subject to the approval of the Court and the terms and conditions set forth
  12 in this Stipulation.
  13 I.     THE LITIGATION
  14        The initial complaint in this Litigation was filed on November 19, 2013, in
  15 the United States District Court for the Central District of California, Southern
  16 Division (the “Court”). On February 4, 2014, the Court issued an order appointing
  17 Miami and ATRS as Lead Plaintiffs, and Robbins Geller Rudman & Dowd LLP
  18 and Bernstein Litowitz Berger & Grossmann LLP as Lead Counsel.
  19        On April 7, 2014, Lead Plaintiffs filed their Amended Complaint for
  20 Violations of the Federal Securities Laws (“Amended Complaint”). On June 20,
  21 2014, Defendants moved to dismiss the Amended Complaint, which motion was
  22 opposed by Lead Plaintiffs. On October 20, 2014, the Court granted Defendants’
  23 motion to dismiss with prejudice. On January 30, 2015, Lead Plaintiffs filed a
  24 Notice of Appeal to the Ninth Circuit Court of Appeals of the Court’s order
  25 granting Defendants’ motion to dismiss. Following briefing and oral argument, the
  26 Ninth Circuit issued its opinion on July 28, 2017, reversing the Court’s order
  27 granting Defendants’ motion to dismiss and remanding the case for further
  28                                                         STIPULATION OF SETTLEMENT
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   1 proceedings. Defendants petitioned the United States Supreme Court for a writ of
   2 certiorari regarding the Ninth Circuit ruling, and the Supreme Court ordered Lead
   3 Plaintiffs to respond. Lead Plaintiffs filed an opposition to the petition for a writ of
   4 certiorari, but the Settling Parties reached agreement to settle the case before the
   5 Supreme Court issued its order regarding the petition.
   6        On October 31, 2017, the Settling Parties filed a joint report and Rule 26(f)
   7 discovery plan, and on November 7, 2017, Defendants filed their Answer to the
   8 Amended Complaint.          Shortly thereafter, the Settling Parties began formal
   9 discovery. Lead Plaintiffs served written discovery on Defendants and issued 37
  10 subpoenas to third parties. At the time the settlement was reached, Lead Plaintiffs
  11 had collected over 350,000 pages of documents from Defendants and various third
  12 parties, including deposition transcripts and videos from the related California state
  13 court action, Hussein v. Quality Sys., Inc., et. al, Case No. 30-2013-00679600-CU-
  14 NP-CJC (Super. Ct. Cal., Cty. of Orange). Similarly, Defendants collected over
  15 11,000 pages of documents from Lead Plaintiffs, their investment managers and
  16 other third parties.
  17        In the course of the Litigation, the Settling Parties engaged the services of
  18 Gregory P. Lindstrom, Esq., of Phillips ADR, a nationally recognized mediator.
  19 The Settling Parties participated in an in-person mediation session with
  20 Mr. Lindstrom on May 9, 2018.          While the Settling Parties did not reach an
  21 agreement to settle the Litigation at the mediation, the Settling Parties continued
  22 settlement negotiations with the assistance of Mr. Lindstrom who provided the
  23 Settling Parties with a Mediator’s Proposal on May 10, 2018. The Settling Parties
  24 each accepted the Mediator’s Proposal to settle the Litigation for $19,000,000.00.
  25 II.    DEFENDANTS’ DENIALS OF WRONGDOING AND LIABILITY
  26        Defendants have denied and continue to deny each and all of the claims
  27 alleged by Lead Plaintiffs and the Class in the Litigation. Defendants expressly
  28                                                           STIPULATION OF SETTLEMENT
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   1 have denied and continue to deny all charges of wrongdoing or liability against
   2 them arising out of any of the conduct, statements, acts or omissions alleged, or
   3 that could have been alleged, in the Litigation. Defendants also have denied and
   4 continue to deny, among other allegations, the allegations that Lead Plaintiffs or
   5 the Class have suffered any damage, that the price of QSI common stock was
   6 artificially inflated by reasons of alleged misrepresentations, non-disclosures or
   7 otherwise, or that Lead Plaintiffs or the Class were harmed by the conduct alleged,
   8 or that could have been alleged, in the Litigation. Defendants believe that the
   9 Litigation is without merit and the evidence developed to date supports their
  10 position that they acted in good faith and in a manner they reasonably believed to
  11 be in accordance with all applicable rules, regulations, and laws. Defendants also
  12 believe that their public statements during the Class Period contained no material
  13 misstatements or omissions.      In addition, Defendants maintain that they have
  14 meritorious defenses to all claims alleged in the Litigation.
  15        Nonetheless, Defendants have taken into account the uncertainty and risks
  16 inherent in any litigation, especially in complex cases such as this Litigation, and
  17 have, therefore, determined that it is desirable and beneficial to them that the
  18 Litigation be settled in the manner and upon the terms and conditions set forth in
  19 this Stipulation.
  20 III.   LEAD PLAINTIFFS’ CLAIMS AND
            THE BENEFITS OF SETTLEMENT
  21
  22        Lead Plaintiffs believe that the claims asserted in the Litigation have merit
  23 and that the evidence developed to date supports the claims. However, Lead
  24 Plaintiffs and their counsel recognize and acknowledge the expense and length of
  25 continued proceedings necessary to prosecute the Litigation against Defendants
  26 through trial and through appeals. Lead Plaintiffs and their counsel also have
  27 taken into account the uncertain outcome and the risk of any litigation, especially
  28                                                          STIPULATION OF SETTLEMENT
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   1 in complex actions such as this Litigation, as well as recent changes in the law and
   2 the difficulties and delays inherent in such litigation. Lead Plaintiffs and their
   3 counsel also are mindful of the inherent problems of proof under and possible
   4 defenses to the securities law violations asserted in the Litigation. Lead Plaintiffs
   5 and their counsel believe that the Settlement set forth in the Stipulation confers
   6 substantial benefits upon the Class. Based on their evaluation, Lead Plaintiffs and
   7 their counsel have determined that the Settlement set forth in the Stipulation is in
   8 the best interests of the Class.
   9 IV.    TERMS OF STIPULATION AND
            AGREEMENT OF SETTLEMENT
  10
  11        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by
  12 and among Lead Plaintiffs (for themselves and the Class) and Defendants, by and
  13 through their attorneys of record, that, subject to the approval of the Court, the
  14 Litigation, the Released Plaintiffs’ Claims, and Released Defendants’ Claims shall
  15 be finally and fully compromised, settled, and released, and the Litigation shall be
  16 dismissed with prejudice, as to all Settling Parties, upon and subject to the terms
  17 and conditions of the Stipulation, as follows.
  18        1.     Definitions
  19        As used in the Stipulation the following terms have the meanings specified
  20 below:
  21        1.1    “Authorized Claimant” means any Class Member who submits a
  22 Claim for payment that is approved for payment from the Net Settlement Fund
  23 pursuant to the terms of this Stipulation and the Court-approved Plan of Allocation.
  24        1.2    “Claim” means a paper claim submitted on a Proof of Claim and
  25 Release or an electronic claim that is submitted to the Claims Administrator.
  26        1.3    “Claimant” means a Person or entity who or which submits a Claim
  27 seeking to be eligible to share in the proceeds of the Net Settlement Fund.
  28                                                         STIPULATION OF SETTLEMENT
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   1         1.4   “Claim Form” or “Proof of Claim and Release” means the form,
   2 substantially in the form attached hereto as Exhibit A-2, that a Claimant must
   3 complete and submit should that Claimant seek to share in the distribution of the
   4 Net Settlement Fund.
   5         1.5   “Claims Administrator” means the firm retained by Lead Plaintiffs
   6 and Lead Counsel, subject to approval of the Court, to administer the Settlement,
   7 including providing all notices approved by the Court to Class Members, and
   8 processing Claims.
   9         1.6   “Class” means all Persons or entities who purchased or otherwise
  10 acquired QSI common stock during the Class Period and were damaged thereby.
  11 Excluded from the Class are (a) Defendants; (b) immediate family members of the
  12 individual Defendants (as defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and
  13 (1)(b)(ii)); (c) present or former executive officers or directors of QSI and their
  14 immediate family members (as defined in 17 C.F.R. §229.404 Instructions
  15 (1)(a)(iii) and (1)(b)(ii)); (d) any firm or entity in which any Defendant has or had
  16 a controlling interest during the Class Period; (e) any affiliates, parents, or
  17 subsidiaries of QSI; (f) all QSI plans that are covered by ERISA; and (g) the legal
  18 representatives, agents, affiliates, heirs, beneficiaries, successors-in-interest, or
  19 assigns of any excluded Person, in their respective capacity as such. Also excluded
  20 from the Class are those Persons who exclude themselves by submitting a request
  21 for exclusion that is accepted by the Court.
  22         1.7   “Class Member(s)” or “Member(s) of the Class” means a Person who
  23 falls within the definition of the Class as set forth in ¶1.6 above.
  24         1.8   “Class Period” means the period from May 26, 2011 through July 25,
  25 2012, inclusive.
  26         1.9   “Defendants” means QSI, Steven T. Plochocki, Paul Holt and Sheldon
  27 Razin.
  28                                                           STIPULATION OF SETTLEMENT
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   1         1.10 “Defendants’ Counsel” means Latham & Watkins LLP.
   2         1.11 “Effective Date,” or the date upon which this Settlement becomes
   3 “effective,” means the date by which all of the events and conditions specified in
   4 ¶7.1 of this Stipulation have been met and have occurred.
   5         1.12 “ERISA” means the Employee Retirement Income Security Act of
   6 1974.
   7         1.13 “Escrow Account” means a segregated account maintained at Valley
   8 National Bank, wherein the Settlement Amount shall be deposited and shall be
   9 maintained and held in escrow under the control of Lead Counsel, acting as agent
  10 for Lead Plaintiffs and the Class, and shall be deemed to be in the custody of the
  11 Court and shall remain subject to the jurisdiction of the Court until such time as the
  12 Settlement Fund is distributed or returned pursuant to the terms of this Stipulation
  13 and further order of the Court.
  14         1.14 “Escrow Agent” means Valley National Bank, which shall be
  15 responsible for overseeing, investing, safeguarding, and distributing the Settlement
  16 Fund held in the Escrow Account, pursuant to the terms of this Stipulation and any
  17 orders entered by the Court, and acting as agent for Lead Plaintiffs and the Class,
  18 and subject to the jurisdiction of the Court.
  19         1.15 “Excluded Claims” means (i) any claims asserted in a derivative
  20 action or ERISA action, including, without limitation, the claims asserted in
  21 Timothy J. Foss v. Craig A. Barbarosh, et al., Case No. 14-cv-00110-CJC (JPRx)
  22 (C.D. Cal.) and Kusumam Koshy v. Craig A. Barbarosh, et al., Case No. 17-cv-
  23 01694-CJC (JPRx) (C.D. Cal.); and (ii) any claims of any Person or entity who or
  24 which submits a request for exclusion that is accepted by the Court.
  25         1.16 “Fee and Expense Application” means the application or applications
  26 for: (a) an award of attorneys’ fees; plus (b) expenses or charges in connection
  27 with prosecuting the Litigation; plus (c) any interest on such attorneys’ fees and
  28                                                          STIPULATION OF SETTLEMENT
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   1 expenses at the same rate and for the same periods as earned by the Settlement
   2 Fund (until paid) as may be awarded by the Court.
   3        1.17 “Fee and Expense Award” means the payment of attorneys’ fees and
   4 expenses of Plaintiffs’ Counsel from the Settlement Fund.
   5        1.18 “Final” means, with respect to the Judgment approving the
   6 Stipulation, substantially in the form of Exhibit B attached hereto or any other
   7 order of the Court, when the last of the following shall occur: (i) the expiration of
   8 the time to file a motion to alter or amend the Judgment or order under Federal
   9 Rule of Civil Procedure 59(e) without any such motion having been filed; (ii) the
  10 time in which to appeal the Judgment or order has passed without any appeal
  11 having been taken; or (iii) if a motion to alter or amend is filed or if an appeal is
  12 taken, immediately after the determination of that motion or appeal so that it is no
  13 longer subject to any further judicial review or appeal whatsoever, whether by
  14 reason of affirmance by a court of last resort, lapse of time, voluntary dismissal of
  15 the appeal or otherwise in such a manner as to permit the consummation of the
  16 Settlement substantially in accordance with the terms and conditions of this
  17 Stipulation. For purposes of this paragraph, an “appeal” shall include any petition
  18 for a writ of certiorari or other writ that may be filed in connection with approval
  19 or disapproval of this Settlement, however, any appeal which concerns only the
  20 issue of Lead Counsel’s attorneys’ fees and expenses, payments to Lead Plaintiffs
  21 for their time and expenses, the Plan of Allocation, as hereinafter defined, or the
  22 procedures for determining Authorized Claimants’ recognized claims shall not in
  23 any way delay or preclude the Judgment from becoming Final.
  24        1.19 “Judgment” means the Final Judgment and Order of Dismissal with
  25 Prejudice to be rendered by the Court, substantially in the form attached hereto as
  26 Exhibit B.
  27
  28                                                         STIPULATION OF SETTLEMENT
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    1        1.20 “Lead Counsel” means Robbins Geller Rudman & Dowd LLP,
    2 655 West Broadway, Suite 1900, San Diego, CA 92101 and Bernstein Litowitz
    3 Berger & Grossmann LLP, 12481 High Bluff Drive, Suite 300, San Diego, CA
    4 92130.
    5        1.21 “Lead Plaintiffs” means Miami and ATRS.
    6        1.22 “Litigation” means the action captioned In re Quality Systems, Inc.
    7 Securities Litigation, Case No. 8:13-cv-01818-CJC-JPR.
    8        1.23 “Net Settlement Fund” means the Settlement Fund less any attorneys’
    9 fees, expenses, and interest and any award to Lead Plaintiffs provided for herein or
   10 approved by the Court and less Notice and Administration Expenses, Taxes and
   11 Tax Expenses, and other fees and expenses authorized by the Court.
   12        1.24 “Notice” means the Notice of (I) Pendency of Class Action and
   13 Proposed Settlement; (II) Settlement Hearing; and (III) Motion for Attorneys’ Fees
   14 and Expenses, substantially in the form attached hereto as Exhibit A-1, which is to
   15 be mailed to Class Members.
   16        1.25 “Notice and Administration Expenses” means all costs, fees, and
   17 expenses incurred in connection with providing notice to the Class and the
   18 administration of the Settlement, including, but not limited to: (i) providing notice
   19 by mail, publication, and other means to Class Members; (ii) receiving and
   20 reviewing Claims; (iii) applying the Plan of Allocation; (iv) communicating with
   21 Persons     regarding   the   Settlement     and   claims      administration       process;
   22 (v) distributing the proceeds of the Settlement; and (vi) fees related to the Escrow
   23 Account and investment of the Settlement Fund.
   24        1.26 “Person” means an individual, corporation (including all divisions and
   25 subsidiaries), general partnership, limited partnership, association, joint stock
   26 company, joint venture, limited liability company, professional corporation, estate,
   27 legal representative, trust, unincorporated association, government or any political
   28                                                             STIPULATION OF SETTLEMENT
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    1 subdivision or agency thereof, and any business or legal entity and their heirs,
    2 predecessors, successors, representatives, or assignees.
    3         1.27 “Plaintiffs’ Counsel” means Lead Counsel, Cypen & Cypen, and
    4 Klausner, Kaufman, Jensen & Levinson.
    5         1.28 “Plan of Allocation” means the proposed plan of allocation of the Net
    6 Settlement Fund set forth in the Notice.
    7         1.29 “Preliminary       Approval     Order”    means     the    proposed       order,
    8 substantially in the form of Exhibit A attached hereto, requesting, inter alia, the
    9 preliminary approval of the Settlement set forth in the Stipulation, and approval for
   10 the mailing of the Notice and publication of the Summary Notice, substantially in
   11 the forms of Exhibits A-1 and A-3 attached hereto.
   12         1.30 “QSI” means Quality Systems, Inc.
   13         1.31 “Released Defendant Party” or “Released Defendant Parties” means
   14 each and all of the Defendants, and each of their respective past or present
   15 subsidiaries, parents, affiliates, principals, successors and predecessors, joint
   16 venturers, assigns, officers, directors, shareholders, underwriters, trustees, partners,
   17 members, agents, fiduciaries, contractors, employees, insurers, co-insurers,
   18 reinsurers, controlling shareholders, attorneys, accountants or auditors, financial or
   19 investment advisors or consultants, banks or investment bankers, personal or legal
   20 representatives, estates, heirs, related or affiliated entities, in their capacity as such,
   21 and any entity in which Defendants have a controlling interest, any member of an
   22 individual Defendant’s immediate family, or any trust of which any individual
   23 Defendant is a settlor or which is for the benefit of any individual Defendant
   24 and/or member(s) of his or her family, and each of the heirs, executors,
   25 administrators, predecessors, successors, and assigns of the foregoing.
   26         1.32 “Released Defendants’ Claims” means any and all actions, suits,
   27 claims, demands, rights, liabilities, obligations, damages, costs, restitution,
   28                                                             STIPULATION OF SETTLEMENT
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    1 rescission, interest, attorneys’ fees, expert or consulting fees, expenses, matters and
    2 issues whatsoever, whether known or unknown, asserted or unasserted, whether
    3 arising under federal, state, local, statutory, common, foreign or administrative
    4 law, or any other law, rule or regulation, whether fixed or contingent, at law or in
    5 equity, whether class or individual in nature, that any Released Defendant Party
    6 could have asserted against any of the Releasing Plaintiff Parties that arise out of
    7 or relate in any way to the institution, prosecution, or settlement of the claims in
    8 the Litigation. “Released Defendants’ Claims” includes “Unknown Claims” as
    9 defined in ¶1.43 hereof. “Released Defendants’ Claims” do not include any claims
   10 relating to the enforcement of the Settlement.
   11        1.33 “Released Plaintiffs’ Claims” means any and all actions, suits, claims,
   12 demands, rights, liabilities, obligations, damages, costs, restitution, rescission,
   13 interest, attorneys’ fees, expert or consulting fees, expenses, matters and issues
   14 whatsoever, whether known or unknown, asserted or unasserted, whether arising
   15 under federal, state, local, statutory, common, foreign or administrative law, or any
   16 other law, rule or regulation, whether fixed or contingent, at law or in equity,
   17 whether class or individual in nature, that any Releasing Plaintiff Party asserted in
   18 the Litigation or could have asserted, directly or indirectly, in any forum that arise
   19 out of or are based upon or related to (i) the purchase or acquisition of QSI
   20 common stock during the Class Period, and (ii) facts, claims, matters, allegations,
   21 transactions, events, disclosures, representations, statements, acts, or omissions or
   22 failures to act that were alleged, set forth, or referred to in the Amended
   23 Complaint. “Released Plaintiffs’ Claims” includes “Unknown Claims” as defined
   24 in ¶1.43 hereof.     “Released Plaintiffs’ Claims” do not include (i) any claims
   25 relating to the enforcement of the Settlement, or (ii) any Excluded Claims.
   26        1.34 “Releasing Plaintiff Party” or “Releasing Plaintiff Parties” means
   27 Lead Plaintiffs, Lead Counsel, each and every Class Member, and each of their
   28                                                          STIPULATION OF SETTLEMENT
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    1 respective past or present subsidiaries, parents, affiliates, principals, successors and
    2 predecessors,     joint   venturers,    assigns,   officers,   directors,    shareholders,
    3 underwriters, trustees, partners, members, agents, fiduciaries, contractors,
    4 employees, insurers, co-insurers, reinsurers, controlling shareholders, attorneys,
    5 accountants or auditors, financial or investment advisors or consultants, banks or
    6 investment bankers, personal or legal representatives, estates, heirs, related or
    7 affiliated entities in their capacity as such. Releasing Plaintiff Parties do not
    8 include any Person who timely and validly seeks exclusion from the Class.
    9        1.35 “Settlement” means the settlement between Lead Plaintiffs and
   10 Defendants on the terms and conditions set forth in this Stipulation.
   11        1.36 “Settlement       Amount”          means    Nineteen      Million       Dollars
   12 ($19,000,000.00) in cash to be paid by wire transfer or check to the Escrow Agent
   13 pursuant to ¶2.2 of this Stipulation.
   14        1.37 “Settlement Fund” means the Settlement Amount plus all interest and
   15 income earned thereon.
   16        1.38 “Settlement Hearing” means the hearing to be held by the Court to
   17 determine whether the Settlement is fair, reasonable and adequate and should be
   18 approved.
   19        1.39 “Settling Parties” means, collectively, Defendants and Lead Plaintiffs
   20 on behalf of themselves and the Class.
   21        1.40 “Summary Notice” means the Summary Notice of (I) Pendency of
   22 Class Action and Proposed Settlement; (II) Settlement Hearing; and (III) Motion
   23 for Attorneys’ Fees and Expenses, substantially in the form attached hereto as
   24 Exhibit A-3, to be published as set forth in the Preliminary Approval Order.
   25        1.41 “Tax” or “Taxes” means any and all taxes, fees, levies, duties, tariffs,
   26 imposts, and other charges of any kind (together with any and all interest,
   27
   28                                                            STIPULATION OF SETTLEMENT
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    1 penalties, additions to tax and additional amounts imposed with respect thereto)
    2 imposed by any governmental authority, whether federal, state or local.
    3         1.42 “Tax Expenses” means, without limitation, expenses of tax attorneys
    4 and/or accountants and mailing and distribution costs and expenses relating to
    5 filing (or failing to file) the returns described in ¶2.10.
    6         1.43 “Unknown Claims” means any and all Released Plaintiffs’ Claims
    7 which the Releasing Plaintiff Parties do not know or suspect to exist in their favor
    8 at the time of the release of the Released Defendant Parties, and any and all
    9 Released Defendants’ Claims which the Released Defendant Parties do not know
   10 or suspect to exist in their favor at the time of the release of the Releasing Plaintiff
   11 Parties, which, if known by him, her, or it, might have affected his, her, or its
   12 decision(s) with respect to the Settlement, including the decision to object to the
   13 terms of the Settlement or to exclude himself, herself, or itself from the Class.
   14 With respect to any and all Released Plaintiffs’ Claims and Released Defendants’
   15 Claims, the Settling Parties stipulate and agree that, upon the Effective Date, Lead
   16 Plaintiffs and Defendants shall expressly waive, and each Releasing Plaintiff Party
   17 and Released Defendant Party shall be deemed to have, and by operation of the
   18 Judgment shall have expressly waived, the provisions, rights, and benefits of
   19 California Civil Code Section 1542, which provides:
   20         A general release does not extend to claims which the creditor
              does not know or suspect to exist in his or her favor at the time of
   21         executing the release, which if known by him or her must have
              materially affected his or her settlement with the debtor.
   22
   23 Lead Plaintiffs and Defendants shall expressly waive, and each Releasing Plaintiff
   24 Party and Released Defendant Party shall be deemed to have, and by operation of
   25 the Judgment shall have expressly waived, any and all provisions, rights, and
   26 benefits conferred by any law of any state or territory of the United States or any
   27 foreign country, or any principle of common law, which is similar, comparable or
   28                                                               STIPULATION OF SETTLEMENT
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    1 equivalent in substance to California Civil Code Section 1542. Lead Plaintiffs, any
    2 Releasing Plaintiff Party, Defendants, or any Released Defendant Party may
    3 hereafter discover facts, legal theories, or authorities in addition to or different
    4 from those which any of them now knows or believes to be true with respect to the
    5 subject matter of the Released Plaintiffs’ Claims and the Released Defendants’
    6 Claims, but Lead Plaintiffs and Defendants shall expressly, fully, finally, and
    7 forever waive, compromise, settle, discharge, extinguish, and release, and each
    8 Releasing Plaintiff Party and Released Defendant Party shall be deemed to have
    9 waived, compromised, settled, discharged, extinguished, and released, and upon
   10 the Effective Date and by operation of the Judgment shall have waived,
   11 compromised, settled, discharged, extinguished, and released, fully, finally, and
   12 forever, any and all Released Plaintiffs’ Claims and Released Defendants’ Claims
   13 as applicable, known or unknown, suspected or unsuspected, contingent or
   14 absolute, accrued or unaccrued, apparent or unapparent, which now exist, or
   15 heretofore existed, or may hereafter exist, without regard to the subsequent
   16 discovery or existence of such different or additional facts, legal theories, or
   17 authorities.    Lead Plaintiffs and Defendants acknowledge, and the Releasing
   18 Plaintiff Parties and Released Defendant Parties shall be deemed by operation of
   19 the Judgment to have acknowledged, that the foregoing waiver was separately
   20 bargained for and a key element of the Settlement.
   21        2.      The Settlement
   22        2.1     The obligations incurred pursuant to this Stipulation are (a) subject to
   23 approval by the Court and the Judgment, reflecting such approval, becoming Final;
   24 and (b) in full and final disposition of the Litigation with respect to the Releasing
   25 Plaintiff Parties and Released Defendant Parties and any and all Released
   26 Plaintiffs’ Claims and Released Defendants’ Claims.
   27
   28                                                           STIPULATION OF SETTLEMENT
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    1               a.    The Settlement Amount
    2        2.2    In full settlement of the claims asserted in the Litigation against
    3 Defendants and in consideration of the releases specified in ¶4 below, all of which
    4 the Settling Parties agree are good and valuable consideration, Defendants shall
    5 pay or cause to be paid the Settlement Amount by wire transfer or check in
    6 accordance with instructions to be provided by the Escrow Agent. The Settlement
    7 Amount shall be paid within thirty (30) calendar days after both (i) entry of
    8 preliminary approval by the Court of this Settlement, and (ii) Lead Counsel
    9 provides to Defendants’ Counsel information necessary to effectuate a transfer of
   10 funds to the Escrow Account, including wire transfer instructions, payment
   11 address, and a complete and executed Form W-9 for the Settlement Fund that
   12 reflects a valid tax identification number. If the entire Settlement Amount is not
   13 timely paid to the Escrow Agent, Lead Counsel may terminate the Settlement but
   14 only if (i) Lead Counsel have notified Defendants’ Counsel in writing of Lead
   15 Counsel’s intention to terminate the Settlement, and (ii) the entire Settlement
   16 Amount is not transferred to the Escrow Agent within five (5) calendar days after
   17 Lead Counsel have provided such written notice by email. The Escrow Agent
   18 shall deposit the Settlement Amount in the Escrow Account.
   19        2.3    With the sole exception of Defendants’ obligation to secure payment
   20 of the Settlement Amount into the Escrow Account as provided for in ¶2.2, the
   21 Released Defendant Parties shall have no responsibility for, interest in, or liability
   22 whatsoever with respect to: (i) any act, omission, or determination by Lead
   23 Counsel or the Claims Administrator, or any of their respective designees, in
   24 connection with the administration of the Settlement or otherwise; (ii) the
   25 management, investment, or distribution of the Settlement Fund; (iii) the Plan of
   26 Allocation; (iv) the determination, administration, calculation, or payment of any
   27 claims asserted against the Settlement Fund; (v) any loss suffered by, or fluctuation
   28                                                          STIPULATION OF SETTLEMENT
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    1 in value of, the Settlement Fund; or (vi) the payment or withholding of any Taxes,
    2 expenses, and/or costs incurred in connection with the taxation of the Settlement
    3 Fund, distributions or other payments from the Escrow Account, or the filing of
    4 any federal, state, or local returns.
    5         2.4    Other than the obligation to cause the payment of the Settlement
    6 Amount pursuant to ¶2.2, Defendants shall have no obligation to make any other
    7 payments into the Escrow Account or to any Class Member pursuant to this
    8 Stipulation.
    9                b.    The Escrow Agent
   10         2.5    The Escrow Agent shall invest the Settlement Amount deposited
   11 pursuant to ¶2.2 hereof in United States Agency or Treasury Securities or other
   12 instruments backed by the Full Faith & Credit of the United States Government or
   13 an Agency thereof, or fully insured by the United States Government or an Agency
   14 thereof and shall reinvest the proceeds of these instruments as they mature in
   15 similar instruments at their then-current market rates. The Released Defendant
   16 Parties shall have no responsibility for, interest in, or liability whatsoever with
   17 respect to investment decisions executed by the Escrow Agent. All risks related to
   18 the investment of the Settlement Fund shall be borne solely by the Settlement
   19 Fund.     The Escrow Agent shall not disburse the Settlement Fund except as
   20 provided in the Stipulation, by an order of the Court, or with the written agreement
   21 of Defendants’ Counsel.
   22         2.6    Subject to further order(s) and/or directions as may be made by the
   23 Court, or as provided in the Stipulation, the Escrow Agent is authorized to execute
   24 such transactions as are consistent with the terms of the Stipulation. The Released
   25 Defendant Parties shall have no responsibility for, interest in, or liability
   26 whatsoever with respect to the actions of the Escrow Agent, or any transaction
   27 executed by the Escrow Agent.
   28                                                         STIPULATION OF SETTLEMENT
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    1        2.7    All funds held by the Escrow Agent shall be deemed and considered
    2 to be in custodia legis of the Court, and shall remain subject to the jurisdiction of
    3 the Court, until such time as such funds shall be distributed or returned pursuant to
    4 the Stipulation and/or further order(s) of the Court.
    5        2.8    Before the Effective Date, without further approval from Defendants
    6 or further order of the Court, Lead Counsel may expend up to $500,000 from the
    7 Settlement Fund to pay Notice and Administration Expenses actually incurred.
    8 Additional sums for this purpose before the Effective Date may be paid from the
    9 Settlement Fund upon order of the Court. Taxes and fees related to the Escrow
   10 Account and investment of the Settlement Fund may be paid as incurred, without
   11 further approval of Defendants or further order of the Court. After the Effective
   12 Date, without approval of Defendants or further order of the Court, Notice and
   13 Administration Expenses may be paid as incurred. In the event that the Settlement
   14 does not become Final, any money paid or incurred for the above purposes,
   15 including any related fees, shall not be returned or repaid to Defendants or their
   16 insurers.
   17        2.9    It shall be Lead Counsel’s responsibility to disseminate the Notice,
   18 Proof of Claim and Release, and Summary Notice to the Class in accordance with
   19 this Stipulation and as ordered by the Court.           Class Members shall have no
   20 recourse as to the Released Defendant Parties with respect to any claims they may
   21 have that arise from any failure of the notice process.
   22               c.    Taxes
   23        2.10 (a)     The Settling Parties agree to treat the Settlement Fund as being
   24 at all times a “qualified settlement fund” within the meaning of Treasury
   25 Regulation Section 1.468B-1. In addition, the Escrow Agent shall timely make, or
   26 cause to be made, such elections as necessary or advisable to carry out the
   27 provisions of this ¶2.10, including the “relation-back election” (as defined in
   28                                                            STIPULATION OF SETTLEMENT
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    1 Treasury Regulation Section 1.468B-1) back to the earliest permitted date. Such
    2 elections shall be made in compliance with the procedures and requirements
    3 contained in such regulations. It shall be the responsibility of the Escrow Agent to
    4 timely and properly prepare and deliver the necessary documentation for signature
    5 by all necessary parties, and thereafter to cause the appropriate filing(s) to occur.
    6               (b)    The Settling Parties agree that Lead Counsel shall be
    7 “administrators” of the qualified Settlement Fund for the purpose of Section 468B
    8 of the Internal Revenue Code of 1986, as amended, and the regulations
    9 promulgated thereunder. Lead Counsel shall timely and properly file, or cause to
   10 be filed, all federal, state, or local tax returns and information returns necessary or
   11 advisable with respect to the earnings on the funds deposited in the Escrow
   12 Account (including, without limitation, the returns described in Treasury
   13 Regulation Section 1.468B-2(k)). Such returns (as well as the election described in
   14 ¶2.10(a) hereof) shall be consistent with this ¶2.10 and in all events shall reflect
   15 that all Taxes (including any estimated Taxes, interest or penalties) on the income
   16 earned on the funds deposited in the Escrow Account shall be paid out of the
   17 Settlement Fund as provided in ¶2.10(c) hereof.
   18               (c)    All (a) Taxes (including any estimated Taxes, interest or
   19 penalties) arising with respect to the income earned by the Settlement Fund,
   20 including any Taxes or tax detriments that may be imposed upon the Released
   21 Defendant Parties or their counsel with respect to any income earned by the
   22 Settlement Fund for any period during which the Settlement Fund does not qualify
   23 as a “qualified settlement fund” for federal or state income tax purposes, and
   24 (b) Tax Expenses, shall be paid out of the Settlement Fund; in all events the
   25 Settling Parties and their counsel shall have no liability or responsibility for the
   26 Taxes or the Tax Expenses. Taxes and Tax Expenses shall be treated as, and
   27 considered to be, a cost of administration of the Settlement Fund and shall be
   28                                                           STIPULATION OF SETTLEMENT
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    1 timely paid by the Escrow Agent out of the Settlement Fund without prior order
    2 from the Court or Defendants and Lead Counsel shall be authorized
    3 (notwithstanding anything herein to the contrary) to withhold from distribution to
    4 Authorized Claimants any funds necessary to pay such amounts, including the
    5 establishment of adequate reserves for any Taxes and Tax Expenses (as well as any
    6 amounts that may be required to be withheld under Treasury Regulation Section
    7 1.468B-2(l)(2)); neither the Releasing Plaintiff Parties, the Released Defendant
    8 Parties nor their counsel are responsible nor shall they have any liability for any
    9 Taxes or Tax Expenses. The Settling Parties hereto agree to cooperate with the
   10 Escrow Agent, each other, their counsel, and their tax attorneys and accountants to
   11 the extent reasonably necessary to carry out the provisions of this ¶2.10.
   12               d.    Termination of Settlement
   13        2.11 In the event that the Settlement is not approved or the Settlement is
   14 terminated, canceled, or fails to become effective for any reason, the Settlement
   15 Fund less Notice and Administration Expenses or Taxes or Tax Expenses paid,
   16 incurred, or due and owing in connection with the Settlement provided for herein,
   17 shall be refunded pursuant to written instructions from Defendants’ Counsel in
   18 accordance with ¶7.5 herein.
   19        3.     Class Certification, Preliminary Approval Order and
                    Settlement Hearing
   20
   21        3.1    Solely for purposes of the Settlement and for no other purpose,
   22 Defendants stipulate and agree to: (a) certification of the Litigation as a class
   23 action pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure
   24 on behalf of the Class; (b) certification of Lead Plaintiffs as Class Representatives;
   25 and (c) appointment of Lead Counsel as Class Counsel pursuant to Rule 23(g) of
   26 the Federal Rules of Civil Procedure.
   27
   28                                                          STIPULATION OF SETTLEMENT
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    1        3.2    Promptly after execution of the Stipulation, the Settling Parties shall
    2 submit the Stipulation together with its Exhibits to the Court and Lead Plaintiffs
    3 shall move for entry of the Preliminary Approval Order, substantially in the form
    4 of Exhibit A attached hereto, requesting, inter alia, the preliminary approval of the
    5 Settlement set forth in the Stipulation, and approval for the mailing of the Notice
    6 and publication of the Summary Notice, substantially in the forms of Exhibits A-1
    7 and A-3 attached hereto, which motion shall be unopposed by Defendants. The
    8 Notice shall include the general terms of the Settlement, the proposed Plan of
    9 Allocation, the general terms of the Fee and Expense Application, and the date of
   10 the Settlement Hearing.
   11        3.3    Lead Counsel shall request that after notice is given, the Court hold
   12 the Settlement Hearing. At or after the Settlement Hearing, Lead Counsel also will
   13 request that the Court approve the proposed Plan of Allocation and the Fee and
   14 Expense Application and Lead Plaintiffs’ request for payment of their time and
   15 expenses, if any.
   16        4.     Releases
   17        4.1    By operation of the Judgment, as of the Effective Date, as defined in
   18 ¶1.11 hereof, Lead Plaintiffs and each and every Releasing Plaintiff Party shall be
   19 deemed to have fully, finally, and forever waived, released, discharged, and
   20 dismissed each and every one of the Released Plaintiffs’ Claims against each and
   21 every one of the Released Defendant Parties and shall forever be barred and
   22 enjoined from commencing, instituting, prosecuting, or maintaining any and all of
   23 the Released Plaintiffs’ Claims against any and all of the Released Defendant
   24 Parties, whether or not such Releasing Plaintiff Party executes and delivers the
   25 Proof of Claim and Release or shares in the Settlement Fund. Claims to enforce
   26 the terms of the Stipulation are not released.
   27
   28                                                         STIPULATION OF SETTLEMENT
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    1        4.2    The Proof of Claim and Release to be executed by the Class Members
    2 shall release all Released Claims against the Released Defendant Parties and shall
    3 be substantially in the form contained in Exhibit A-2 attached hereto.
    4        4.3    By operation of the Judgment, as of the Effective Date, as defined in
    5 ¶1.11 hereof, Defendants and each and every Released Defendant Party shall be
    6 deemed to have fully, finally, and forever waived, released, discharged, and
    7 dismissed each and every one of the Released Defendants’ Claims against each and
    8 every one of the Releasing Plaintiff Parties and shall forever be barred and
    9 enjoined from commencing, instituting, prosecuting, or maintaining any and all of
   10 the Released Defendants’ Claims against any and all of the Releasing Plaintiff
   11 Parties. Claims to enforce the terms of the Stipulation are not released.
   12        5.     Provision of Notice, Administration and
                    Calculation of Claims, Final Awards and
   13               Supervision and Distribution of the Settlement Fund
   14        5.1    As part of the Preliminary Approval Order, Lead Counsel shall seek
   15 appointment of a Claims Administrator.            The Claims Administrator shall
   16 administer the Settlement, including, but not limited to, the process of receiving,
   17 reviewing, and approving or denying Claims, under Lead Counsel’s supervision
   18 and subject to the jurisdiction of the Court. Other than QSI’s obligation to provide
   19 its securities holders records as provided in ¶5.2 below, the Released Defendant
   20 Parties and Defendants’ Counsel shall have no responsibility for or interest in
   21 whatsoever with respect to the administration of the Settlement or the actions or
   22 decisions of the Claims Administrator, and shall have no liability whatsoever to the
   23 Releasing Plaintiff Parties, including Lead Plaintiffs, any other Class Members, or
   24 Lead Counsel, in connection with such administration, including, but not limited
   25 to, with respect to: (i) any act, omission, or determination by Lead Counsel, the
   26 Escrow Agent, and/or the Claims Administrator, or any of their respective
   27 designees or agents, in connection with the administration of the Settlement or
   28                                                         STIPULATION OF SETTLEMENT
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    1 otherwise; (ii) the management or investment of the Settlement Fund or the Net
    2 Settlement Fund, or the distribution of the Net Settlement Fund; (iii) the Plan of
    3 Allocation; (iv) the determination, administration, calculation, or payment of any
    4 claims asserted against the Settlement Fund; (v) any losses suffered by, or
    5 fluctuations in value of, the Settlement Fund; or (vi) the payment or withholding of
    6 any taxes, expenses, and/or costs incurred with the taxation of the Settlement Fund
    7 or the filing of any federal, state, or local returns. Defendants’ Counsel shall
    8 cooperate in the administration of the Settlement to the extent reasonably necessary
    9 to effectuate its terms.
   10        5.2    In accordance with the terms of the Preliminary Approval Order, Lead
   11 Counsel shall cause the Claims Administrator to mail the Notice and Claim Form
   12 to those Members of the Class as may be identified through reasonable effort.
   13 Lead Counsel shall also cause the Claims Administrator to have the Summary
   14 Notice published in accordance with the terms of the Preliminary Approval Order
   15 to be entered by the Court. For the purposes of identifying and providing Notice to
   16 the Class, within five (5) calendar days of the date of entry of the Preliminary
   17 Approval Order, QSI shall provide or cause to be provided to the Claims
   18 Administrator in electronic format (at no cost to the Settlement Fund, Lead
   19 Counsel or the Claims Administrator) a list (consisting of names and addresses) of
   20 the holders of the QSI common stock during the Class Period.
   21        5.3    No later than ten (10) calendar days following the filing of this
   22 Stipulation with the Court, Defendants shall serve the notice required under the
   23 Class Action Fairness Act, 28 U.S.C. Section 1715 et seq. (“CAFA”). Defendants
   24 are solely responsible for the costs of the CAFA notice and administering the
   25 CAFA notice. At least seven (7) calendar days before the Settlement Hearing,
   26 Defendants shall cause to be served on Lead Counsel and filed with the Court
   27
   28                                                        STIPULATION OF SETTLEMENT
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    1 proof,     by   affidavit   or   declaration,   regarding   compliance       with     CAFA
    2 Section 1715(b).
    3          5.4    The Claims Administrator, subject to such supervision and direction
    4 of the Court as may be necessary or as circumstances may require, shall administer
    5 and calculate the Claims submitted by Class Members and shall oversee
    6 distribution of the Net Settlement Fund to Authorized Claimants.
    7          5.5    The Settlement Fund shall be applied as follows:
    8                 (a)   to pay all Notice and Administration Expenses as described in
    9 ¶2.8 hereof;
   10                 (b)   to pay the Taxes and Tax Expenses as described in ¶2.10
   11 hereof;
   12                 (c)   to pay the Fee and Expense Award to Lead Counsel and to
   13 reimburse Lead Plaintiffs for their time and expenses pursuant to 15 U.S.C. Section
   14 78u-4(a)(4), if and to the extent allowed by the Court; and
   15                 (d)   after the Effective Date, to distribute the Net Settlement Fund to
   16 Authorized Claimants as allowed by the Stipulation, the Plan of Allocation, or the
   17 Court.
   18          5.6    After the Effective Date, and in accordance with the terms of the
   19 Stipulation, the Plan of Allocation, or such further approval and further order(s) of
   20 the Court as may be necessary or as circumstances may require, the Net Settlement
   21 Fund shall be distributed to Authorized Claimants, subject to and in accordance
   22 with the following.
   23          5.7    Within one hundred twenty (120) calendar days after the mailing of
   24 the Notice or such other time as may be set by the Court, each Person claiming to
   25 be an Authorized Claimant shall be required to submit to the Claims Administrator
   26 a completed Proof of Claim and Release, substantially in the form of Exhibit A-2
   27
   28                                                             STIPULATION OF SETTLEMENT
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    1 attached hereto, signed under penalty of perjury and supported by such documents
    2 as are specified in the Proof of Claim and Release.
    3        5.8    The Claims Administrator shall receive Claims and determine first,
    4 whether the Claim is a valid Claim, in whole or part, and second, each Authorized
    5 Claimant’s pro rata share of the Net Settlement Fund based upon each Authorized
    6 Claimant’s Recognized Claim compared to the total Recognized Claims of all
    7 Authorized Claimants (as set forth in the Plan of Allocation set forth in the Notice
    8 attached hereto as Exhibit A-1, or in such other plan of allocation as the Court
    9 approves).
   10        5.9    Except as otherwise ordered by the Court, all Class Members who fail
   11 to timely submit a valid Proof of Claim and Release within such period, or such
   12 other period as may be ordered by the Court, or otherwise allowed, shall be forever
   13 barred from receiving any payments pursuant to the Stipulation and the Settlement
   14 set forth herein, but will in all other respects be subject to and bound by the
   15 provisions of the Stipulation, the releases contained herein, and the Judgment.
   16 Notwithstanding the foregoing, Lead Counsel shall have the discretion (but not an
   17 obligation) to accept late-submitted claims for processing by the Claims
   18 Administrator so long as the distribution of the Net Settlement Fund to Authorized
   19 Claimants is not materially delayed thereby, but will bear no liability for failing to
   20 accept such late claims.
   21        5.10 Proofs of Claim and Release that do not meet the submission
   22 requirements may be rejected. Prior to rejection of a Proof of Claim and Release,
   23 the Claims Administrator shall communicate with Claimants in order to remedy the
   24 curable deficiencies in the Proofs of Claim and Release submitted. The Claims
   25 Administrator, under supervision of Lead Counsel, if necessary, shall notify, in a
   26 timely fashion and in writing, all Claimants whose Proofs of Claim and Release it
   27 proposes to reject in whole or in part, setting forth the reasons therefore, and shall
   28                                                          STIPULATION OF SETTLEMENT
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    1 indicate in such notice that the Claimant whose Claim is to be rejected has the right
    2 to a review by the Court if the Claimant so desires and complies with the
    3 requirements of ¶5.11 below.
    4          5.11 If any Claimant whose Claim has been rejected in whole or in part
    5 desires to contest such rejection, the Claimant must, within twenty (20) calendar
    6 days after the mailing of the Notice required in ¶5.10 above, or a less period of
    7 time if the Claim was untimely, serve upon the Claims Administrator a notice and
    8 statement of reasons indicating the Claimant’s grounds for contesting the rejections
    9 along with any supporting documentation, and requesting a review thereof by the
   10 Court.     If a dispute concerning a Claim cannot otherwise be resolved, Lead
   11 Counsel shall thereafter present the request for review to the Court.                 The
   12 administrative determination of the Claims Administrator accepting and rejecting
   13 Claims shall be presented to the Court and, on notice to Defendants’ Counsel, for
   14 approval by the Court. Defendants shall not take a position on the administrative
   15 determinations of the Claims Administrator.
   16          5.12 Each Claimant who submits a Proof of Claim and Release shall be
   17 deemed to have submitted to the jurisdiction of the Court with respect to the
   18 Claimant’s Claim, including, but not limited to, all releases provided herein and in
   19 the Judgment, and the Claim will be subject to investigation and discovery under
   20 the Federal Rules of Civil Procedure, provided that such investigation and
   21 discovery shall be limited to that Claimant’s status as a Class Member and the
   22 validity and amount of the Claimant’s Claim. No discovery shall be allowed on
   23 the merits of the Litigation or Settlement in connection with the processing of the
   24 Claims.     All proceedings with respect to the administration, processing and
   25 determination of Claims and the determination of all controversies relating thereto,
   26 including disputed questions of law and fact with respect to the validity of Claims,
   27 shall be subject to the jurisdiction of the Court, but shall not in any event delay or
   28                                                          STIPULATION OF SETTLEMENT
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    1 affect the finality of the Judgment. All Class Members, other Claimants, and
    2 parties to this Settlement expressly waive trial by jury (to the extent any such right
    3 may exist) and any right of appeal or review with respect to such determinations.
    4        5.13 Payment pursuant to this Stipulation and Plan of Allocation shall be
    5 deemed Final and conclusive against all Claimants. All Class Members whose
    6 Claims are not approved shall be barred from participating in a distribution from
    7 the Net Settlement Fund, but otherwise shall be bound by all of the terms of this
    8 Stipulation and the Settlement, including the terms of the Judgment to be entered
    9 in the Litigation and the releases provided for herein, and shall be banned from
   10 bringing any action against the Released Defendant Parties concerning the
   11 Released Claims.
   12        5.14 Following the Effective Date, the Net Settlement Fund shall be
   13 distributed to the Authorized Claimants substantially in accordance with the Plan
   14 of Allocation approved by the Court. No distributions will be made to Authorized
   15 Claimants who would otherwise receive a distribution of less than $10.00. If there
   16 is any balance remaining in the Net Settlement Fund after a reasonable period of
   17 time after the date of the initial distribution of the Net Settlement Fund, Lead
   18 Counsel shall, if feasible, reallocate such balance among Authorized Claimants
   19 who negotiated the checks sent in the initial distribution and who would receive a
   20 minimum of $10.00. These redistributions shall be repeated until the balance
   21 remaining in the Net Settlement Fund is de minimis. Thereafter, any balance
   22 which still remains in the Net Settlement Fund shall be donated to an appropriate
   23 non-profit organization designated by Lead Counsel.
   24        5.15 The Released Defendant Parties shall have no responsibility for,
   25 interest in, or liability whatsoever with respect to the distribution of the Net
   26 Settlement Fund, the Plan of Allocation, the determination, administration, or
   27 calculation of claims, the payment or withholding of Taxes or Tax Expenses, or
   28                                                          STIPULATION OF SETTLEMENT
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    1 any losses incurred in connection therewith. No Person shall have any claim of
    2 any kind against the Released Defendant Parties with respect to the matters set
    3 forth in ¶¶5.1-5.14 hereof; and the Releasing Plaintiff Parties, including Class
    4 Members, Lead Plaintiffs, and Lead Plaintiffs’ counsel, release the Released
    5 Defendant Parties from any and all liability and claims arising from or with respect
    6 to the administration, investment or distribution of the Settlement Fund.
    7        5.16 No Person shall have any claim against Lead Plaintiffs, Lead Counsel
    8 or the Claims Administrator, or any other Person designated by Lead Counsel
    9 based on determinations or distributions made substantially in accordance with the
   10 Stipulation and the Settlement contained herein, the Plan of Allocation, or further
   11 order(s) of the Court.
   12        5.17 It is understood and agreed by the Settling Parties that any proposed
   13 Plan of Allocation of the Net Settlement Fund, including, but not limited to, any
   14 adjustments to an Authorized Claimant’s Claim set forth therein, is not a part of the
   15 Stipulation and is to be considered by the Court separately from the Court’s
   16 consideration of the fairness, reasonableness, and adequacy of the Settlement set
   17 forth in the Stipulation, and any order or proceeding relating to the Plan of
   18 Allocation shall not operate to terminate or cancel the Stipulation or affect the
   19 finality of the Court’s Judgment approving the Stipulation and the Settlement set
   20 forth herein.
   21        6.       Lead Counsel’s Attorneys’ Fees and Expenses
   22        6.1      Lead Counsel will submit a Fee and Expense Application on behalf of
   23 all Plaintiffs’ Counsel for: (a) an award of attorneys’ fees; plus (b) expenses or
   24 charges in connection with prosecuting the Litigation; plus (c) any interest on such
   25 attorneys’ fees and expenses at the same rate and for the same periods as earned by
   26 the Settlement Fund (until paid) as may be awarded by the Court. Lead Counsel
   27 reserve the right to make additional applications for fees and expenses incurred. In
   28                                                         STIPULATION OF SETTLEMENT
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    1 addition, Lead Plaintiffs may also submit a request for reimbursement of their time
    2 and expenses representing the Class pursuant to 15 U.S.C. Section 78u-4(a)(4).
    3         6.2   The amount of attorneys’ fees and expenses awarded by the Court is
    4 within the sole discretion of the Court. Any attorneys’ fees and expenses awarded
    5 by the Court shall be paid from the Settlement Fund to Lead Counsel immediately
    6 upon entry of the Judgment and an Order awarding such attorneys’ fees and
    7 expenses, notwithstanding the existence of any timely filed objections thereto or to
    8 the Settlement, or potential for appeal therefrom, or collateral attack on the
    9 awarded fees and expenses, the Settlement, or any part thereof. Lead Counsel shall
   10 allocate any Court-awarded attorneys’ fees and expenses among other Plaintiffs’
   11 Counsel, in a manner in which they in good faith believe reflects the contributions
   12 of such counsel to the initiation, prosecution, and resolution of the Litigation.
   13         6.3   In the event that the Effective Date does not occur, or the Judgment or
   14 the order making the Fee and Expense Award is reversed or modified, or the
   15 Stipulation is canceled or terminated for any other reason, and such reversal,
   16 modification, cancellation or termination becomes Final and not subject to review,
   17 and in the event that the Fee and Expense Award has been paid to any extent, then
   18 Lead Counsel and such of Plaintiffs’ Counsel who have received any portion of the
   19 Fee and Expense Award shall within thirty (30) calendar days from receiving
   20 notice of the termination of the Settlement pursuant to this Stipulation, notice from
   21 a court of appropriate jurisdiction of the disapproval of the Settlement by final non-
   22 appealable court order, or notice of any reduction or reversal of the award of
   23 attorneys’ fees and/or expenses by final non-appealable court order, refund to the
   24 Settlement Fund such fees and expenses previously paid to them from the
   25 Settlement Fund plus the interest earned thereon in an amount consistent with such
   26 reversal or modification.      Each such Plaintiffs’ Counsel’s law firm receiving
   27 attorneys’ fees and litigation costs and expenses, as a condition of receiving such
   28                                                           STIPULATION OF SETTLEMENT
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    1 fees and expenses, on behalf of itself and each partner and/or shareholder of it,
    2 agrees that it and its partners and/or shareholders are subject to the jurisdiction of
    3 the Court for the purpose of enforcing this Stipulation.
    4        6.4    The procedure for and the allowance or disallowance by the Court of
    5 any applications by any Plaintiffs’ Counsel for attorneys’ fees and expenses, or the
    6 expenses of Lead Plaintiffs, to be paid out of the Settlement Fund, are not part of
    7 the Settlement set forth in the Stipulation, and are to be considered by the Court
    8 separately from the Court’s consideration of the fairness, reasonableness, and
    9 adequacy of the Settlement set forth in the Stipulation, and shall have no effect on
   10 the terms of the Stipulation or on the validity or enforceability of this Settlement.
   11 The approval of the Settlement, and it becoming Final, shall not be contingent on
   12 the award of attorneys’ fees and expenses, any award to Lead Plaintiffs or
   13 Plaintiffs’ Counsel, nor any appeals to such awards. Lead Plaintiffs and Lead
   14 Counsel may not cancel or terminate the Stipulation or the Settlement in
   15 accordance with ¶¶7.1-7.9 or otherwise based on the Court’s or any appellate
   16 court’s ruling with respect to fees and expenses in the Litigation.
   17        6.5    Any fees and/or expenses awarded by the Court shall be paid solely
   18 from the Settlement Fund.         The Released Defendant Parties shall have no
   19 responsibility for any payment of attorneys’ fees and/or expenses to Lead Counsel,
   20 Plaintiffs’ Counsel, or any other plaintiffs and counsel.
   21        6.6    The Released Defendant Parties shall have no responsibility for the
   22 allocation among Plaintiffs’ Counsel, any other counsel who have represented one
   23 or more plaintiffs in the Litigation, and/or any other Person who may assert some
   24 claim thereto, of any Fee and Expense Award that the Court may make in the
   25 Litigation.
   26
   27
   28                                                             STIPULATION OF SETTLEMENT
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              7.     Conditions of Settlement, Effect of Disapproval,
    1                Cancellation or Termination
    2
              7.1    The Effective Date of the Stipulation shall be the first business day on
    3
        which all of the following shall have occurred or been waived:
    4
                     (a)   the Settlement Amount has been deposited into the Escrow
    5
        Account;
    6
                     (b)   the Court has entered the Preliminary Approval Order, as
    7
        required by ¶3.2 hereof;
    8
                     (c)   the Court has entered the Judgment, or a judgment substantially
    9
        in the form of Exhibit B attached hereto, following notice to the Class and the
   10
        Settlement Hearing, as prescribed by Rule 23 of the Federal Rules of Civil
   11
        Procedure;
   12
                     (d)   QSI has not exercised its option to terminate the Stipulation
   13
        pursuant to ¶7.3 hereof; and
   14
                     (e)   the Judgment has become Final, as defined in ¶1.18 hereof.
   15
              7.2    This is not a claims made settlement. Upon the Effective Date, the
   16
        Released Defendant Parties, including Defendants, Defendants’ insurers, and/or
   17
        any other Person funding the Settlement on their behalf, shall have no interest in
   18
        the Settlement Fund or in the Net Settlement Fund, shall not have any right to the
   19
        return of the Settlement Fund or any portion thereof for any reason, and shall not
   20
        have liability should claims made exceed the amount available in the Settlement
   21
        Fund for payment of such claims. The Released Defendant Parties shall not be
   22
        liable for the loss of any portion of the Settlement Fund, nor have any liability,
   23
        obligation, or responsibility for the payment of claims, Taxes, legal fees, or any
   24
        other expenses payable from the Settlement Fund. If the conditions specified in
   25
        ¶7.1 hereof are not met, then the Stipulation shall be canceled and terminated
   26
   27
   28                                                           STIPULATION OF SETTLEMENT
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    1 subject to ¶7.4 hereof unless Lead Counsel and Defendants’ Counsel mutually
    2 agree in writing to proceed with the Stipulation.
    3         7.3   If prior to the Settlement Hearing, the aggregate number of shares of
    4 QSI common stock purchased or acquired during the Class Period by Persons who
    5 would otherwise be Class Members, but who request exclusion from the Class,
    6 exceeds the sum specified in a separate supplemental agreement between Lead
    7 Plaintiffs and Defendants (the “Supplemental Agreement”), QSI shall have the
    8 discretion to terminate this Stipulation in accordance with the procedures set forth
    9 in the Supplemental Agreement.            The Settling Parties agree to maintain the
   10 confidentiality of the Supplemental Agreement, which shall not be filed with the
   11 Court unless a dispute arises as to its terms, or as otherwise ordered by the Court,
   12 nor shall the Supplemental Agreement otherwise be disclosed unless ordered by
   13 the Court. If required by the Court, the Supplemental Agreement and/or any of its
   14 terms may be disclosed in camera to the Court for purposes of approval of the
   15 Settlement, but such disclosure shall be carried out to the fullest extent possible in
   16 accordance with the practices of the Court so as to preserve the confidentiality of
   17 the Supplemental Agreement, particularly the threshold aggregate number of
   18 shares.
   19         7.4   Defendants and Lead Plaintiffs shall each have the right to terminate
   20 the Settlement and this Stipulation by providing written notice of their election to
   21 do so to all other counsel of the Settling Parties within thirty (30) calendar days of:
   22               (a)    the Court’s final non-appealable refusal to enter the Preliminary
   23 Approval Order or any material part of it;
   24               (b)    the Settlement Amount not being timely funded when Lead
   25 Counsel have complied with ¶2.2 hereof;
   26               (c)    the Court’s final non-appealable refusal to approve this
   27 Stipulation or any material part of it;
   28                                                           STIPULATION OF SETTLEMENT
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    1               (d)    the Court’s final non-appealable refusal to enter the proposed
    2 Judgment or any material part of it; or
    3               (e)    the Judgment being modified or reversed in any material
    4 respect by a Final order of the Court, the United States Court of Appeals, or the
    5 Supreme Court of the United States.
    6 For the avoidance of doubt, no order of the Court or modification or reversal on
    7 appeal of any order of the Court concerning the Plan of Allocation or the amount
    8 of any attorneys’ fees, expenses, and interest awarded by the Court to Lead
    9 Counsel or expenses to Lead Plaintiffs shall operate to terminate or cancel this
   10 Stipulation or constitute grounds for cancellation or termination of the Stipulation.
   11         7.5   Unless otherwise ordered by the Court, in the event the Settlement is
   12 not approved or the Settlement is terminated, canceled, or fails to become effective
   13 for any reason, within five (5) business days after joint written notification of such
   14 event is sent by Defendants’ Counsel and Lead Counsel to the Escrow Agent, the
   15 Settlement Fund (including accrued interest), less expenses which have either been
   16 disbursed pursuant to ¶¶2.8 and 2.10 hereof, or are chargeable to the Settlement
   17 Fund pursuant to ¶¶2.8 and 2.10 hereof, shall be refunded by the Escrow Agent
   18 pursuant to written instructions from Defendants’ Counsel. The Escrow Agent or
   19 its designee shall apply for any tax refund owed on the Settlement Amount and pay
   20 the proceeds, after deduction of any fees or expenses incurred in connection with
   21 such application(s) for refund, pursuant to written instructions from Defendants’
   22 Counsel. In the event that the funds received by Lead Counsel consistent with ¶6.2
   23 above have not been refunded to the Settlement Fund within the five (5) business
   24 days specified in this paragraph, those funds shall be refunded by the Escrow
   25 Agent pursuant to written instructions from Defendants’ Counsel immediately
   26 upon their deposit into the Escrow Account consistent with ¶6.3 above.
   27
   28                                                          STIPULATION OF SETTLEMENT
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    1        7.6    In the event that the Stipulation is not approved by the Court or the
    2 Settlement set forth in the Stipulation is terminated or fails to become effective in
    3 accordance with its terms, the Settling Parties shall be restored to their respective
    4 positions in the Litigation as of May 9, 2018.         In such event, the terms and
    5 provisions of the Stipulation and any aspect of the discussions or negotiations
    6 leading to this Stipulation, with the exception of ¶¶2.8, 2.10, 2.11, 6.3, 7.5-7.7, 8.4,
    7 and 8.6 hereof, shall not be admissible in this Litigation and shall not be used
    8 against or to the prejudice of Defendants or against or to the prejudice of Lead
    9 Plaintiffs, in any court filing, deposition, at trial, or otherwise, and any judgment or
   10 order entered by the Court in accordance with the terms of the Stipulation shall be
   11 treated as vacated, nunc pro tunc.
   12        7.7    If the Effective Date does not occur, or if the Stipulation is terminated
   13 pursuant to its terms, neither Lead Plaintiffs nor any of their counsel shall have any
   14 obligation to repay any amounts disbursed pursuant to ¶¶2.8 or 2.10. In addition,
   15 any expenses already incurred pursuant to ¶¶2.8 or 2.10 hereof at the time of such
   16 termination or cancellation but which have not been paid, shall be paid by the
   17 Escrow Agent in accordance with the terms of the Stipulation prior to the balance
   18 being refunded in accordance with ¶¶2.11 and 7.5 hereof.
   19        7.8    Each Defendant contributing to the Settlement Amount warrants as to
   20 himself, herself or itself that, as to the payments made by or on behalf of him or it,
   21 at the time of such payment that the Defendant made or caused to be made
   22 pursuant to ¶2.2 hereof, he, she or it was not insolvent, nor will the payment
   23 required to be made by or on behalf of him, her or it render such Defendant
   24 insolvent, within the meaning of and/or for the purposes of the United States
   25 Bankruptcy Code, including Sections 101 and 547 thereof. This warranty is made
   26 by each such Defendant and not by such Defendant’s Counsel.
   27
   28                                                           STIPULATION OF SETTLEMENT
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    1         7.9   If, before the Effective Date occurs, any Defendant files for protection
    2 under the Bankruptcy Code or any similar law or a trustee, receiver, conservator,
    3 or other fiduciary is appointed under Bankruptcy, and in the event of a final order
    4 of a court of competent jurisdiction, not subject to any further proceedings,
    5 determining the transfer of the Settlement Fund, or any portion thereof, by or on
    6 behalf of any Defendant to be a preference, voidable transfer, fraudulent transfer or
    7 similar transaction under Title 11 of the United States Code (Bankruptcy) or
    8 applicable state law and any portion thereof is required to be refunded and such
    9 amount is not promptly deposited in the Settlement Fund by or on behalf of any
   10 other Defendant, then, at the election of Lead Plaintiffs, as to the Defendant as to
   11 whom such order applies, the Settlement may be terminated and the releases given
   12 and the Judgment entered in favor of such Defendant pursuant to the Settlement
   13 shall be null and void. In such instance, the releases given and the Judgments
   14 entered in favor of other Defendants shall remain in full force and effect.
   15 Alternatively, Lead Plaintiffs may elect to terminate the entire Settlement as to all
   16 Defendants and all of the releases given and the Judgments entered in favor of the
   17 Defendants pursuant to the Settlement shall be null and void and the Settling
   18 Parties shall be restored to their respective positions in the Litigation as of May 9,
   19 2018.
   20         8.    Miscellaneous Provisions
   21         8.1   The Settling Parties (a) acknowledge that it is their intent to
   22 consummate this agreement; and (b) agree to cooperate to the extent reasonably
   23 necessary to effectuate and implement all terms and conditions of the Stipulation
   24 and to exercise their best efforts to accomplish the foregoing terms and conditions
   25 of the Stipulation.
   26         8.2   The Settling Parties intend the Settlement to be the full, final, and
   27 complete resolution of all claims asserted or that could have been asserted by the
   28                                                          STIPULATION OF SETTLEMENT
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    1 Settling Parties with respect to the Litigation, Released Plaintiffs’ Claims and
    2 Released Defendants’ Claims. The Settlement compromises claims which are
    3 contested and shall not be deemed an admission by any Settling Party as to the
    4 merits of any claim or defense. Pursuant to 15 U.S.C. Section 78u-4(c)(1), the
    5 Final Judgment will contain a finding that, during the course of the Litigation, the
    6 Settling Parties and their respective counsel at all times complied with the
    7 requirements of Federal Rule of Civil Procedure 11 in connection with the
    8 maintenance, prosecution, defense, and settlement of the Litigation and shall not
    9 make any application for sanctions, pursuant to Rule 11 or other court rule or
   10 statute, with respect to any claim or defense in this Litigation. The Settling Parties
   11 agree that the Settlement Amount and the other terms of the Settlement were
   12 negotiated at arm’s length and in good faith by the Settling Parties, and reflect a
   13 settlement that was reached voluntarily based upon adequate information and after
   14 consultation with competent legal counsel. The Settling Parties reserve their right
   15 to rebut, in a manner that such party determines to be appropriate, any contention
   16 made in any public forum regarding the Litigation, including that the Litigation
   17 was brought or defended in bad faith or without a reasonable basis.
   18         8.3   The Settling Parties shall, in good faith, endeavor to communicate the
   19 terms of the Settlement, if at all, in a manner that is respectful of the fact that no
   20 final adjudication of fault was determined by a court or a jury.
   21         8.4   Except as set forth in ¶8.5 below, this Stipulation, whether or not
   22 consummated, and whether or not approved by the Court, and any discussions,
   23 negotiations, proceedings, or agreements relating to the Stipulation, the Settlement,
   24 and any matters arising in connection with settlement discussions or negotiations,
   25 proceedings, or agreements, shall not be offered or received against or to the
   26 prejudice of the Settling Parties or their respective counsel, for any purpose other
   27 than in an action to enforce the terms hereof, and in particular:
   28                                                          STIPULATION OF SETTLEMENT
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    1               (a)    do not constitute, and shall not be offered or received against or
    2 to the prejudice of Defendants as evidence of, or construed as, or deemed to be
    3 evidence of any presumption, concession or admission by Defendants with respect
    4 to the truth of any allegation by Lead Plaintiffs and the Class or the validity of any
    5 claim that has been or could have been asserted in the Litigation or in any
    6 litigation, including, but not limited to, the Released Plaintiffs’ Claims, or of any
    7 liability, damages, negligence, fault or wrongdoing of Defendants or any Person or
    8 entity whatsoever;
    9               (b)    do not constitute, and shall not be offered or received against or
   10 to the prejudice of Defendants as evidence of a presumption, concession, or
   11 admission of any fault, misrepresentations, or omission with respect to any
   12 statement or written document approved or made by Defendants, or against or to
   13 the prejudice of Lead Plaintiffs or any other Class Members as evidence of any
   14 infirmity in the claims of Lead Plaintiffs or the other Class Members;
   15               (c)    do not constitute, and shall not be offered or received against or
   16 to the prejudice of Defendants, Lead Plaintiffs, any other Class Members, or their
   17 respective counsel, as evidence of a presumption, concession or admission with
   18 respect to any liability, damages, negligence, fault, infirmity, or wrongdoing, or in
   19 any way referred to for any other reason against or to the prejudice of any of the
   20 Settling Parties, in any other civil, criminal, or administrative action or proceeding,
   21 other than such proceedings as may be necessary to effectuate the provisions of
   22 this Stipulation;
   23               (d)    do not constitute, and shall not be construed as, or offered or
   24 received against or to the prejudice of Defendants, Lead Plaintiffs, or any other
   25 Class Members, as evidence of a presumption, concession, or admission that the
   26 consideration to be given hereunder represents the amount which could be or
   27 would have been recovered after trial; and
   28                                                           STIPULATION OF SETTLEMENT
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    1                (e)   do not constitute, and shall not be construed as, or offered or
    2 received against or to the prejudice of Defendants, Lead Plaintiffs, or any other
    3 Class Members, as evidence of a presumption, concession, or admission that any of
    4 their claims are without merit or infirm or that damages recoverable under the
    5 Amended Complaint would not have exceeded the Settlement Amount.
    6         8.5    Defendants may file this Stipulation and/or the Judgment in any action
    7 that may be brought against them in order to support a defense or counterclaim
    8 based on principles of res judicata, collateral estoppel, release, statute of
    9 limitations, statute of repose, good-faith settlement, judgment bar or reduction, or
   10 any theory of claim preclusion or issue preclusion or similar defense or
   11 counterclaim, or to effectuate any liability protection granted them under any
   12 applicable insurance policy. The Settling Parties may file this Stipulation and/or
   13 the Judgment in any action that may be brought to enforce the terms of this
   14 Stipulation and/or the Judgment. All Settling Parties submit to the jurisdiction of
   15 the Court for purposes of implementing and enforcing the Settlement.
   16         8.6    All agreements made and orders entered during the course of the
   17 Litigation relating to the confidentiality of information shall survive this
   18 Stipulation.
   19         8.7    All of the Exhibits to the Stipulation, and the Supplemental
   20 Agreement, are material and integral parts hereof and are fully incorporated herein
   21 by this reference.
   22         8.8    The Stipulation, along with its Exhibits and the Supplemental
   23 Agreement, may be amended or modified only by a written instrument signed by
   24 or on behalf of all Settling Parties or their respective successors-in-interest.
   25         8.9    The waiver by one Settling Party of any breach of this Stipulation by
   26 any other Settling Party shall not be deemed a waiver of any other prior or
   27 subsequent breach of this Stipulation.
   28                                                            STIPULATION OF SETTLEMENT
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    1        8.10 The Stipulation, its Exhibits, and the Supplemental Agreement
    2 constitute the entire agreement among the Settling Parties and no representations,
    3 warranties or inducements have been made to any party concerning the Stipulation
    4 or its Exhibits other than the representations, warranties, and covenants contained
    5 and memorialized in such documents.
    6        8.11 Lead Counsel, on behalf of the Class, are expressly authorized by
    7 Lead Plaintiffs to take all appropriate action required or permitted to be taken by
    8 the Class pursuant to the Stipulation to effectuate its terms and also are expressly
    9 authorized to enter into any modifications or amendments to the Stipulation on
   10 behalf of the Class which they deem appropriate.
   11        8.12 All counsel and any other person executing this Stipulation, its
   12 Exhibits, the Supplemental Agreement, or any related Settlement document,
   13 warrant and represent that they have the full authority to do so, and that they have
   14 the authority to take appropriate action required or permitted to be taken pursuant
   15 to the Stipulation to effectuate its terms, without requiring additional consent,
   16 approval, or authorization of any other Person, board, entity, tribunal, or other
   17 regulatory or governmental authority.
   18        8.13 The Stipulation may be executed in one or more counterparts. All
   19 executed counterparts and each of them shall be deemed to be one and the same
   20 instrument. A complete set of executed counterparts shall be filed with the Court.
   21 Signatures sent by facsimile or pdf’d via e-mail shall be deemed originals.
   22        8.14 This Stipulation shall be binding when signed, but the Settlement shall
   23 be effective upon the entry of the Judgment and the payment in full of the
   24 Settlement Amount, subject only to the condition that the Effective Date will have
   25 occurred.
   26        8.15 The Stipulation shall be binding upon, and inure to the benefit of, the
   27 successors and assigns of the Settling Parties hereto.
   28                                                          STIPULATION OF SETTLEMENT
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    1         8.16 The headings herein are used for the purpose of convenience only and
    2 are not meant to have legal effect.
    3         8.17 The administration and consummation of the Settlement as embodied
    4 in this Stipulation shall be under the authority of the Court, and the Court shall
    5 retain jurisdiction for the purpose of entering orders providing for awards of
    6 attorneys’ fees and any expenses, and implementing and enforcing the terms of this
    7 Stipulation.
    8         8.18 Pending approval of the Court of the Stipulation and its Exhibits, all
    9 proceedings in this Litigation shall be stayed and all Members of the Class shall be
   10 barred and enjoined from prosecuting any of the Released Plaintiffs’ Claims
   11 against any of the Released Defendant Parties.
   12         8.19 This Stipulation, its Exhibits, and the Supplemental Agreement shall
   13 be considered to have been negotiated, executed and delivered, and to be wholly
   14 performed, in the State of California. The construction, interpretation, operation,
   15 effect, and validity of this Stipulation, its Exhibits, the Supplemental Agreement,
   16 and all documents necessary to effectuate them, shall be governed by the internal,
   17 substantive laws of the State of California without giving effect to that State’s
   18 choice-of-law principles, except to the extent that federal law requires that federal
   19 law govern.
   20         8.20 This Stipulation shall not be construed more strictly against one
   21 Settling Party than another merely by virtue of the fact that it, or any part of it, may
   22 have been prepared by counsel for one of the Settling Parties, it being recognized
   23 that it is the result of arm’s-length negotiations among the Settling Parties, and all
   24 Settling Parties have contributed substantially and materially to the preparation of
   25 this Stipulation.
   26         8.21 Nothing in the Stipulation, or the negotiations relating thereto, is
   27 intended to or shall be deemed to constitute a waiver of any applicable privilege or
   28                                                           STIPULATION OF SETTLEMENT
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     1 immunity, including, without limitation, attorney-client privilege, joint defense
     2 privilege, or work product protection.
     3          8.22 Unless otherwise provided, the Settling Parties may agree to
     4 reasonable extensions of time to carry out any of the provisions of this Stipulation
     5 without further order of the Court.
     6          8.23 Except as otherwise provided herein, each party shall bear its own
     7 costs.
     8          IN WITNESS WHEREOF, the parties hereto have caused the Stipulation to
     9 be executed, by their duly authorized attorneys, dated July 16, 2018.
    10
    11
    12
    13
    14
    15                                          DARREN J. ROBBINS
                                                ROBERT R. HENSSLER JR.
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    21                                          Lead Counsel for Lead Plaintiff City of
                                                Miami Fire Fighters' and Police Officers'
    22                                          Retirement Trust
    23
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    28                                                         STIPULATION OF SETTLEMENT
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                                          Additional Counsel for Lead Plaintiffs
   24
   25
   26
   27
   28                                                   STIPULATION OF SETILEMENT
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   28                                                   STIPULATION OF SETTLEMENT
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                  INDEX OF EXHIBITS TO STIPULATION OF SETTLEMENT


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   [Proposed] Order Preliminarily Approving               A
   Settlement and Providing for Notice

   Notice of (I) Pendency of Class Action and            A-1
   Proposed Settlement; (II) Settlement Hearing;
   and (III) Motion for Attorneys’ Fees and
   Expenses

   Claim Form                                            A-2

   Summary Notice of (I) Pendency of Class               A-3
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   [Proposed] Final Judgment and Order of                 B
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     13                      UNITED STATES DISTRICT COURT
     14                     CENTRAL DISTRICT OF CALIFORNIA
     15                             SOUTHERN DIVISION
     16 In re QUALITY SYSTEMS, INC.         )   No. 8:13-cv-01818-CJC-JPR
                                            )
     17 SECURITIES LITIGATION               )   CLASS ACTION
                                            )
     18                                     )   [PROPOSED] ORDER
                                            )   PRELIMINARILY APPROVING
     19 This Document Relates To:           )   SETTLEMENT AND PROVIDING
                                            )   FOR NOTICE
     20        ALL ACTIONS.                 )
                                            )   EXHIBIT A
     21
     22
     23
     24
     25
     26
     27
     28
                                                                    [PROPOSED] ORDER
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      1        WHEREAS, an action is pending before this Court entitled In re Quality
      2 Systems, Inc. Securities Litigation, Case No. 8:13-cv-01818-CJC-JPR (the
      3 “Litigation”);
      4        WHEREAS, the parties having made application, pursuant to Federal Rule
      5 of Civil Procedure 23(e), for an order preliminarily approving the settlement of this
      6 Litigation, in accordance with a Stipulation of Settlement dated July 16, 2018 (the
      7 “Stipulation”), which, together with the Exhibits annexed thereto, sets forth the
      8 terms and conditions for a proposed settlement of the Litigation and for dismissal
      9 of the Litigation with prejudice upon the terms and conditions set forth therein; and
     10 the Court having read and considered the Stipulation and the Exhibits annexed
     11 thereto; and
     12        WHEREAS, unless otherwise defined, all terms used herein have the same
     13 meanings as set forth in the Stipulation.
     14        NOW, THEREFORE, IT IS HEREBY ORDERED:
     15        1.      After a preliminary review, the Settlement appears to be fair,
     16 reasonable, and adequate. The Settlement: (a) resulted from arm’s-length
     17 negotiations overseen by an experienced mediator; and (b) is sufficient to warrant
     18 (i) notice thereof as set forth below; and (ii) a full hearing on the Settlement.
     19 Accordingly, the Court does hereby preliminarily approve the Stipulation and the
     20 Settlement set forth therein, subject to further consideration at the Settlement
     21 Hearing described below.
     22        2.      A hearing (the “Settlement Hearing”) shall be held before this Court
     23 on __________, 2018, at _:__ _.m., [a date that is at least 100 days from the date
     24 of this Order] at the United States District Court for the Central District of
     25 California, Southern Division, Ronald Reagan Federal Building and U.S.
     26 Courthouse, 411 West Fourth Street, Courtroom 9B, Santa Ana, CA 92701, for the
     27 following purposes:
     28                                                                    [PROPOSED] ORDER
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      1              a. to determine whether the Settlement is fair, reasonable, and
      2                 adequate, and should be approved by the Court;
                     b. to finally determine whether Judgment as provided under the
      3
                        Stipulation should be entered, dismissing the Amended Complaint
      4
                        on the merits and with prejudice, and to determine whether the
      5                 release by the Class of the Released Defendant Parties as set forth
      6                 in the Stipulation, should be ordered, along with a permanent
      7                 injunction barring efforts to bring any Released Plaintiffs’ Claims
      8                 or Released Defendants’ Claims extinguished by the Settlement;
      9              c. to finally determine whether the proposed Plan of Allocation for
                        the distribution of the Net Settlement Fund is fair and reasonable
     10
                        and should be approved by the Court;
     11
                     d. to consider the application of Lead Counsel for an award of
     12                 attorneys’ fees and expenses, and any application for an award to
     13                 Lead Plaintiffs;
     14              e. to consider Class Members’ objections to the Settlement, Plan of
     15                 Allocation or application for fees and expenses; and
     16              f. to rule upon such other matters as the Court may deem appropriate.

     17        3.    The Court may adjourn the Settlement Hearing without further notice

     18 to the Members of the Class, and reserves the right to approve the Settlement with
     19 such modifications as may be agreed upon or consented to by the parties and
     20 without further notice to the Class where to do so would not impair Class
     21 Members’ rights in a manner inconsistent with Rule 23 and due process of law.
     22 The Court further reserves the right to enter its Judgment approving the Settlement
     23 and dismissing the Amended Complaint, on the merits and with prejudice,
     24 regardless of whether it has approved the Plan of Allocation or awarded attorneys’
     25 fees and expenses or made awards to Lead Plaintiffs.
     26
     27
     28                                                                  [PROPOSED] ORDER
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      1        4.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court
      2 hereby certifies, for the sole purpose of effectuating the Settlement, a Class defined
      3 as follows:
                      All persons or entities who purchased or otherwise acquired
      4               QSI common stock during the period from May 26, 2011
                      through July 25, 2012, inclusive (“Class Period”), and were
      5               damaged thereby. Excluded from the Class are: (a) Defendants;
                      (b) immediate family members of the individual Defendants (as
      6               defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and
                      (1)(b)(ii)); (c) present or former executive officers or directors
      7               of QSI and their immediate family members (as defined in
                      17 C.F.R. §229.404 Instructions (1)(a)(iii) and (1)(b)(ii));
      8               (d) any firm or entity in which any Defendant has or had a
                      controlling interest during the Class Period; (e) any affiliates,
      9               parents, or subsidiaries of QSI; (f) all QSI plans that are
                      covered by ERISA; and (g) the legal representatives, agents,
     10               affiliates, heirs, beneficiaries, successors-in-interest, or assigns
                      of any excluded Person, in their respective capacity as such.
     11               Also excluded from the Class are those Persons who exclude
                      themselves by submitting a request for exclusion that is
     12               accepted by the Court.
     13        5.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for
     14 purposes of settlement only, Lead Plaintiffs are appointed as representatives of the
     15 Class, and Lead Counsel Robbins Geller Rudman & Dowd LLP and Bernstein
     16 Litowitz Berger & Grossmann LLP are appointed as Class Counsel for the Class.
     17        6.     With respect to the Class, this Court finds, for purposes of
     18 effectuating the Settlement only, that the prerequisites for a class action under
     19 Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure have been satisfied
     20 in that: (a) the Members of the Class are so numerous that joinder of all Class
     21 Members in the Litigation is impracticable; (b) there are questions of law and fact
     22 common to the Class; (c) the claims of the Lead Plaintiffs are typical of the claims
     23 of the Class; (d) Lead Plaintiffs and their counsel have fairly and adequately
     24 represented and protected the interests of all Class Members; (e) the questions of
     25 law and fact common to the Class predominate over any questions affecting only
     26 individual Members of the Class; and (f) a class action is superior to other
     27 available methods for the fair and efficient adjudication of the controversy,
     28                                                                      [PROPOSED] ORDER
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      1 considering: (i) the interests of the Members of the Class in individually
      2 controlling the prosecution of the separate actions; (ii) the extent and nature of any
      3 litigation concerning the controversy already commenced by Members of the
      4 Class; (iii) the desirability or undesirability of concentrating the litigation of these
      5 claims in this particular forum; and (iv) the difficulties likely to be encountered in
      6 the management of the Litigation.
      7        7.     The Court approves, as to form and content, the Notice of
      8 (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing;
      9 and (III) Motion for Attorneys’ Fees and Expenses (the “Notice”), the Proof of
     10 Claim and Release form (the “Proof of Claim”), and the Summary Notice of
     11 (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing;
     12 and (III) Motion for Attorneys’ Fees and Expenses (“Summary Notice”), annexed
     13 hereto as Exhibits A-1, A- 2, and A-3, respectively, and finds that the mailing and
     14 distribution of the Notice and publishing of the Summary Notice, substantially in
     15 the manner and form set forth in ¶¶10-11 of this Order, meet the requirements of
     16 Federal Rule of Civil Procedure 23 and due process, and is the best notice
     17 practicable under the circumstances and shall constitute due and sufficient notice to
     18 all Persons entitled thereto.
     19        8.     The firm of A.B. Data, Ltd. (“Claims Administrator”) is hereby
     20 appointed to supervise and administer the notice procedure as well as the
     21 processing of claims as more fully set forth below.
     22        9.     QSI shall provide, or cause to be provided, to Lead Counsel or the
     23 Claims Administrator, at no cost to Lead Plaintiffs, the Settlement Fund, Lead
     24 Counsel or the Claims Administrator, within five (5) calendar days after the Court
     25 enters this Order, documentation or data in the possession of QSI or its present or
     26 former stock transfer agents sufficient to identify to the extent available the record
     27 holders of QSI common stock during the period from May 26, 2011 through July
     28                                                                      [PROPOSED] ORDER
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      1 25, 2012, inclusive, and their last known addresses or other similar information.
      2 Defendants shall provide this documentation in an electronic searchable form, such
      3 as Excel.
      4        10.    Lead Counsel, through the Claims Administrator, shall commence
      5 mailing the Notice and Proof of Claim, substantially in the forms annexed hereto,
      6 within fifteen (15) business days after the Court signs this Order (the “Notice
      7 Date”), or by __________, 2018, by first-class mail to all Class Members who can
      8 be identified with reasonable effort, and to be posted on the Settlement website at
      9 www.QSISecuritiesSettlement.com.
     10        11.    Not later than seven (7) calendar days after the Notice Date, the
     11 Claims Administrator shall cause the Summary Notice to be published once in the
     12 national edition of The Wall Street Journal and once over a national newswire
     13 service.
     14        12.    At least seven (7) calendar days prior to the Settlement Hearing, Lead
     15 Counsel shall serve on Defendants’ Counsel and file with the Court proof, by
     16 affidavit or declaration, of such mailing and publishing.
     17        13.    Nominees who purchased or acquired QSI common stock for the
     18 beneficial ownership of Class Members during the Class Period shall (a) within
     19 seven (7) calendar days of receipt of the Notice and the Proof of Claim (“Notice
     20 Packet”), request from the Claims Administrator sufficient copies of the Notice
     21 Packet to forward to all such beneficial owners and within seven (7) calendar days
     22 of receipt of those Notice Packets forward them to all such beneficial owners; or
     23 (b) within seven (7) calendar days of receipt of the Notice Packet, send a list of the
     24 names and addresses of all such beneficial owners to the Claims Administrator in
     25 which event the Claims Administrator shall promptly mail the Notice Packet to
     26 such beneficial owners.      Lead Counsel shall, if requested, reimburse banks,
     27 brokerage houses or other nominees solely for their reasonable out-of-pocket
     28                                                                     [PROPOSED] ORDER
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      1 expenses incurred in providing notice to beneficial owners who are Class Members
      2 out of the Settlement Fund, which expenses would not have been incurred except
      3 for the sending of such notice, subject to further order of this Court with respect to
      4 any dispute concerning such compensation.
      5        14.    In order to be entitled to participate in the recovery from the
      6 Settlement Fund after the Effective Date, each Class Member shall take the
      7 following action and be subject to the following conditions:
      8               (a)   A properly completed and executed Proof of Claim must be
      9                     submitted to the Claims Administrator, at the post office box or
     10                     electronic mailbox indicated in the Notice and Proof of Claim,
     11                     postmarked no later than one hundred twenty (120) calendar
     12                     days from the Notice Date.       Such deadline may be further
     13                     extended by Order of the Court. Each Proof of Claim shall be
     14                     deemed to have been submitted when legibly postmarked (if
     15                     properly addressed and mailed by first-class mail) provided
     16                     such Proof of Claim is actually received before the filing of a
     17                     motion for an Order of the Court approving distribution of the
     18                     Settlement Fund. Any Proof of Claim submitted in any other
     19                     manner shall be deemed to have been submitted when it was
     20                     actually received by the Claims Administrator at the address
     21                     designated in the Notice.
     22               (b)   The Proof of Claim submitted by each Class Member must
     23                     satisfy the following conditions: (i) it must be properly filled
     24                     out, signed and submitted in a timely manner in accordance
     25                     with the provisions of the preceding subparagraph; (ii) it must
     26                     be accompanied by adequate supporting documentation for the
     27                     transactions reported therein, in the form of broker confirmation
     28                                                                      [PROPOSED] ORDER
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      1                     slips, broker account statements, an authorized statement from
      2                     the broker containing the transactional information found in a
      3                     broker confirmation slip, or such other documentation as is
      4                     deemed adequate by the Claims Administrator or Lead
      5                     Counsel; (iii) if the person executing the Proof of Claim is
      6                     acting in a representative capacity, a certification of his current
      7                     authority to act on behalf of the Class Member must be
      8                     provided with the Proof of Claim; and (iv) the Proof of Claim
      9                     must be complete and contain no material deletions or
     10                     modifications of any of the printed matter contained therein and
     11                     must be signed under penalty of perjury.
     12               (c)   Once the Claims Administrator has considered a timely
     13                     submitted Proof of Claim, it shall determine whether such claim
     14                     is valid, deficient or rejected. For each claim determined to be
     15                     either deficient or rejected, the Claims Administrator shall send
     16                     a deficiency letter or rejection letter as appropriate, describing
     17                     the basis on which the claim was so determined. Persons who
     18                     timely submit a Proof of Claim that is deficient or otherwise
     19                     rejected shall be afforded a reasonable time (at least seven (7)
     20                     calendar days) to cure such deficiency if it shall appear that
     21                     such deficiency may be cured.
     22               (d)   For the filing of and all determinations concerning their Proof
     23                     of Claim, each Class Member shall submit to the jurisdiction of
     24                     the Court.
     25        15.    Any Class Member who does not timely submit a valid and timely
     26 Proof of Claim within the time provided for, shall be barred from sharing in the
     27 distribution of the proceeds of the Settlement Fund, but will in all other respects be
     28                                                                      [PROPOSED] ORDER
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      1 subject to and bound by the provisions of the Stipulation and the Judgment, if
      2 entered. Notwithstanding the foregoing, Lead Counsel shall have the discretion
      3 (but not an obligation) to accept late-submitted claims for processing by the Claims
      4 Administrator so long as distribution of the Settlement Fund to Authorized
      5 Claimants is not materially delayed thereby, but will bear no liability for failing to
      6 accept such late claims.
      7        16.    Any Member of the Class may enter an appearance in the Litigation,
      8 at their own expense, individually or through counsel of their own choice. If they
      9 do not enter an appearance, they will be represented by Lead Counsel.
     10        17.    All Class Members shall be bound by all determinations and
     11 judgments in this Litigation, whether favorable or unfavorable, unless such persons
     12 request to be excluded, or “opt out,” from the Class. A Class Member wishing to
     13 be excluded from the Class must submit to the Claims Administrator a request for
     14 exclusion (“Request for Exclusion”), by first-class mail, or otherwise hand-deliver
     15 it, such that it is received no later than twenty-one (21) calendar days prior to the
     16 Settlement Hearing, or __________ 20__, to the address listed in the Notice. A
     17 Request for Exclusion must be signed and must legibly state: (a) the name, address,
     18 and telephone number of the Person requesting exclusion; (b) the number of shares
     19 of QSI common stock that the Person requesting exclusion (i) owned as of the
     20 opening of trading on May 26, 2011, and (ii) purchased, acquired and/or sold
     21 during the Class Period, as well as the number of shares, dates and prices for each
     22 such purchase, acquisition and sale; and (c) that the Person wishes to be excluded
     23 from the Class in In re Quality Systems, Inc. Securities Litigation, Case No. 8:13-
     24 cv-01818-CJC-JPR.       All Persons who submit valid and timely Requests for
     25 Exclusion in the manner set forth in this paragraph shall have no rights under the
     26 Stipulation, shall not share in the distribution of the Net Settlement Fund, and shall
     27 not be bound by the Stipulation or any Final Judgment. Unless otherwise ordered
     28                                                                     [PROPOSED] ORDER
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      1 by the Court, any Class Member who does not submit a valid and timely written
      2 Request for Exclusion as provided by this paragraph shall be bound by the
      3 Stipulation.
      4         18.    The Claims Administrator or Lead Counsel shall cause to be provided
      5 to Defendants’ Counsel copies of all Requests for Exclusion within five (5)
      6 calendar days of receipt.
      7         19.    The Court will consider comments or objections to the Settlement, the
      8 Plan of Allocation, or Lead Counsel’s request for an award of attorneys’ fees and
      9 expenses, including Lead Plaintiffs’ expenses as provided for by 15 U.S.C. Section
     10 78u-4(a)(4), only if such comments or objections and any supporting papers are
     11 served by hand or sent by first-class mail, and are received at least twenty-one (21)
     12 calendar days prior to the Settlement Hearing, or _______________, 20__:
     13                               Counsel for Lead Plaintiffs
     14        Robbins Geller Rudman                 Bernstein Litowitz Berger
                & Dowd LLP                            & Grossmann LLP
     15        Robert R. Henssler Jr.                Benjamin Galdston
     16        655 West Broadway, Suite 1900         12481 High Bluff Drive, Suite 300
               San Diego, CA 92101                   San Diego, CA 92130
     17                                Counsel for Defendants
     18        Latham & Watkins LLP
               Peter A. Wald
     19        505 Montgomery Street, Suite 2000
     20        San Francisco, CA 94111
     21
          Those comments or objections and any supporting papers must also be filed with
     22
          the Clerk of the United States District Court for the Central District of California,
     23
          Southern Division, Ronald Reagan Federal Building and United States Courthouse,
     24
          411 West Fourth Street, Santa Ana, CA 92701, at least twenty-one (21) calendar
     25
          days prior to the Settlement Hearing, or __________, 20__. Attendance at the
     26
          Settlement Hearing is not necessary but any Person wishing to be heard orally in
     27
     28                                                                     [PROPOSED] ORDER
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      1 opposition to the Settlement, the Plan of Allocation, or the application for
      2 attorneys’ fees and expenses or awards to Lead Plaintiffs are required to indicate in
      3 their written objection whether they intend to appear at the Settlement Hearing.
      4 The notice of objection must include documentation establishing the objecting
      5 Person’s membership in the Class, including the number of shares of QSI common
      6 stock that the objecting Person (i) owned as of the opening of trading on May 26,
      7 2011, and (ii) purchased, acquired and/or sold during the Class Period, as well as
      8 the dates and prices for each such purchase, acquisition or sale, and contain a
      9 statement of reasons for the objection, copies of any papers, briefs, or other
     10 documents upon which the objection is based, and the objector’s signature, even if
     11 represented by counsel. Any Member of the Class who does not make his, her or
     12 its objection in the manner provided shall be deemed to have waived such
     13 objection and shall forever be foreclosed from making any objection to the fairness
     14 or adequacy of the Settlement as set forth in the Stipulation, to the Plan of
     15 Allocation, or to the award of attorneys’ fees and expenses to Lead Counsel or
     16 expenses of the Lead Plaintiffs unless otherwise ordered by the Court. Class
     17 Members do not need to appear at the Settlement Hearing or take any other action
     18 to indicate their approval.
     19        20.    All funds held by the Escrow Agent shall be deemed and considered
     20 to be in custodia legis of the Court, and shall remain subject to the jurisdiction of
     21 the Court, until such time as such funds shall be distributed pursuant to the
     22 Stipulation and/or further order(s) of the Court.
     23        21.    All opening briefs and supporting documents in support of the
     24 Settlement, the Plan of Allocation, and any application by counsel for the Lead
     25 Plaintiffs for attorneys’ fees and expenses or by Lead Plaintiffs for their expenses
     26 shall be filed and served no later than thirty-five (35) calendar days before the
     27 Settlement Hearing, or __________, 20__. Replies to any objections shall be filed
     28                                                                    [PROPOSED] ORDER
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      1 and served at least seven (7) calendar days prior to the Settlement Hearing, or
      2 __________, 20__.
      3         22.   The Released Defendant Parties shall have no responsibility for the
      4 Plan of Allocation or any application for attorneys’ fees or expenses submitted by
      5 Lead Counsel or Lead Plaintiffs, and such matters will be considered separately
      6 from the fairness, reasonableness, and adequacy of the Settlement. Any order or
      7 proceeding relating to the Plan of Allocation or any application for attorneys’ fees
      8 or expenses, or any appeal from any order relating thereto or reversal or
      9 modification thereof, shall not operate to terminate or cancel the Stipulation, or
     10 affect or delay the finality of the Judgment approving the Stipulation and the
     11 settlement of the Litigation.
     12         23.   At or after the Settlement Hearing, the Court shall determine whether
     13 the Plan of Allocation proposed by Lead Counsel, and any application for
     14 attorneys’ fees or payment of expenses shall be approved.
     15         24.   All reasonable expenses incurred in identifying and notifying Class
     16 Members, as well as administering the Settlement Fund, shall be paid as set forth
     17 in the Stipulation.
     18         25.   Neither the Stipulation, nor any of its terms or provisions, nor any of
     19 the negotiations or proceedings connected with it, shall be construed as an
     20 admission or concession by the Defendants of the truth of any of the allegations in
     21 the Litigation, or of any liability, fault, or wrongdoing of any kind.
     22         26.   If the Stipulation and the Settlement set forth therein is not approved
     23 or consummated for any reason whatsoever, the Stipulation and Settlement and all
     24 proceedings had in connection therewith shall be without prejudice to the rights of
     25 the Settling Parties status quo ante.
     26         27.   Pending final determination of whether the proposed Settlement
     27 should be approved, neither the Lead Plaintiffs, nor any Class Member, directly or
     28                                                                     [PROPOSED] ORDER
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      1 indirectly, representatively, or in any other capacity, shall commence or prosecute
      2 against any of the Released Defendant Parties, any action or proceeding in any
      3 court or tribunal asserting any of the Released Plaintiffs’ Claims.
      4        28.    The Court’s orders entered during this Litigation relating to the
      5 confidentiality of information shall survive this Settlement.
      6
      7        IT IS SO ORDERED.
      8 DATED: _________________                ____________________________________
                                                THE HONORABLE CORMAC J. CARNEY
      9
                                                UNITED STATES DISTRICT JUDGE
     10
     11
     12
     13
     14
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28                                                                       [PROPOSED] ORDER
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                                                                                          Exhibit A
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                     EXHIBIT A-1
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      1                       UNITED STATES DISTRICT COURT
      2                      CENTRAL DISTRICT OF CALIFORNIA
      3                               SOUTHERN DIVISION
      4 In re QUALITY SYSTEMS, INC.              ) No. 8:13-cv-01818-CJC-JPR
                                                 )
      5 SECURITIES LITIGATION                    ) CLASS ACTION
                                                 )
      6                                          )
          This Document Relates To:              ) EXHIBIT A-1
      7                                          )
                                                 )
      8        ALL ACTIONS.                      )
                                                 )
      9
     10      NOTICE OF (I) PENDENCY OF CLASS ACTION AND PROPOSED
     11            SETTLEMENT; (II) SETTLEMENT HEARING; AND
                (III) MOTION FOR ATTORNEYS’ FEES AND EXPENSES
     12
          A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
     13
     14 NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your
        rights may be affected by the above-captioned class action lawsuit pending in
     15 this Court (the “Litigation”) if you purchased or otherwise acquired the
     16 common stock of Quality Systems, Inc. (“QSI”) from May 26, 2011 through
        July 25, 2012, inclusive (the “Class Period”), and were damaged thereby.
     17
        NOTICE OF SETTLEMENT: Please also be advised that the City of Miami
     18
        Fire Fighters’ and Police Officers’ Retirement Trust (“Miami”) and Arkansas
     19 Teacher Retirement System (“ATRS”) (collectively, “Lead Plaintiffs”), on
        behalf of the Class (as defined in ¶1 below), have reached a proposed
     20
        settlement of the Litigation for a total of $19 million in cash that will resolve
     21 all claims in the Litigation (the “Settlement”).
     22 This Notice explains important rights you may have, including your possible
     23 receipt of cash from the Settlement. Your legal rights will be affected whether
        or not you act. Please read this Notice carefully!
     24
              1.     Description of the Litigation and the Class: This Notice relates to a
     25
        proposed Settlement of a class action lawsuit pending against the following
     26 defendants:     QSI, Steven T. Plochocki, Paul Holt, and Sheldon Razin
        (“Defendants”) (collectively, with Lead Plaintiffs, the “Settling Parties”). The
     27
        proposed Settlement, if approved by the Court, will apply to the following Class
     28                                              NOTICE OF PENDENCY OF CLASS ACTION
                                             -1-               AND PROPOSED SETTLEMENT
                                                                   Case No. 8:13-cv-01818-CJC-JPR




                                                                                  Exhibit A-1
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      1 (the “Class”): all persons and entities who purchased or otherwise acquired QSI
        common stock during the Class Period and were damaged thereby. Excluded from
      2 the Class are: (a) Defendants; (b) immediate family members of the individual
      3 Defendants (as defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and
        (1)(b)(ii)); (c) present or former executive officers or directors of QSI and their
      4 immediate family members (as defined in 17 C.F.R. §229.404 Instructions
      5 (1)(a)(iii) and (1)(b)(ii)); (d) any firm or entity in which any Defendant has or had
        a controlling interest during the Class Period; (e) any affiliates, parents, or
      6 subsidiaries of QSI; (f) all QSI plans that are covered by ERISA; and (g) the legal
      7 representatives, agents, affiliates, heirs, beneficiaries, successors-in-interest, or
        assigns of any excluded Person, in their respective capacity as such. Also excluded
      8 from the Class are those Persons who exclude themselves by submitting a request
      9 for exclusion, as set forth in ¶58 below, that is accepted by the Court. Anyone with
        questions as to whether or not they are excluded from the Class may call the
     10 Claims Administrator toll-free at 1-866-963-9980.
     11          2.    Statement of Class’s Recovery: Subject to Court approval, and as
     12   described more fully in ¶¶47-51 below, Lead Plaintiffs, on behalf of the Class,
          have agreed to settle all Released Plaintiffs’ Claims (as defined in ¶48 below)
     13
          against Defendants and other Released Defendant Parties (as defined in ¶49 below)
     14   in exchange for a settlement payment of $19 million in cash (the “Settlement
          Amount”) to be deposited into an escrow account. The Net Settlement Fund (the
     15
          Settlement Fund less Taxes and Tax Expenses, Notice and Administration
     16   Expenses, and attorneys’ fees and litigation expenses and Lead Plaintiffs’ expenses
          awarded by the Court) will be distributed in accordance with a plan of allocation
     17
          (the “Plan of Allocation”) that will be approved by the Court and will determine
     18   how the Net Settlement Fund shall be distributed to Members of the Class. The
          Plan of Allocation is a basis for determining the relative positions of Class
     19
          Members for purposes of allocating the Net Settlement Fund. The proposed Plan
     20   of Allocation is included in this Notice, and may be modified by the Court without
          further notice.
     21
     22         3.    Statement of Average Distribution Per Share: The Settlement
          Fund consists of the $19 million Settlement Amount plus interest earned.
     23   Assuming all potential Class Members elect to participate, the estimated average
     24   recovery is $0.63 per damaged share before fees and expenses. Class Members
          may recover more or less than this amount depending on, among other factors, the
     25   aggregate value of the Recognized Claims represented by valid and acceptable
     26   Claim Forms as explained in the Plan of Allocation; when their shares were
          purchased or acquired and the price at the time of purchase or acquisition; whether
     27   the shares were sold, and if so, when they were sold and for how much. In
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                              -2-                 AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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      1 addition, the actual recovery of Class Members may be further reduced by the
        payment of fees and costs from the Settlement Fund, as approved by the Court.
      2
                4.    Statement of the Parties’ Position on Damages: Defendants deny
      3 all claims of wrongdoing, that they engaged in any wrongdoing, that they are liable
      4 to Lead Plaintiffs and/or the Class and that Lead Plaintiffs or other Members of the
        Class suffered any injury. Moreover, the parties do not agree on the amount of
      5 recoverable damages if Lead Plaintiffs were to prevail on each of the claims. The
      6 issues on which the parties disagree include, but are not limited to, whether: (1) the
        statements made or facts allegedly omitted were material, false or misleading;
      7 (2) Defendants are otherwise liable under the securities laws for those statements
      8 or omissions; and (3) all or part of the damages allegedly suffered by Members of
        the Class were caused by economic conditions or factors other than the allegedly
      9 false or misleading statements or omissions.
     10
                5.    Statement of Attorneys’ Fees and Expenses Sought: Lead Counsel
     11 will apply to the Court, on behalf of all Plaintiffs’ Counsel, for an award of
     12 attorneys’ fees from the Settlement Fund of no more than 25% of the Settlement
        Amount, plus interest earned at the same rate and for the same period as earned by
     13 the Settlement Fund. In addition, Lead Counsel also will apply to the Court for
     14 payment from the Settlement Fund for Plaintiffs’ Counsel’s litigation expenses
        (reasonable expenses or charges of Plaintiffs’ Counsel in connection with
     15 commencing and prosecuting the Litigation), and may apply for reimbursement of
     16 Lead Plaintiffs’ time and expenses incurred in representing the Class, in a total
        amount not to exceed $300,000, plus interest earned at the same rate and for the
     17 same period as earned by the Settlement Fund. If the Court approves Lead
     18 Counsel’s fee and expense application, the estimated average cost per damaged
        share is $0.17.
     19
                6.    Identification of Attorneys’ Representatives: Lead Plaintiffs and
     20
        the Class are being represented by Robbins Geller Rudman & Dowd LLP and
     21 Bernstein Litowitz Berger & Grossmann LLP (collectively, “Lead Counsel”). Any
        questions regarding the Settlement should be directed to Robert R. Henssler Jr., Esq.
     22
        at Robbins Geller Rudman & Dowd LLP, 655 W. Broadway, Suite 1900, San
     23 Diego, CA 92101, (800) 449-4900, bhenssler@rgrdlaw.com, or Benjamin Galdston,
        Esq. at Bernstein Litowitz Berger & Grossmann LLP, 12481 High Bluff Drive, Suite
     24
        300, San Diego, CA 92130, (800) 380-8496, blbg@blbglaw.com.
     25
     26
     27
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                               -3-                AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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      1       YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT
      2   DO NOTHING                      Get no payment. Remain a Class Member.
      3                                   Give up your rights.
      4   REMAIN A MEMBER OF THE          This is the only way to be potentially
      5   CLASS AND SUBMIT A CLAIM        eligible to receive a payment. If you wish
          FORM POSTMARKED NO              to obtain a payment as a Member of the
      6   LATER THAN [_______], 2018      Class, you will need to file a claim form
      7                                   (the “Claim Form” or “Proof of Claim
                                          Form”), which is included with this Notice,
      8                                   postmarked no later than _______ __,
      9                                   2018.
     10   EXCLUDE YOURSELF FROM           Receive no payment pursuant to this
          THE CLASS (OPT OUT) BY          Settlement. This is the only option that
     11
          SUBMITTING A WRITTEN            allows you to ever potentially be part of
     12   REQUEST FOR EXCLUSION SO        any other lawsuit against any of the
     13   THAT IT IS RECEIVED NO          Defendants or the other Released
          LATER THAN [_______], 2018      Defendant Parties concerning the Released
     14                                   Plaintiffs’ Claims. Should you elect to
     15                                   exclude yourself from the Class, you
                                          should understand that Defendants and the
     16                                   other Released Defendant Parties will have
     17                                   the right to assert any and all defenses they
                                          may have to any claims that you may seek
     18                                   to assert, including, without limitation, the
     19                                   defense that any such claims are untimely
                                          under applicable statutes of limitations and
     20                                   statutes of repose.
     21   OBJECT TO THE SETTLEMENT        Write to the Court about your view on the
     22   SO THAT IT IS RECEIVED NO       Settlement, or why you don’t think the
          LATER THAN [_______], 2018      Settlement is fair to the Class.
     23
     24                                   If you do not exclude yourself from the
                                          Class, you may object to the Settlement, the
     25                                   Plan of Allocation, or the request for
     26                                   attorneys’ fees and litigation expenses.
                                          You must still submit a Claim Form in
     27                                   order to be potentially eligible to receive
     28                                          NOTICE OF PENDENCY OF CLASS ACTION
                                        -4-                AND PROPOSED SETTLEMENT
                                                              Case No. 8:13-cv-01818-CJC-JPR




                                                                              Exhibit A-1
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      1                                          any money from the Settlement Fund.

      2   GO TO THE HEARING ON                   Ask to speak in Court about the fairness of
          [_______], 2018, AT __:__ _.m.,        the Settlement, the proposed Plan of
      3   AND FILE A NOTICE OF                   Allocation, or the request for attorneys’
      4   INTENTION TO APPEAR SO                 fees and litigation expenses.
          THAT IT IS RECEIVED NO
      5
          LATER THAN [_______], 2018
      6
      7
                               WHAT THIS NOTICE CONTAINS
      8   Why Did I Get This Notice?                                                Page __
      9   What Is This Case About? What Has Happened So Far?                        Page __
          How Do I Know If I Am Affected By The Settlement?                         Page __
     10
          What Are Lead Plaintiffs’ Reasons For The Settlement?                     Page __
     11   What Might Happen If There Were No Settlement?                            Page __
     12   How Much Will My Payment Be?                                              Page __
          What Rights Am I Giving Up By Agreeing To The Settlement?                 Page __
     13   What Payment Are The Attorneys For The Class Seeking?                     Page __
     14   How Will The Lawyers Be Paid?
          How Do I Participate In The Settlement?                                   Page __
     15   What Do I Need To Do?
     16   What If I Do Not Want To Be A Part Of The Settlement?                     Page __
          How Do I Exclude Myself?
     17   When And Where Will The Court Decide Whether To Approve                   Page __
     18   The Settlement? Do I Have To Come To The Hearing?
          May I Speak At The Hearing If I Don’t Like The Settlement?
     19   What If I Bought Shares On Someone Else’s Behalf?                         Page __
     20   Can I See The Court File? Whom Should I Contact If I Have                 Page __
          Questions?
     21
     22                          WHY DID I GET THIS NOTICE
     23
                 7.     The purpose of this Notice is to inform you about (a) this Litigation,
     24   (b) the certification of the Class, (c) the terms of the proposed Settlement, and
          (d) your rights in connection with a hearing to be held before the United States
     25
          District Court, Central District of California, Southern Division (the “Court”), on
     26   _________, 2018, at____ _.m., to consider the fairness, reasonableness, and
          adequacy of the Settlement and related matters. This Notice also describes the
     27
          steps to be taken by those who wish to be excluded from the Class and, for those
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                               -5-                AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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      1   who remain Class Members, the steps necessary to seek to be potentially eligible
          to share in the distribution of the Net Settlement Fund in the event the Settlement
      2   is approved by the Court.
      3
                 8.    A class action is a type of lawsuit in which the claims of a number
      4   of individuals are resolved together, thus providing the class members with both
          consistency and efficiency. In a class action lawsuit, the Court selects one or
      5
          more people, known as class representatives, to sue on behalf of all people with
      6   similar claims, commonly known as the class or the class members. (For more
          information on excluding yourself from the Class, please read “What If I Do Not
      7
          Want To Be A Part Of The Settlement? How Do I Exclude Myself?” located
      8   below.) In the Litigation, the Court has appointed Lead Plaintiffs as the Class
          Representatives and Lead Counsel as Class Counsel, for purposes of the
      9
          Settlement.
     10
                 9.     The Court in charge of this case is the United States District Court
     11   for the Central District of California, Southern Division, and the case is known
     12   as In re Quality Systems, Inc. Securities Litigation, Case No. 8:13-cv-01818-
          CJC-JPR. The judge presiding over this case is the Honorable Cormac J.
     13   Carney, United States District Judge. The people who are suing are called
     14   plaintiffs, and those who are being sued are called defendants. In this case, the
          Defendants are QSI, Steven T. Plochocki, Paul Holt, and Sheldon Razin.
     15
     16         10. This Notice explains the lawsuit, the Settlement, your legal rights,
          what benefits are available, who is eligible for them, and how to get them. The
     17   purpose of this Notice is to inform you of this case, that it is a class action, how
     18   you might be affected, and how to exclude yourself from the Settlement if you
          wish to do so. It also is being sent to inform you of the terms of the proposed
     19   Settlement, and of a hearing to be held by the Court to consider the fairness,
     20   reasonableness, and adequacy of the proposed Settlement, the proposed Plan of
          Allocation, and the application by Lead Counsel for attorneys’ fees and litigation
     21   expenses (the “Settlement Hearing”).
     22         11. The Settlement Hearing will be held on ______, 2018, at ________
     23   _.m., before the Honorable Cormac J. Carney, at the United States District
          Court, Central District of California, Southern Division, Ronald Reagan Federal
     24   Building and United States Courthouse, 411 West Fourth Street, Santa Ana, CA
     25   92701, Courtroom 9B, for the following purposes:
     26         (a)    to determine whether the proposed Settlement on the terms and
     27                conditions provided for in the Stipulation is fair, reasonable, and

     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                               -6-                AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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      1               adequate and should be approved by the Court;

      2         (b)   to determine whether the Judgment as provided for under the
                      Stipulation of Settlement dated July 16, 2018 (the “Stipulation”)
      3               should be entered;
      4
                (c)   to determine whether the proposed Plan of Allocation for the net
      5               proceeds of the Settlement is fair and reasonable and should be
      6               approved by the Court;

      7         (d)   to determine whether the application by Lead Counsel for an award
                      of attorneys’ fees and litigation expenses should be approved; and
      8
      9         (e)   to rule upon such other matters as the Court may deem appropriate.

     10         12. This Notice does not express any opinion by the Court concerning
          the merits of any claim in the Litigation, and the Court still has to decide
     11   whether to approve the Settlement. If the Court approves the Settlement,
     12   payments to Authorized Claimants will be made after any appeals are resolved,
          and after the completion of all claims processing. This process takes time.
     13   Please be patient.
     14
     15     WHAT IS THIS CASE ABOUT? WHAT HAS HAPPENED SO FAR?

     16          13. This Litigation arises under Sections 10(b) and 20(a) of the
     17   Securities Exchange Act of 1934, and alleges that during the period between
          May 26, 2011 and July 25, 2012, inclusive (the “Class Period”), Defendants QSI,
     18   Steven T. Plochocki, Paul Holt and Sheldon Razin made materially false and
     19   misleading statements about QSI’s business performance and conditions. More
          specifically, Lead Plaintiffs allege that during the Class Period, Defendants
     20   misled investors regarding QSI’s sales opportunities (or “pipeline”), market
     21   demand for QSI’s products and QSI’s projected earnings growth.

     22          14. Lead Plaintiffs allege that during the Class Period, Defendants knew
          or recklessly disregarded that QSI’s sales prospects were declining as: (1) the
     23   market for QSI’s products had become “saturated”; (2) there were less
     24   “greenfield” opportunities, which meant more customers already had what QSI
          was selling; and (3) QSI’s pipeline of sales opportunities was shrinking. Lead
     25   Plaintiffs allege that Defendants concealed these facts from investors and that
     26   this scheme artificially inflated QSI’s stock price during the Class Period. On
          July 26, 2012, QSI announced that its income and earnings had declined
     27   compared to the previous year, and QSI retracted its previous guidance for fiscal
     28                                                NOTICE OF PENDENCY OF CLASS ACTION
                                             -7-                 AND PROPOSED SETTLEMENT
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                    Exhibit A-1
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      1   year 2013. QSI’s stock price declined to $15.95 per share at the close of trading
          on July 26, 2012, down 33% from the previous day’s closing price.
      2
                 15. On April 7, 2014, Lead Plaintiffs filed their Amended Complaint
      3   for Violations of the Federal Securities Laws. On June 20, 2014, Defendants
      4   moved to dismiss this complaint, which was opposed by Lead Plaintiffs. On
          October 20, 2014, the Court issued an order granting Defendants’ motion to
      5   dismiss. The United States Court of Appeals for the Ninth Circuit reversed this
      6   decision on July 28, 2017. Defendants filed a petition for a writ of certiorari to
          the United States Supreme Court for review of the Ninth Circuit’s July 28, 2017
      7   decision, which was pending at the time of the Settlement. Defendants filed
      8   their answer to the Amended Complaint on November 7, 2017.
      9          16. Following the Court of Appeals’ decision regarding Defendants’
     10   motion to dismiss, Lead Plaintiffs and Defendants began formal discovery. The
          Settling Parties served written discovery on each other, and issued subpoenas to
     11   third parties. At the time settlement was reached, Lead Plaintiffs had collected
     12   over 350,000 pages of documents from Defendants and various third parties.
          Similarly, Defendants collected over 11,000 pages of documents from Lead
     13   Plaintiffs, their investment managers and other third parties.
     14
                 17. In the course of the Litigation, the Settling Parties engaged the
     15   services of Gregory P. Lindstrom, Esq., of Phillips ADR, a nationally recognized
          mediator. The Settling Parties engaged in an in-person mediation session with
     16
          Mr. Lindstrom on May 9, 2018. While the Settling Parties did not reach an
     17   agreement to settle the Litigation at the mediation, the Settling Parties continued
          settlement negotiations with the assistance of Mr. Lindstrom who provided the
     18
          Settling Parties with a Mediator’s Proposal on May 10, 2018. The Settling
     19   Parties each accepted the Mediator’s Proposal to settle the Litigation for
          $19 million.
     20
     21      HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
     22
                 18. If you are a Member of the Class, you are subject to the Settlement
     23   unless you timely request to be excluded. The Class consists of all persons or
     24   entities who purchased or otherwise acquired QSI common stock during the
          Class Period and were damaged thereby. Excluded from the Class are: (a)
     25   Defendants; (b) immediate family members of the individual Defendants (as
     26   defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and (1)(b)(ii)); (c) present
          or former executive officers or directors of QSI and their immediate family
     27   members (as defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                              -8-                 AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




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      1   (1)(b)(ii)); (d) any firm or entity in which any Defendant has or had a controlling
          interest during the Class Period; (e) any affiliates, parents, or subsidiaries of
      2   QSI; (f) all QSI plans that are covered by ERISA; and (g) the legal
      3   representatives, agents, affiliates, heirs, beneficiaries, successors-in-interest, or
          assigns of any excluded Person, in their respective capacity as such. Also
      4   excluded from the Class are any persons or entities who exclude themselves by
      5   submitting a request for exclusion in accordance with the requirements set forth
          in this Notice. (See “What If I Do Not Want To Be A Part Of The Settlement?
      6   How Do I Exclude Myself?,” below.) Anyone with questions as to whether or
      7   not they are excluded from the Class may call the Claims Administrator toll-free
          at 1-866-963-9980.
      8
                RECEIPT OF THIS NOTICE DOES NOT NECESSARILY MEAN
      9         THAT YOU ARE A CLASS MEMBER OR THAT YOU ARE
     10         ENTITLED TO RECEIVE PROCEEDS FROM THE
                SETTLEMENT.     IF YOU WISH TO BE POTENTIALLY
     11         ELIGIBLE TO RECEIVE A DISTRIBUTION OF THE
     12         SETTLEMENT PROCEEDS, YOU MUST COMPLETE, SIGN
                AND    SUBMIT     THE   ENCLOSED   CLAIM      FORM
     13
                POSTMARKED NO LATER THAN [____________], 2018.
     14
     15   WHAT ARE LEAD PLAINTIFFS’ REASONS FOR THE SETTLEMENT?
     16          19. Lead Plaintiffs and Lead Counsel believe that the claims asserted
     17   against Defendants have merit. Lead Plaintiffs and Lead Counsel recognize,
          however, the expense and length of continued proceedings necessary to pursue
     18   their claims against Defendants through trial and appeals, as well as the
     19   difficulties in establishing liability, obtaining class certification and establishing
          damages. Lead Plaintiffs and Lead Counsel have considered the amount of the
     20   Settlement, as well as the uncertain outcome and risk in complex lawsuits like
     21   this one. Such risks include, in particular, the risk of Defendants’ pending
          petition for a writ of certiorari to the United States Supreme Court for review of
     22   the Ninth Circuit’s July 28, 2017 opinion reversing the District Court’s dismissal
     23   of the action and the risk, among others, that Lead Plaintiffs would be
          unsuccessful in proving that Defendants’ alleged misstatements were materially
     24   false and misleading, made with scienter (that is, the requisite state of mind), or
     25   caused compensable damages to the Class.

     26         20. In light of the amount of the Settlement and the immediacy of
          recovery to the Class, Lead Plaintiffs and Lead Counsel believe that the
     27
          proposed Settlement is fair, reasonable and adequate, and in the best interests of
     28                                                  NOTICE OF PENDENCY OF CLASS ACTION
                                                -9-                AND PROPOSED SETTLEMENT
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                      Exhibit A-1
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      1   the Class. Lead Plaintiffs and Lead Counsel believe that the Settlement provides
          a substantial benefit now, namely $19 million cash (less the various deductions
      2   described in this Notice), as compared to the risk that the claims would produce
      3   a smaller recovery, or no recovery after summary judgment, trial and appeals,
          possibly years in the future.
      4
                 21. Defendants have denied and continue to deny each and all of the
      5   claims alleged by Lead Plaintiffs in the Litigation. Defendants expressly have
      6   denied and continue to deny all charges of wrongdoing or liability against them
          arising out of any of the conduct, statements, acts or omissions alleged, or that
      7   could have been alleged, in the Litigation. Defendants also have denied and
      8   continue to deny, among other things, the allegations that Lead Plaintiffs or the
          Class have suffered any damage, that Lead Plaintiffs or the Class were harmed
      9   by the conduct alleged in the Litigation, or that the Litigation is properly
     10   certifiable as a class action for litigation purposes.
     11
              WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?
     12
     13          22. If there were no Settlement and Lead Plaintiffs failed to establish
          any essential legal or factual element of the alleged claims, neither Lead
     14   Plaintiffs nor the Class would recover anything from Defendants. If Lead
     15   Plaintiffs were not to succeed in obtaining class certification, Defendants may
          have asserted the defense that the claims of Class Members were untimely under
     16   applicable statutes of limitations and statutes of repose. Also, if Defendants
     17   were successful in proving any of their defenses, the Class likely would recover
          substantially less than the amount provided in the Settlement, or nothing at all.
     18
     19                        HOW MUCH WILL MY PAYMENT BE?
     20
                 23. Defendants have agreed to cause to be paid Nineteen Million
     21   Dollars ($19,000,000.00) in cash into escrow for the benefit of the Class. At this
     22   time, it is not possible to make any determination as to how much individual
          Class Members may receive from the Settlement. Lead Plaintiffs have proposed
     23   a plan for allocating the Net Settlement Fund to those Class Members who
     24   timely submit valid Proof of Claim Forms. The Plan of Allocation proposed by
          Lead Plaintiffs is set forth below, and additional information is available on the
     25   website       created        for     purposes        of      this      Settlement,
     26   www.QSISecuritiesSettlement.com.

     27         24.   Payment pursuant to the Plan of Allocation shall be conclusive
     28                                                NOTICE OF PENDENCY OF CLASS ACTION
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      1   against all Authorized Claimants. No person or entity shall have any claim
          based on distributions made substantially in accordance with the Stipulation and
      2   the Settlement contained therein, the Plan of Allocation, or further order(s) of the
      3   Court against Lead Counsel, Lead Plaintiffs, Class Members, the Claims
          Administrator, Defendants and the other Released Defendant Parties (defined
      4   below), or any person or entity designated by Lead Counsel. All Members of the
      5   Class who fail to timely submit an acceptable Claim Form by the deadline set by
          the Court, or such other deadline as may be ordered by the Court, or otherwise
      6   allowed, shall be forever barred from receiving any payments pursuant to the
      7   Settlement, but will in all other respects be subject to and bound by the terms of
          the Settlement, including the release of the Class Member’s Released Plaintiffs’
      8   Claims.
      9          25. Participants in and beneficiaries of a QSI plan covered by ERISA
     10   (“QSI ERISA Plan”) should NOT include any information relating to their
          transactions in QSI common stock held through the QSI ERISA Plan in any
     11   Claim Form that they may submit in this Litigation. They should include ONLY
     12   those shares that they purchased or acquired outside of the QSI ERISA Plan.
     13         26. The Court has reserved jurisdiction to allow, disallow, or adjust on
     14   equitable grounds the claim of any Member of the Class.

     15         27. The Plan of Allocation set forth below is the proposed plan
          submitted by Lead Plaintiffs and Lead Counsel for the Court’s approval. The
     16
          Court may approve this plan as proposed or it may modify it without further
     17   notice to the Class.
     18          28. Each Claimant shall be deemed to have submitted to the jurisdiction
     19   of the United States District Court for the Central District of California, Southern
          Division, with respect to his, her or its Claim Form.
     20
                 29. Persons and entities that exclude themselves from the Class will not
     21
          be eligible to receive a distribution from the Net Settlement Fund and should not
     22   submit Proof of Claim Forms.
     23
                                     PLAN OF ALLOCATION
     24
     25          30. The objective of the Plan of Allocation is to equitably distribute the
     26   settlement proceeds to those Class Members who suffered economic losses as a
          proximate result of the alleged wrongdoing. In developing the Plan of
     27   Allocation, Lead Plaintiffs’ damages expert calculated the potential amount of
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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      1   estimated alleged artificial inflation in QSI’s common stock which allegedly was
          proximately caused by Defendants’ alleged false and misleading statements and
      2   material omissions. In calculating the estimated alleged artificial inflation
      3   allegedly caused by Defendants’ alleged misrepresentations and omissions, Lead
          Plaintiffs’ damages expert considered the market and industry adjusted price
      4   changes in QSI’s stock price following certain corrective disclosures regarding
      5   QSI and the allegations in the Amended Complaint. The estimated potential
          alleged artificial inflation in QSI’s common stock is shown in Table A set forth
      6   at the end of this Notice.
      7         31. The calculations made pursuant to the Plan of Allocation are not
      8   intended to be estimates of, nor indicative of, the amounts that Class Members
          might have been able to recover after a trial. Nor are the calculations pursuant to
      9   the Plan of Allocation intended to be estimates of the amounts that will be paid
     10   to Authorized Claimants pursuant to the Settlement. The computations under the
          Plan of Allocation are only a method to weigh the claims of Authorized
     11   Claimants against one another for the purposes of making pro rata allocations of
     12   the Net Settlement Fund.
     13             CALCULATION OF RECOGNIZED LOSS AMOUNTS
     14
                 32. In order to have recoverable damages, a disclosure of the alleged
     15   truth omitted or concealed by the misrepresentations must be the cause of the
          decline in the price of QSI’s common stock. In this case, Lead Plaintiffs allege
     16
          that Defendants made false statements and omitted material facts during the
     17   Class Period, which had the effect of artificially inflating the prices of QSI’s
          common stock.
     18
     19          33. Alleged corrective disclosures that removed the artificial inflation
          from the stock price occurred on the following dates: May 7, 2012; May 8,
     20   2012; May 10, 2012; and July 26, 2012. The estimated inflation removed by
     21   each of these corrective disclosures, and the partial rebound on May 9, 2012,
          was used as the basis for the artificial inflation (see Table A). These fraud
     22   related price movements are as follows:
     23         May 7, 2012 price decline:
     24              $2.71 per share
                     May 7, 2012, market adjusted price decline.
     25
     26         May 8, 2012 price decline:
                     $2.84 per share
     27              May 8, 2012, market adjusted price decline.
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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      1
                May 9, 2012 partial price rebound:
      2              $0.97 per share
      3              May 9, 2012, market adjusted price increase.

      4         May 10, 2012 price decline:
      5              $1.78 per share
                     May 10, 2012, market adjusted price decline.
      6
      7         July 26, 2012 price decline:
                      $7.66 per share
      8               July 26, 2012, market adjusted price decline.
      9         34. Based on the formula set forth below, a “Recognized Loss Amount”
     10   will be calculated for each purchase or acquisition of QSI common stock during
          the Class Period that is listed in the Proof of Claim Form and for which adequate
     11   documentation is provided. In the calculations below, if a Recognized Loss
     12   Amount calculates to a negative number, that Recognized Loss Amount shall be
          zero.
     13
     14       For each share of QSI common stock purchased or acquired between
          May 26, 2011, through July 25, 2012, inclusive, and:
     15
                1. Sold before May 7, 2012, the Recognized Loss Amount shall be zero.
     16
                2. Sold between May 7, 2012, and July 25, 2012, inclusive, the
     17            Recognized Loss Amount shall be the lesser of:
     18               (a)    the amount of artificial inflation per share as set forth
                             in Table A on the date of purchase, minus the amount
     19                      of artificial inflation per share as set forth in Table A
     20                      on the date of the sale; or
     21               (b)    purchase/acquisition price minus the sale price.
     22         3.    Sold between July 26, 2012, and October 23, 2012, inclusive, the
                      Recognized Loss Amount shall be the least of:
     23
     24               (a)    the amount of artificial inflation per share as set forth
                             in Table A on the date of purchase;
     25
                      (b)    the purchase/acquisition price minus the sale price; or
     26
     27               (c)    the purchase/acquisition price minus the average
                             closing price between July 26, 2012, and the date of
     28                                                NOTICE OF PENDENCY OF CLASS ACTION
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      1                         sale as shown on Table B set forth at the end of this
                                Notice.
      2
                    4.    Held as of the close of trading on October 23, 2012, the Recognized
      3                   Loss Amount shall be the lesser of:
      4
                          (a)   the amount of artificial inflation per share as set forth
      5                         in Table A on the date of purchase; or
      6                   (b)   the purchase/acquisition price minus $18.07 per share,
      7                         the average closing price for QSI’s common stock
                                between July 26, 2012 and October 23, 2012 (the last
      8                         entry in Table B).1
      9                              ADDITIONAL PROVISIONS
     10
                    35. The Net Settlement Fund will be allocated among all Authorized
     11       Claimants based on the amount of each Authorized Claimant’s Recognized
              Claim (defined below).
     12
     13              36. If a Class Member has more than one purchase/acquisition or sale
              of QSI’s common stock, purchases/acquisitions and sales shall be matched on a
     14       First In, First Out (“FIFO”) basis. Class Period sales will be matched first
     15       against any holdings at the beginning of the Class Period, and then against
              purchases/acquisitions in chronological order, beginning with the earliest
     16       purchase/acquisition made during the Class Period.
     17
                     37. A Claimant’s “Recognized Claim” under the Plan of Allocation
     18       shall be the sum of his, her or its Recognized Loss Amounts.
     19
          1
     20          Pursuant to PSLRA, Section 21D(e)(1), “in any private action arising under
          this Act in which the plaintiff seeks to establish damages by reference to the
     21   market price of a security, the award of damages to the plaintiff shall not exceed
     22   the difference between the purchase or sale price paid or received, as appropriate,
          by the plaintiff for the subject security and the mean trading price of that security
     23   during the 90-day period beginning on the date on which the information
     24   correcting the misstatement or omission that is the basis for the action is
          disseminated to the market.” Consistent with the requirements of the PSLRA,
     25   Recognized Loss Amounts are reduced to an appropriate extent by taking into
     26   account the closing prices of QSI’s common stock during the 90-day look-back
          period. The mean (average) closing price for QSI’s common stock during this 90-
     27
          day look-back period was $18.07 per share.
     28                                                   NOTICE OF PENDENCY OF CLASS ACTION
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      1         38. The Net Settlement Fund will be distributed to Authorized
          Claimants on a pro rata basis based on the relative size of their Recognized
      2
          Claims. Specifically, a “Distribution Amount” will be calculated for each
      3   Authorized Claimant, which shall be the Authorized Claimant’s Recognized
          Claim divided by the total Recognized Claims of all Authorized Claimants,
      4
          multiplied by the total amount in the Net Settlement Fund. If any Authorized
      5   Claimant’s Distribution Amount calculates to less than $10.00, it will not be
          included in the calculation and no distribution will be made to such Authorized
      6
          Claimant.
      7
                 39. Purchases or acquisitions and sales of QSI’s common stock shall be
      8   deemed to have occurred on the “contract” or “trade” date as opposed to the
      9   “settlement” or “payment” date. The receipt or grant by gift, inheritance or
          operation of law of QSI’s common stock during the Class Period shall not be
     10   deemed a purchase, acquisition or sale of QSI’s common stock for the
     11   calculation of an Authorized Claimant’s Recognized Loss Amount, nor shall the
          receipt or grant be deemed an assignment of any claim relating to the
     12   purchase/acquisition of any QSI’s common stock unless (i) the donor or
     13   decedent purchased or otherwise acquired such QSI’s common stock during the
          Class Period; (ii) no Claim Form was submitted by or on behalf of the donor, on
     14   behalf of the decedent, or by anyone else with respect to those shares; and (iii) it
     15   is specifically so provided in the instrument of gift or assignment.
     16         40. The date of covering a “short sale” is deemed to be the date of
     17   purchase or acquisition of the QSI common stock. The date of a “short sale” is
          deemed to be the date of sale of the QSI common stock. Under the Plan of
     18   Allocation, however, the Recognized Loss Amount on “short sales” is zero. In
     19   the event that a Claimant has an opening short position in QSI’s common stock,
          the earliest Class Period purchases or acquisitions of QSI’s common stock shall
     20   be matched against such opening short position, and not be entitled to a
     21   recovery, until that short position is fully covered.

     22         41. Option contracts are not securities eligible to participate in the
          Settlement. With respect to QSI’s common stock purchased or sold through the
     23   exercise of an option, the purchase/sale date of the common stock is the exercise
     24   date of the option and the purchase/sale price of the common stock is the
          exercise price of the option.
     25
     26          42. To the extent a Claimant had a market gain with respect to his, her,
          or its overall transactions in QSI’s common stock during the Class Period, the
     27   value of the Claimant’s Recognized Claim shall be zero. Such Claimants shall
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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      1       in any event be bound by the Settlement. To the extent that a Claimant suffered
              an overall market loss with respect to his, her, or its overall transactions in QSI’s
      2       common stock during the Class Period, but that market loss was less than the
      3       total Recognized Claim calculated above, then the Claimant’s Recognized Claim
              shall be limited to the amount of the actual market loss.
      4
                    43. For purposes of determining whether a Claimant had a market gain
      5       with respect to his, her, or its overall transactions in QSI’s common stock during
      6       the Class Period or suffered a market loss, the Claims Administrator shall
              determine the difference between (i) the Total Purchase Amount2 and (ii) the
      7       sum of the Total Sales Proceeds3 and Holding Value.4 This difference shall be
      8       deemed a Claimant’s market gain or loss with respect to his, her, or its overall
              transactions in QSI’s common stock during the Class Period.
      9
     10              44. After the initial distribution of the Net Settlement Fund, the Claims
              Administrator shall make reasonable and diligent efforts to have Authorized
     11       Claimants cash their distribution checks. To the extent any monies remain in the
     12       fund within a reasonable time after the initial distribution, if Lead Counsel, in
              consultation with the Claims Administrator, determine that it is cost-effective to
     13       do so, the Claims Administrator shall conduct a re-distribution of the funds
     14       remaining after payment of any unpaid fees and expenses incurred in
              administering the Settlement, including for such re-distribution, to Authorized
     15       Claimants who have cashed their initial distributions and who would receive at
     16       least $10.00 from such re-distribution. Additional re-distributions to Authorized
              Claimants who have cashed their prior checks and who would receive at least
     17       $10.00 on such additional re-distributions may occur thereafter if Lead Counsel,
     18       in consultation with the Claims Administrator, determine that additional re-

     19   2
               The “Total Purchase Amount” is the total amount the Claimant paid
     20 (excluding commissions and other charges) for all of QSI’s common stock
     21 purchased or acquired during the Class Period.
        3
               The Claims Administrator shall match any sales of QSI’s common stock
     22
        prior to October 24, 2012, first against the Claimant’s opening position in the stock
     23 (the proceeds of those sales will not be considered for purposes of calculating
        market gains or losses). The total amount received (excluding commissions and
     24
        other charges) for the remaining sales of QSI’s common stock sold during the
     25 Class Period shall be the “Total Sales Proceeds.”
          4
     26        The Claims Administrator shall ascribe a value of $18.07 per share for QSI’s
        common stock purchased or acquired during the Class Period and still held as of
     27
        the close of trading on October 23, 2012 (the “Holding Value”).
     28                                                NOTICE OF PENDENCY OF CLASS ACTION
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      1   distributions, after the deduction of any additional fees and expenses incurred in
          administering the Settlement, including for such re-distributions, would be cost-
      2   effective. At such time as it is determined that the re-distribution of funds
      3   remaining in the Net Settlement Fund is not cost-effective, the remaining
          balance shall be contributed to non-sectarian, not-for-profit organization(s) to be
      4   recommended by Lead Counsel, or as otherwise ordered by the Court.
      5          45. Payment pursuant to the Plan of Allocation, or such other plan of
      6   allocation as may be approved by the Court, shall be conclusive against all
          Authorized Claimants. No person shall have any claim against Lead Plaintiffs,
      7   Lead Counsel, Lead Plaintiffs’ damages expert, or the Claims Administrator or
      8   other agent designated by Lead Counsel, or the Defendants’ releasees and/or
          their respective counsel, arising from distributions made substantially in
      9   accordance with the Stipulation, the Plan of Allocation approved by the Court, or
     10   further orders of the Court. Lead Plaintiffs and Defendants, their respective
          counsel, Lead Plaintiffs’ damages expert, and all other releasees shall have no
     11   responsibility or liability whatsoever for the investment or distribution of the
     12   Settlement Fund, the Net Settlement Fund, the Plan of Allocation, or the
          determination, administration, calculation, or payment of any Claim Form or
     13
          nonperformance of the Claims Administrator, the payment or withholding of
     14   taxes (including interest and penalties) owed by the Settlement Fund, or any
          losses incurred in connection therewith.
     15
     16          46. The Plan of Allocation set forth herein is the plan that is being
          proposed to the Court for its approval by Lead Plaintiffs after consultation with
     17   their damages expert. The Court may approve this plan as proposed or it may
     18   modify the Plan of Allocation without further notice to the Class. Any orders
          regarding any modification of the Plan of Allocation will be posted on the
     19   Settlement website.
     20
                 WHAT RIGHTS AM I GIVING UP BY AGREEING TO THE
     21                          SETTLEMENT?
     22
                 47. If the Settlement is approved, the Court will enter a judgment (the
     23   “Judgment”). The Judgment will dismiss with prejudice the claims against
     24   Defendants and will provide that Lead Plaintiffs and all other Releasing Plaintiff
          Parties (as defined in ¶50 below) shall have waived, released, discharged, and
     25   dismissed each and every one of the Released Plaintiffs’ Claims (as defined in
     26   ¶48 below), including Unknown Claims (as defined in ¶51 below), against each
          and every one of the Released Defendant Parties (as defined in ¶49 below) and
     27   shall forever be barred and enjoined from commencing, instituting, prosecuting,
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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      1   or maintaining any and all of the Released Plaintiffs’ Claims against any and all
          of the Released Defendant Parties, whether or not they execute and deliver the
      2   Claim Form or share in the Settlement Fund. Claims to enforce the terms of the
      3   Settlement are not released.

      4           48. “Released Plaintiffs’ Claims” means any and all actions, suits,
          claims, demands, rights, liabilities, obligations, damages, costs, restitution,
      5   rescission, interest, attorneys’ fees, expert or consulting fees, expenses, matters
      6   and issues whatsoever, whether known or unknown, asserted or unasserted,
          whether arising under federal, state, local, statutory, common, foreign or
      7   administrative law, or any other law, rule or regulation, whether fixed or
      8   contingent, at law or in equity, whether class or individual in nature, that any
          Releasing Plaintiff Party asserted in the Litigation or could have asserted, directly
      9   or indirectly, in any forum that arise out of or are based upon or related to (i) the
     10   purchase or acquisition of QSI common stock during the Class Period, and
          (ii) facts, claims, matters, allegations, transactions, events, disclosures,
     11   representations, statements, acts, or omissions or failures to act that were alleged,
     12   set forth, or referred to in the Amended Complaint. “Released Plaintiffs’ Claims”
          includes “Unknown Claims” as defined in ¶51 below. “Released Plaintiffs’
     13
          Claims” do not include: (i) any claims relating to the enforcement of the
     14   Settlement; (ii) any claims asserted in a derivative action or ERISA action,
          including, without limitation, the claims asserted in Timothy J. Foss v. Craig A.
     15
          Barbarosh, et al., Case No. 14-cv-00110-CJC (JPRx) (C.D. Cal.) and Kusumam
     16   Koshy v. Craig A. Barbarosh, et al., Case No. 17-cv-01694-CJC (JPRx) (C.D.
          Cal.); or (iii) any claims of any person or entity who or which submits a request
     17
          for exclusion that is accepted by the Court.
     18
                 49. “Released Defendant Parties” means each and all of the Defendants,
     19   and each of their respective past or present subsidiaries, parents, affiliates,
     20   principals, successors and predecessors, joint venturers, assigns, officers,
          directors, shareholders, underwriters, trustees, partners, members, agents,
     21   fiduciaries, contractors, employees, insurers, co-insurers, reinsurers, controlling
     22   shareholders, attorneys, accountants or auditors, financial or investment advisors
          or consultants, banks or investment bankers, personal or legal representatives,
     23   estates, heirs, related or affiliated entities, in their capacity as such, and any
     24   entity in which Defendants have a controlling interest, any member of an
          individual Defendant’s immediate family, or any trust of which any individual
     25   Defendant is a settlor or which is for the benefit of any individual Defendant
     26   and/or member(s) of his or her family, and each of the heirs, executors,
          administrators, predecessors, successors, and assigns of the foregoing.
     27
     28                                                  NOTICE OF PENDENCY OF CLASS ACTION
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      1          50. “Releasing Plaintiff Parties” means Lead Plaintiffs, Lead Counsel,
          each and every Class Member, and each of their respective past or present
      2   subsidiaries, parents, affiliates, principals, successors and predecessors, joint
      3   venturers, assigns, officers, directors, shareholders, underwriters, trustees,
          partners, members, agents, fiduciaries, contractors, employees, insurers, co-
      4   insurers, reinsurers, controlling shareholders, attorneys, accountants or auditors,
      5   financial or investment advisors or consultants, banks or investment bankers,
          personal or legal representatives, estates, heirs, related or affiliated entities in
      6   their capacity as such. Releasing Plaintiff Parties do not include any Person who
      7   timely and validly seeks exclusion from the Class.

      8          51. “Unknown Claims” means any and all Released Plaintiffs’ Claims
          which the Releasing Plaintiff Parties do not know or suspect to exist in their
      9   favor at the time of the release of the Released Defendant Parties, and any and
     10   all Released Defendants’ Claims (defined in ¶52 below) which the Released
          Defendant Parties do not know or suspect to exist in their favor at the time of the
     11   release of the Releasing Plaintiff Parties which, if known by him, her or it, might
     12   have affected his, her, or its decision(s) with respect to the Settlement, including
          the decision to object to the terms of the Settlement or to exclude himself,
     13
          herself, or itself from the Class. With respect to any and all Released Plaintiffs’
     14   Claims and Released Defendants’ Claims, the Settling Parties stipulate and agree
          that, upon the Effective Date, Lead Plaintiffs and Defendants shall expressly
     15
          waive, and each Releasing Plaintiff Party and Released Defendant Party shall be
     16   deemed to have, and by operation of the Judgment shall have expressly waived,
          the provisions, rights, and benefits of California Civil Code Section 1542, which
     17
          provides:
     18
                A general release does not extend to claims which the creditor
     19         does not know or suspect to exist in his or her favor at the time
                of executing the release, which if known by him or her must
     20         have materially affected his or her settlement with the debtor.
     21
          Lead Plaintiffs and Defendants shall expressly waive, and each Releasing
     22   Plaintiff Party and Released Defendant Party shall be deemed to have, and by
          operation of the Judgment shall have expressly waived, any and all provisions,
     23
          rights, and benefits conferred by any law of any state or territory of the United
     24   States or any foreign country, or any principle of common law, which is similar,
          comparable or equivalent in substance to California Civil Code Section 1542.
     25
          Lead Plaintiffs, any Releasing Plaintiff Party, Defendants, or any Released
     26   Defendant Party may hereafter discover facts, legal theories, or authorities in
          addition to or different from those which any of them now knows or believes to
     27
          be true with respect to the subject matter of the Released Plaintiffs’ Claims and
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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      1   the Released Defendants’ Claims, but Lead Plaintiffs and Defendants shall
          expressly, fully, finally, and forever waive, compromise, settle, discharge,
      2   extinguish, and release, and each Releasing Plaintiff Party and Released
      3   Defendant Party shall be deemed to have waived, compromised, settled,
          discharged, extinguished, and released, and upon the Effective Date and by
      4   operation of the Judgment shall have waived, compromised, settled, discharged,
      5   extinguished, and released, fully, finally, and forever, any and all Released
          Plaintiffs’ Claims and Released Defendants’ Claims as applicable, known or
      6   unknown, suspected or unsuspected, contingent or absolute, accrued or
      7   unaccrued, apparent or unapparent, which now exist, or heretofore existed, or
          may hereafter exist, without regard to the subsequent discovery or existence of
      8   such different or additional facts, legal theories, or authorities. Lead Plaintiffs
      9   and Defendants acknowledge, and the Releasing Plaintiff Parties and Released
          Defendant Parties shall be deemed by operation of the Judgment to have
     10   acknowledged, that the foregoing waiver was separately bargained for and a key
     11   element of the Settlement.

     12          52. The Judgment also will provide that Defendants and each of the
          other Released Defendant Parties shall be deemed to have waived, released,
     13
          discharged, and dismissed as against the Releasing Plaintiff Parties all claims
     14   and causes of action of every nature and description (including Unknown
          Claims), whether arising under federal, state, common, or foreign law, that any
     15
          Released Defendant Party could have asserted against any of the Releasing
     16   Plaintiff Parties that arise out of or relate in any way to the institution,
          prosecution, or settlement of the claims in the Litigation, except for claims
     17
          relating to the enforcement of the Settlement (the “Released Defendants’
     18   Claims”).
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
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                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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      1         WHAT PAYMENT ARE THE ATTORNEYS FOR THE CLASS
      2            SEEKING? HOW WILL THE LAWYERS BE PAID?

      3   53. Lead Counsel have not received any payment for their services in pursuing
          claims against Defendants on behalf of the Class, nor have Lead Counsel been
      4
          paid for their expenses. Before final approval of the Settlement, Lead Counsel
      5   intend to apply to the Court for an award of attorneys’ fees on behalf of all
          Plaintiffs’ Counsel from the Settlement Fund of no more than 25% of the
      6
          Settlement Amount, plus interest. At the same time, Lead Counsel also intend to
      7   apply for the payment from the Settlement Fund for Plaintiffs’ Counsel’s
          litigation expenses and may apply for an award for reimbursement of Lead
      8
          Plaintiffs’ time and expenses directly related to their representation of the Class,
      9   in a total amount not to exceed $300,000, plus interest. The Court will
          determine the amount of the award of fees and expenses. Such sums as may be
     10
          approved by the Court will be paid from the Settlement Fund. Class Members
     11   are not personally liable for any such fees or expenses.
     12
                      HOW DO I PARTICIPATE IN THE SETTLEMENT?
     13                        WHAT DO I NEED TO DO?
     14
                54. If you fall within the definition of the Class as described above, and
     15   you are not excluded by the definition of the Class and you do not elect to
     16   exclude yourself from the Class, then you are a Class Member, and you will be
          bound by the proposed Settlement if the Court approves it, and by any judgment
     17   or determination of the Court affecting the Class. If you are a Class Member,
     18   you must submit a Claim Form and supporting documentation to establish your
          potential entitlement to share in the proceeds of the Settlement. A Claim Form is
     19   included with this Notice, or you may go to the website maintained by the
     20   Claims Administrator for the Settlement to request that a Claim Form be mailed
          to you. The website is www.QSISecuritiesSettlement.com. You may also
     21   request a Claim Form by calling toll-free 1-866-963-9980. Copies of the Claim
     22   Form can also be downloaded from Lead Counsel’s websites at
          www.rgrdlaw.com. and www.blbglaw.com. Those who exclude themselves
     23   from the Class, and those who do not submit timely and valid Claim Forms with
     24   adequate supporting documentation, will not be entitled to share in the proceeds
          of the Settlement unless otherwise ordered by the Court. Please retain all
     25   original records of your ownership of, or transactions in the shares, as they may
     26   be needed to document your claim.
     27         55.    As a Class Member, for purposes of the Settlement, you are
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                              - 21 -              AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
                                                                                          - 77 -
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      1   represented by Lead Plaintiffs and Lead Counsel, unless you enter an appearance
          through counsel of your own choice at your own expense. You are not required
      2   to retain your own counsel, but if you choose to do so, such counsel must file a
      3   notice of appearance on your behalf and must serve copies of his or her notice of
          appearance on the attorneys listed in the section entitled, “When And Where
      4   Will The Court Decide Whether To Approve The Settlement?” below.
      5         56. If you do not wish to remain a Class Member, you may exclude
      6   yourself from the Class by following the instructions in the section entitled,
          “What If I Do Not Want To Be A Part Of The Settlement? How Do I Exclude
      7   Myself?” below. If you exclude yourself from the Class, you will not be eligible
      8   to receive any benefit from the Settlement and you should not submit a Claim
          Form but you will retain the right to be a part of any other lawsuit against any of
      9   the Released Defendant Parties (as defined in ¶49 above) with respect to any of
     10   the Released Plaintiffs’ Claims (as defined in ¶48 above).
     11          57. If you wish to object to the Settlement or any of its terms, the
     12   proposed Plan of Allocation, or Lead Counsel’s application for attorneys’ fees
          and litigation expenses, and if you do not exclude yourself from the Class, you
     13   may present your objections by following the instructions in the section entitled,
     14   “When And Where Will The Court Decide Whether To Approve The
          Settlement?” below. If you exclude yourself from the Class, you are not entitled
     15   to submit an objection.
     16
           WHAT IF I DO NOT WANT TO BE A PART OF THE SETTLEMENT?
     17
                          HOW DO I EXCLUDE MYSELF?
     18
                 58. Each Class Member will be bound by all determinations and
     19   judgments in this lawsuit concerning the Settlement, whether favorable or
     20   unfavorable, unless such person or entity mails, by first-class mail (or its
          equivalent outside the U.S.), or otherwise delivers a written request for exclusion
     21
          from the Class, addressed to QSI Securities Settlement, EXCLUSIONS, P.O.
     22   Box 173001, Milwaukee, WI 53217. The exclusion request must be received no
          later than ________, 2018. Each request for exclusion must clearly indicate the
     23
          name, address and telephone number of the person or entity seeking exclusion,
     24   that the sender requests to be excluded from the Class in In re Quality Systems,
          Inc. Securities Litigation, Case No. 8:13-cv-01818-CJC-JPR, and must be signed
     25
          by such person. Such persons or entities requesting exclusion are also directed
     26   to provide the following information: the number of shares of QSI common
          stock that the Person requesting exclusion (i) owned as of the opening of trading
     27
          on May 26, 2011, and (ii) purchased, acquired and/or sold from May 26, 2011
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                             - 22 -               AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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      1   through July 25, 2012, inclusive, as well as the number of shares, dates and
          prices for each such purchase, acquisition and sale. The request for exclusion
      2   shall not be effective unless it provides the required information and is made
      3   within the time stated above, or the exclusion is otherwise accepted by the Court.
          Should you elect to exclude yourself from the Class, you should understand that
      4   Defendants and the other Released Defendant Parties will have the right to assert
      5   any and all defenses they may have to any claims that you may seek to assert,
          including, without limitation, the defense that any such claims are untimely
      6   under applicable statutes of limitations and statutes of repose.
      7          59. If you do not want to be part of the Class, you must follow these
      8   instructions for exclusion even if you have pending, or later file, another lawsuit,
          arbitration, or other proceeding relating to any Released Plaintiffs’ Claim against
      9   any of the Released Defendant Parties. Excluding yourself from the Class is the
     10   only option that allows you to be part of any other current or future lawsuit
          against Defendants or any of the other Released Defendant Parties concerning
     11   the Released Plaintiffs’ Claims. Please note, however, if you decide to exclude
     12   yourself from the Class, you may be time-barred from asserting the claims
          covered by the Litigation by a statute of repose.
     13
     14         60. If a person or entity requests to be excluded from the Class, that
          person or entity will not receive any benefit provided for in the Stipulation.
     15
                 61. If the requests for exclusion from the Settlement exceed a certain
     16
          amount, as set forth in a separate confidential supplemental agreement between
     17   Lead Plaintiffs and Defendants (the “Supplemental Agreement”), QSI shall have,
          in its discretion, the option to terminate the Settlement in accordance with the
     18
          procedures set forth in the Supplemental Agreement.
     19
     20      WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO
                         APPROVE THE SETTLEMENT?
     21             DO I HAVE TO COME TO THE HEARING?
     22        MAY I SPEAK AT THE HEARING IF I DON’T LIKE THE
                               SETTLEMENT?
     23
     24         62. If you do not wish to object in person to the proposed
          Settlement, the proposed Plan of Allocation, and/or the application for
     25   attorneys’ fees and litigation expenses, you do not need to attend the
     26   Settlement Hearing. You can object to or participate in the Settlement
          without attending the Settlement Hearing.
     27
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                              - 23 -              AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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      1             63. The Settlement Hearing will be held on ______, 2018, at ________
              _.m., before the Honorable Cormac J. Carney, at the United States District
      2       Court, Central District of California, Southern Division, Ronald Reagan Federal
      3       Building and United States Courthouse, 411 West Fourth Street, Santa Ana, CA
              92701, Courtroom 9B. The Court reserves the right to approve the Settlement or
      4       the Plan of Allocation, Lead Counsel’s motion for an award of attorneys’ fees
      5       and expenses, and/or any other matter related to the Settlement at or after the
              Settlement Hearing without further notice to the Members of the Class.
      6
                      64. Any Class Member who does not request exclusion such that it is
      7       received no later than _______, 2018, may object to the Settlement, the Plan of
      8       Allocation, or Lead Counsel’s request for an award of attorneys’ fees and
              litigation Expenses.5 Objections or oppositions must be in writing. You must
      9       file any written objection or opposition, together with copies of all other
     10       supporting papers and briefs, with the Clerk’s Office at the United States District
              Court for the Central District of California, Southern Division, at the address set
     11       forth below on or before _______, 2018. You must also serve the papers on
     12       Lead Counsel for the Class and counsel for the Defendants at the addresses set
              forth below so that the papers are received on or before ______, 2018.
     13
     14            Clerk’s Office               Lead Counsel            Counsel for Defendants
                                                for the Class
     15          UNITED STATES                                               LATHAM &
                 DISTRICT COURT             ROBBINS GELLER                  WATKINS LLP
     16        CENTRAL DISTRICT            RUDMAN & DOWD                     Peter A. Wald
                 OF CALIFORNIA                     LLP                   505 Montgomery Street
     17       SOUTHERN DIVISION            Robert R. Henssler Jr.             Suite 2000
     18        Ronald Reagan Federal         655 W. Broadway               San Francisco, CA
                 Building and United            Suite 1900                       94111
     19           States Courthouse        San Diego, CA 92101
               411 West Fourth Street              -and-
     20         Santa Ana, CA 92701
                                          BERNSTEIN LITOWITZ
     21                                        BERGER &
     22                                     GROSSMANN LLP
                                            Benjamin Galdston
     23                                      12481 High Bluff
                                              DriveSuite 300
     24                                    San Diego, CA 92130
     25
     26
          5
                 Lead Plaintiffs’ initial motion papers in support of these matters will be filed
     27
          with the Court on or before _____________, 2018.
     28                                                     NOTICE OF PENDENCY OF CLASS ACTION
                                                 - 24 -               AND PROPOSED SETTLEMENT
                                                                         Case No. 8:13-cv-01818-CJC-JPR




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      1          65. The notice of objection must include documentation establishing the
          objecting Person’s membership in the Class, including the number of shares of
      2
          QSI common stock that the objecting Person (1) owned as of the opening of
      3   trading on May 26, 2011, and (2) purchased, acquired and/or sold during the
          Class Period, as well as the number of shares, dates and prices for each such
      4
          purchase, acquisition and sale, and contain a statement of reasons for the
      5   objection, copies of any papers, briefs, or other documents upon which the
          objection is based, a statement of whether the objector intends to appear at the
      6
          Settlement Hearing, and the objector’s signature, even if represented by counsel.
      7   Documentation establishing membership in the Class must consist of copies of
          brokerage confirmation slips or monthly brokerage account statements, or an
      8
          authorized statement from the objector’s broker containing the transactional and
      9   holding information found in a broker confirmation slip or account statement.
          Objectors who desire to present evidence at the Settlement Hearing in support of
     10
          their objection must include in their written objection or notice of appearance the
     11   identity of any witnesses they may call to testify and any exhibits they intend to
     12   introduce into evidence at the hearing

     13         66. You may not object to the Settlement or any aspect of it, if you
          exclude yourself from the Class.
     14
     15         67. You may file a written objection without having to appear at the
          Settlement Hearing. You may not appear at the Settlement Hearing to present
     16   your objection, however, unless you first filed and served a written objection in
     17   accordance with the procedures described above, unless the Court orders
          otherwise.
     18
                 68. You are not required to hire an attorney to represent you in making
     19   written objections or in appearing at the Settlement Hearing. If you decide to
     20   hire an attorney, which will be at your own expense, however, he or she must
          file a notice of appearance with the Court and serve it on Lead Counsel so that
     21   the notice is received on or before ____, 2018.
     22
                 69. The Settlement Hearing may be adjourned by the Court without
     23   further written notice to the Class, other than a posting of the adjournment on the
     24   Settlement website, www.QSISecuritiesSettlement.com. If you plan to attend
          the Settlement Hearing, you should confirm the date and time with Lead
     25   Counsel.
     26         Unless the Court orders otherwise, any Class Member who does
     27         not object in the manner described above will be deemed to
                have waived any objection and shall be forever foreclosed from
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                             - 25 -               AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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                making any objection to the proposed Settlement, the proposed
      1         Plan of Allocation, or Lead Counsel’s request for an award of
      2         attorneys’ fees and litigation expenses. Class Members do not
                need to appear at the hearing or take any other action to
      3         indicate their approval.
      4
             WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?
      5
      6          70. Nominees who purchased QSI common stock for beneficial owners
          who are Class Members are directed to: (a) request within seven (7) calendar
      7   days of receipt of this Notice additional copies of the Notice and the Claim Form
      8   from the Claims Administrator for such beneficial owners; or (b) send a list of
          the names and addresses of such beneficial owners to the Claims Administrator
      9   within seven (7) calendar days after receipt of this Notice. If a nominee elects to
     10   send the Notice to beneficial owners, such nominee is directed to mail the Notice
          within seven (7) calendar days of receipt of the additional copies of the Notice
     11   from the Claims Administrator, and upon such mailing, the nominee shall send a
     12   statement to the Claims Administrator confirming that the mailing was made as
          directed, and the nominee shall retain the list of names and addresses for use in
     13   connection with any possible future notice to the Class. Upon full compliance
     14   with these instructions, including the timely mailing of the Notice to beneficial
          owners, such nominees may seek reimbursement of their reasonable expenses
     15   actually incurred in complying with these instructions by providing the Claims
     16   Administrator with proper documentation supporting the expenses for which
          reimbursement is sought and reflecting compliance with these instructions,
     17   including timely mailing of the Notice, if the nominee elected or elects to do so.
     18   Such properly documented expenses incurred by nominees in compliance with
          the terms of these instructions will be paid from the Settlement Fund. Copies of
     19   this Notice may also be obtained by calling toll-free 1-866-963-9980, and may
     20   be downloaded from the Settlement website, www.QSISecuritiesSettlement.com
          or from Lead Counsel’s websites, www.rgrdlaw.com. or www.blbglaw.com.
     21
     22                   CAN I SEE THE COURT FILE?
     23           WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?

     24          71. This Notice contains only a summary of the terms of the proposed
          Settlement. More detailed information about the matters involved in the
     25
          Litigation is available at www.QSISecutiesSettlement.com, including, among
     26   other documents, copies of the Stipulation and Proof of Claim Form. All
          inquiries concerning this Notice or the Claim Form should be directed to:
     27
     28                                                 NOTICE OF PENDENCY OF CLASS ACTION
                                             - 26 -               AND PROPOSED SETTLEMENT
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-1
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      1                            QSI Securities Settlement
                                      c/o A.B. Data, Ltd.
      2                                P.O. Box 173037
      3                             Milwaukee, WI 53217
                              Toll-free number: 1-866-963-9980
      4
                                            OR
      5                        Robert R. Henssler Jr., Esq.
      6                 ROBBINS GELLER RUDMAN & DOWD LLP
                              655 W. Broadway, Suite 1900
      7                           San Diego, CA 92101
      8                              (800) 449-4900
                                bhenssler@rgrdlaw.com
      9
                                            -or-
     10
                                Benjamin Galdston, Esq.
     11            BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP
     12                     12481 High Bluff Drive, Suite 300
                                 San Diego, CA 92130
     13                             (800) 380-8496
     14                           blbg@blbglaw.com

     15                                Lead Counsel
     16
                       DO NOT CALL OR WRITE THE COURT OR
     17                 THE OFFICE OF THE CLERK OF COURT
     18                      REGARDING THIS NOTICE.
     19
          Dated: ____________, 2018                By Order of the Court
     20                                            United States District Court
     21                                            Central District of California
                                                   Southern Division
     22
     23
     24
     25
     26
     27
     28                                            NOTICE OF PENDENCY OF CLASS ACTION
                                        - 27 -               AND PROPOSED SETTLEMENT
                                                                Case No. 8:13-cv-01818-CJC-JPR




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      1                                   TABLE A

      2                   Purchase or Sale Date                           Inflation
      3
          May 26, 2011 through May 6, 2012                                        $14.02
      4
      5   May 7, 2012                                                             $11.31
      6
          May 8, 2012                                                               $8.47
      7
      8   May 9, 2012                                                               $9.44
      9
          May 10, 2012 through July 25, 2012                                        $7.66
     10
     11
     12
     13
     14
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     27
     28                                           NOTICE OF PENDENCY OF CLASS ACTION
                                         - 28 -             AND PROPOSED SETTLEMENT
                                                               Case No. 8:13-cv-01818-CJC-JPR




                                                                               Exhibit A-1
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      1                                TABLE B

      2
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     27
     28                                         NOTICE OF PENDENCY OF CLASS ACTION
                                       - 29 -             AND PROPOSED SETTLEMENT
                                                             Case No. 8:13-cv-01818-CJC-JPR




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                     EXHIBIT A-2
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      1 BERNSTEIN LITOWITZ BERGER
           & GROSSMANN LLP
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        BENJAMIN GALDSTON (211114)
      3 12481 High Bluff Drive, Suite 300
        San Diego, CA 92130
      4 Tel: (858) 793-0070
        Fax: (858) 793-0323
      5 davids@blbglaw.com
        beng@blbglaw.com
      6
        ROBBINS GELLER RUDMAN & DOWD LLP
      7 DARREN J. ROBBINS (168593)
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        San Diego, CA 92101
      9 Tel: (619) 231-1058
        Fax: (619) 231-7423
     10 darrenr@rgrdlaw.com
        bhenssler@rgrdlaw.com
     11
        Lead Counsel for Lead Plaintiffs
     12
     13                    UNITED STATES DISTRICT COURT
     14                   CENTRAL DISTRICT OF CALIFORNIA
     15                             SOUTHERN DIVISION
     16 In re QUALITY SYSTEMS, INC.        Case No. 8:13-cv-01818-CJC-JPRx
        SECURITIES LITIGATION
     17                                    CLASS ACTION
     18                                    CLAIM FORM
     19 This Document Relates To:          EXHIBIT A-2
     20       ALL ACTIONS.
     21
     22
     23
     24
     25
     26
     27
     28
                                                                          CLAIM FORM
                                                          Case No. 8:13-cv-01818-CJC-JPR




                                                                         Exhibit A-2
                                                                              - 86 -
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      1
                                     QSI Securities Settlement
      2                                c/o A.B. Data, Ltd.
      3                                 P.O. Box 173037
                                      Milwaukee, WI 53217
      4
      5                      Toll-Free Number: 1-866-963-9980
                          Email: info@QSISecuritiesSettlement.com
      6
                          Website: www.QSISecuritiesSettlement.com
      7
      8
                           PROOF OF CLAIM AND RELEASE
      9
     10 To be eligible to receive a share of the Net Settlement Fund in connection with the
     11 Settlement of this Litigation, you must complete and sign this Proof of Claim and
        Release (“Claim Form”) and mail it by first-class mail to the above address,
     12 postmarked no later than _________, 2018 or submit it online at the above
     13 website on or before _____, 2018.
     14 Failure to submit your Claim Form by the date specified will subject your claim to
        rejection and may preclude you from being eligible to receive any money in
     15 connection with the Settlement.
     16 Do not mail or deliver your Claim Form to the Court, the parties to the
     17 Action, or their counsel. Submit your Claim Form only to the Claims
        Administrator at the address set forth above.
     18
     19     TABLE OF CONTENTS                                    PAGE #

     20       PART I –INSTRUCTIONS

     21       PART II – CLAIMANT IDENTIFICATION

     22       PART III – SCHEDULE OF TRANSACTIONS IN
                         QSI COMMON STOCK
     23
              PART IV – SUBMISSION TO JURISDICTION OF COURT
     24                AND ACKNOWLEDGMENTS
     25       PART V – RELEASE AND SIGNATURE
     26
     27
     28
                                              -i-                                 CLAIM FORM
                                                                  Case No. 8:13-cv-01818-CJC-JPR




                                                                                 Exhibit A-2
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      1                            PART I - INSTRUCTIONS
      2 A.      GENERAL INSTRUCTIONS
      3         1.    To recover as a Member of the Class based on your claims in the
      4 action entitled In re Quality Systems, Inc. Securities Litigation, Case No. 8:13-cv-
      5 01818-CJC-JPR (the “Litigation”), you must complete and, on page [__] hereof,
      6 sign this Proof of Claim and Release (“Claim Form”). If you fail to file a properly
      7 addressed (as set forth in paragraph 3 below) Claim Form, your claim may be
      8 rejected, and you may be precluded from any recovery from the Net Settlement
      9 Fund created in connection with the proposed settlement of the Litigation.
     10         2.    Submission of this Claim Form, however, does not assure that you
     11 will share in the proceeds of settlement in the Litigation.
     12         3.    YOU MUST MAIL OR SUBMIT ONLINE YOUR COMPLETED
     13 AND SIGNED CLAIM FORM ON OR BEFORE ____________, 2018,
     14 ADDRESSED AS FOLLOWS:
     15         QSI Securities Settlement
                Claims Administrator
     16
                c/o A.B. Data, Ltd.
     17         P.O. Box 173037
                Milwaukee, WI 53217
     18
                www.QSISecuritiesSettlement.com
     19
     20 If you are NOT a Member of the Class, as defined below and in the Notice of
     21 (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing;
     22 and (III) Motion for Attorneys’ Fees and Expenses (the “Notice”), DO NOT
     23 submit a Claim Form.
     24         4.    If you are a Member of the Class and you do not timely and validly
     25 request exclusion from the Class, you are bound by the terms of any judgment
     26 entered in the Litigation, including the releases provided therein, WHETHER OR
     27 NOT YOU SUBMIT A CLAIM FORM.
     28
                                               -1-                                    CLAIM FORM
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-2
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      1        5.     It is important that you completely read and understand the Notice
      2 that accompanies this Claim Form, including the Plan of Allocation of the Net
      3 Settlement Fund set forth in the Notice.       The Notice describes the proposed
      4 Settlement, how Class Members are affected by the Settlement, and the manner in
      5 which the Net Settlement Fund will be distributed if the Settlement and Plan of
      6 Allocation are approved by the Court. The Notice also contains the definitions of
      7 many of the defined terms (which are indicated by initial capital letters) used in
      8 this Claim Form.      By signing and submitting this Claim Form, you will be
      9 certifying that you have read and that you understand the Notice, including the
     10 terms of the releases described therein and provided for herein.
     11 B.     CLAIMANT IDENTIFICATION
     12        1.     If you purchased or acquired QSI common stock and held the
     13 certificate(s) in your name, you are the beneficial purchaser or acquirer as well as
     14 the record purchaser or acquirer. If, however, the certificate(s) were registered in
     15 the name of a third party, such as a nominee or brokerage firm, you are the
     16 beneficial purchaser and the third party is the record purchaser.
     17        2.     Use Part II of this form entitled “Claimant Identification” to identify
     18 the beneficial owner(s) of the QSI common stock. The complete name(s) of the
     19 beneficial owner(s) must be entered. If you held the eligible QSI common stock in
     20 your own name, you are the beneficial owner as well as the record owner. If,
     21 however, your shares of eligible QSI common stock were registered in the name of
     22 a third party, such as a nominee or brokerage firm, you are the beneficial owner of
     23 these shares, but the third party is the record owner. THIS CLAIM MUST BE
     24 FILED AND SIGNED BY THE ACTUAL BENEFICIAL PURCHASER(S) OR
     25 ACQUIRER(S)         OR     THE     LEGAL       REPRESENTATIVE            OF      SUCH
     26 PURCHASER(S) OR ACQUIRER(S) OF THE QSI COMMON STOCK UPON
     27 WHICH THIS CLAIM IS BASED.
     28
                                              -2-                                   CLAIM FORM
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-2
                                                                                        - 89 -
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                                   #:2648



      1        3.     All joint purchasers must sign this Claim Form and be identified in
      2 Part II. The Social Security (or taxpayer identification) number and telephone
      3 number of the beneficial owner may be used in verifying the claim. Failure to
      4 provide the foregoing information could delay verification of your claim or result
      5 in rejection of the claim.
      6        4.     One Claim should be submitted for each separate legal entity.
      7 Separate Claim Forms should be submitted for each separate legal entity (e.g., a
      8 claim from joint owners should not include separate transactions of just one of the
      9 joint owners, and an individual should not combine his or her IRA transactions
     10 with transactions made solely in the individual’s name). Conversely, a single
     11 Claim Form should be submitted on behalf of one legal entity including all
     12 transactions made by that entity on one Claim Form, no matter how many separate
     13 accounts that entity has (e.g., a corporation with multiple brokerage accounts
     14 should include all transactions made in all accounts on one Claim Form).
     15        5.     Agents, executors, administrators, guardians, and trustees must
     16 complete and sign the Claim Form on behalf of persons represented by them, and
     17 they must:
     18               (a)   expressly state the capacity in which they are acting;
     19               (b)   identify the name, account number, Social Security Number (or
     20                     taxpayer identification number), address, and telephone number
                            of the beneficial owner of (or other person or entity on whose
     21                     behalf they are acting with respect to) the QSI common stock;
     22                     and
     23               (c)   furnish herewith evidence of their authority to bind to the Claim
                            Form the person or entity on whose behalf they are acting.
     24
                            (Authority to complete and sign a Claim Form cannot be
     25                     established by stockbrokers demonstrating only that they have
                            discretionary authority to trade securities in another person’s
     26
                            accounts.)
     27
               6.     By submitting a signed Claim Form, you will be swearing that you:
     28
                                              -3-                                   CLAIM FORM
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-2
                                                                                        - 90 -
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      1               (a)   own or owned the QSI common stock you have listed in the
      2        Claim Form; or
      3               (b)   are expressly authorized to act on behalf of the owner thereof.
      4 C.     CLAIM FORM
      5        1.     Use Part III of this form entitled “Schedule of Transactions in QSI
      6 Common Stock” to supply all required details of your transaction(s) in and
      7 holdings of QSI common stock. If you need more space or additional schedules,
      8 attach separate sheets giving all of the required information in substantially the
      9 same form. Sign and print or type your name on each additional sheet.
     10        2.     On the schedules, provide all of the requested information with
     11 respect to all of your purchases and acquisitions and all of your sales of QSI
     12 common stock that took place at any time on or between and including May 26,
     13 2011 and October 23, 2012, whether such transactions resulted in a profit or a loss.
     14 Failure to report all such transactions may result in the rejection of your claim.
     15 Also, list the number of shares held at the close of trading on May 25, 2011, July
     16 25, 2012, and October 23, 2012.
     17        3.     List each transaction in the Class Period separately and in
     18 chronological order, by trade date, beginning with the earliest.            You must
     19 accurately provide the month, day and year of each transaction you list.
     20        4.     You are required to submit genuine and sufficient documentation for
     21 all of your transactions in and holdings of QSI common stock set forth in the Claim
     22 Form. Documentation may consist of copies of brokerage confirmation slips or
     23 monthly brokerage account statements, or an authorized statement from your
     24 broker containing the transactional and holding information found in a broker
     25 confirmation slip or account statement. The parties and the Claims Administrator
     26 do not independently have information about your investments in QSI common
     27 stock. IF SUCH DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE
     28 OBTAIN COPIES OF THE DOCUMENTS OR EQUIVALENT DOCUMENTS
                                 -4-                   CLAIM FORM
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-2
                                                                                        - 91 -
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                                   #:2650



      1 FROM YOUR BROKER. FAILURE TO SUPPLY THIS DOCUMENTATION
      2 MAY RESULT IN THE REJECTION OF YOUR CLAIM. DO NOT SEND
      3 ORIGINAL DOCUMENTS. Please keep a copy of all documents that you send
      4 to the Claims Administrator. Also, do not highlight any portion of the Claim
      5 Form or any supporting documents.
      6        5.     The above requests are designed to provide the minimum amount of
      7 information necessary to process the simplest claims. The Claims Administrator
      8 may request additional information as required to efficiently and reliably calculate
      9 your losses. In the event the Claims Administrator cannot perform the calculation
     10 accurately or at a reasonable cost to the Class with the information provided, the
     11 Claims Administrator may condition acceptance of the claim upon the production
     12 of additional information and/or the claimant’s responsibility for any increased
     13 costs due to the nature and/or scope of the claim.
     14        6.     If the Court approves the Settlement, payments to eligible Authorized
     15 Claimants pursuant to the Plan of Allocation (or such other plan of allocation as
     16 the Court approves) will be made after any appeals are resolved, and after the
     17 completion of all claims processing. The claims process will take substantial time
     18 to complete fully and fairly. Please be patient.
     19        7.     PLEASE NOTE:          As set forth in the Plan of Allocation, each
     20 Authorized Claimant shall receive his, her or its pro rata share of the Net
     21 Settlement Fund. If the prorated payment to any Authorized Claimant calculates to
     22 less than $10.00, it will not be included in the calculation and no distribution will
     23 be made to that Authorized Claimant.
     24        8.     If you have questions concerning the Claim Form, or need additional
     25 copies of the Claim Form or the Notice, you may contact the Claims
     26 Administrator, A.B. Data, Ltd., at the address on the first page of the Claim Form,
     27 by email at info@QSISecuritiesSettlement.com, or by toll-free phone at 1-866-
     28
                                              -5-                                   CLAIM FORM
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-2
                                                                                        - 92 -
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      1 963-9980, or you can visit the website, www.QSISecuritiesSettlement.com, where
      2 copies of the Claim Form and Notice are available for downloading.
      3        9.    NOTICE REGARDING ELECTRONIC FILES: Certain claimants
      4 with large numbers of transactions may request, or may be requested, to submit
      5 information regarding their transactions in electronic files.          To obtain the
      6 mandatory electronic filing requirements and file layout, you may visit the
      7 settlement website at www.QSISecuritiesSettlement.com or you may email the
      8 Claims        Administrator’s      electronic      filing         department           at
      9 info@QSISecuritiesSettlement.com.      Any file not in accordance with the
     10 required electronic filing format will be subject to rejection. Only one claim
     11 should be submitted for each separate legal entity (see ¶ B.4 above) and the
     12 complete name of the beneficial owner(s) of the securities must be entered where
     13 called for (see ¶ B.2 above). No electronic files will be considered to have been
     14 submitted unless the Claims Administrator issues an email to that effect. Do not
     15 assume that your file has been received until you receive this email. If you do
     16 not receive such an email within 10 days of your submission, you should
     17 contact the electronic filing department at info@QSISecuritiesSettlement.com
     18 to inquire about your file and confirm it was received.
     19
     20                         IMPORTANT: PLEASE NOTE
     21        YOUR CLAIM IS NOT DEEMED FILED UNTIL YOU RECEIVE AN
     22 ACKNOWLEDGEMENT POSTCARD. THE CLAIMS ADMINISTRATOR
     23 WILL ACKNOWLEDGE RECEIPT OF YOUR CLAIM FORM BY MAIL,
     24 WITHIN       60    DAYS.         IF    YOU      DO     NOT         RECEIVE           AN
     25 ACKNOWLEDGEMENT POSTCARD WITHIN 60 DAYS, CALL THE
     26 CLAIMS ADMINISTRATOR TOLL FREE AT 1-866-963-9980.
     27
     28
                                              -6-                                   CLAIM FORM
                                                                    Case No. 8:13-cv-01818-CJC-JPR




                                                                                   Exhibit A-2
                                                                                        - 93 -
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      1                    PART II:     CLAIMANT IDENTIFICATION
      2
          Beneficial Owner’s Name (First, Middle, Last)
      3
      4
          Joint Beneficial Owner’s Name (if applicable) (First, Middle, Last)
      5
      6
          Name of Representative, if applicable (executor, administrator, trustee, c/o, etc.),
      7   if different from Beneficial Owner
      8   Street Address
      9
     10   City                                       State or Province
     11
     12   Zip Code or Postal Code                    Country
     13
                                                     ___________         Individual
     14   Social Security Number or                  ___________         Corporation/Other
          Taxpayer Identification Number
     15
     16   Area Code            Telephone Number (work)
     17
     18   Area Code            Telephone Number (home)
     19
     20
          Record Owner’s Name (if different from beneficial owner listed above)
     21
     22
     23
     24
     25
     26
     27
     28
                                               -7-                                    CLAIM FORM
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-2
                                                                                          - 94 -
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      1   PART III: SCHEDULE OF TRANSACTIONS IN QSI COMMON STOCK
      2 Please be sure to include proper documentation with your Claim Form as described
        in detail in ¶C.4 of the Instructions. Do not include information regarding
      3 securities other than QSI common stock.
      4
               A.     Number of shares of QSI common stock held at the close of
      5               trading on May 25, 2011. (Must be documented.) If none,
                      write “zero”: ____________
      6
               B.     Purchases or acquisitions of QSI common stock (May 26, 2011-
      7               October 23, 2012, inclusive) (Must be documented.):
      8 Date of Purchase/ Number of        Purchase /          Total Purchase or
        Acquisition
      9 (Trade Date)      Shares Purchased Acquisition         Acquisition Price
                          or Acquired      Price Per Share     (excluding any
     10 Mo. / Day / Year                                       taxes, commissions,
                                                               and fees)
     11       /    /                        $                  $
              /    /                        $                  $
     12       /    /                        $                  $
     13       /    /                        $                  $
     14         IMPORTANT: If any purchase listed covered a “short sale,” please mark
                Yes:  Yes
     15
               C.     Sales of QSI common stock (May 26, 2011-October 23, 2012,
     16               inclusive) (Must be documented.):

     17 Trade Date            Number of           Sale Price          Total Sales Price
        Mo. Day Year          Shares Sold         Per Share           (not deducting any
     18                                                               taxes, commissions,
                                                                      and fees)
     19      /     /                              $                   $
             /     /                              $                   $
     20
             /     /                              $                   $
     21      /     /                              $                   $
     22
               D.    Number of shares of QSI common stock held at the close of
     23              trading on July 25, 2012. (Must be documented.) If none,
                     write “zero”: ________________________
     24
               E.    Number of shares of QSI common stock held at the close of
     25              trading on October 23, 2012. (Must be documented.) If none,
                     write “zero”: _______________.
     26
               If you require additional space, attach extra schedules in the same format as
     27
        above. Sign and print your name on each additional page.
     28
                                              -8-                               CLAIM FORM
                                                                   Case No. 8:13-cv-01818-CJC-JPR




                                                                                  Exhibit A-2
                                                                                       - 95 -
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       1        YOU MUST READ AND SIGN THE RELEASE ON PAGE __.
       2 FAILURE TO SIGN THE RELEASE MAY RESULT IN A DELAY IN
       3 PROCESSING OR THE REJECTION OF YOUR CLAIM.
       4
       5     PART IV – SUBMISSION TO JURISDICTION OF COURT AND
                               ACKNOWLEDGMENTS
       6
       7        I (We) submit this Claim Form under the terms of the Stipulation of
       8 Settlement dated July 16, 2018 (“Stipulation”) described in the Notice. I (We) also
       9 submit to the jurisdiction of the United States District Court for the Central District
      10 of California, Southern Division, with respect to my (our) claim as a Class Member
      11 (as defined in the Notice) and for purposes of enforcing the release set forth herein.
      12 I (We) further acknowledge that I am (we are) bound by and subject to the terms of
      13 any judgment that may be entered in the Litigation. I (We) agree to furnish
      14 additional information to Lead Counsel and/or the Claims Administrator to support
      15 this claim if required to do so. I (We) have not submitted any other claim covering
      16 the same purchases, acquisitions, or sales of QSI common stock during the Class
      17 Period and know of no other Person having done so on my (our) behalf.
      18                             PART V – RELEASE
      19        1.      I (We) hereby acknowledge full and complete satisfaction of, and do
      20 hereby fully, finally and forever settle, release, relinquish and discharge all of the
      21 Released Plaintiffs’ Claims (including Unknown Claims) against each and all of
      22 the Released Defendant Parties, all as defined herein and in the Notice and
      23 Stipulation.
      24        2.      This release shall be of no force or effect unless and until the Court
      25 approves the Stipulation and it becomes effective on the Effective Date.
      26        3.      I (We) hereby warrant and represent that I (we) have not assigned or
      27 transferred or purported to assign or transfer, voluntarily or involuntarily, any
      28 matter released pursuant to this release or any other part or portion thereof and
                                              -9-                             CLAIM FORM
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-2
                                                                                          - 96 -
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       1 have not submitted any other claim covering the same purchases of QSI common
       2 stock and know of no other person having done so on my (our) behalf.
       3        4.     I (We) hereby warrant and represent that I (we) have included all
       4 requested information about all of my (our) purchases or acquisitions of QSI
       5 common stock during the Class Period, as well as sales of QSI common stock
       6 between May 26, 2011 through October 23, 2012, as well as the number of
       7 securities held at the close of trading on May 25, 2011, July 25, 2012, and October
       8 23, 2012.
       9        5.     The number(s) shown on this form is (are) the correct SSN/TIN(s).
      10        6.     I (We) waive the right to trial by jury, to the extent it exists, and agree
      11 to the determination by the Court of the validity or amount of this claim, and waive
      12 any right of appeal or review with respect to such determination.
      13        7.     I (We) certify that I am (we are) NOT subject to backup withholding
      14 under the provisions of Section 3406(a)(1)(C) of the Internal Revenue Code.
      15        (NOTE: If you have been notified by the Internal Revenue Service that you
      16 are subject to backup withholding, you must cross out Item 7 above.)
      17        I (We) declare under penalty of perjury under the laws of the United States
      18 of America that the foregoing information supplied by the undersigned is true and
      19 correct.
      20        Executed this ____ day of _________, 20__,
      21                                          (Month/Year)
      22
      23 in _____________________, _______________________________________.
               (City)                (State/Country)
      24
      25                                          ________________________________
      26                                          (Sign your name here)
      27
                                                  ________________________________
      28
                                               - 10 -                                  CLAIM FORM
                                                                       Case No. 8:13-cv-01818-CJC-JPR




                                                                                      Exhibit A-2
                                                                                           - 97 -
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       1                                           (Type or print your name here)
       2
                                                   ________________________________
       3
                                                   (Capacity of person(s) signing, e.g.,
       4                                           Beneficial Purchaser or Acquirer,
                                                   Executor or Administrator)
       5
       6 For Joint Beneficial Purchaser, if any:
       7                                           ________________________________
                                                   (Sign your name here)
       8
       9
                                                   ________________________________
      10                                           (Type or print your name here)
      11
                          ACCURATE CLAIMS PROCESSING TAKES A
      12                      SIGNIFICANT AMOUNT OF TIME.
                             THANK YOU FOR YOUR PATIENCE.
      13
      14        Reminder Checklist:

      15        1.    Please sign the above release and declaration.

      16        2.    Remember to attach copies of supporting documentation, if available.

      17        3.    Do not send original stock certificates.         Attach only copies of

      18 acceptable supporting documentation as these documents will not be returned to
      19 you.
      20        4.    Keep a copy of your Claim Form for your records.

      21        5.    The Claims Administrator will acknowledge receipt of your Claim

      22 Form by mail, within 60 days. Your claim is not deemed filed until you receive an
      23 acknowledgement postcard. If you do not receive an acknowledgement
      24 postcard within 60 days, please call the Claims Administrator toll free at 1-
      25 866-963-9980.
      26        6.    If you move, please send us your new address.

      27        7.    If you have any questions or concerns regarding your claim, contact

      28 the Claims Administrator at QSI Securities Settlement, c/o A.B. Data, Ltd., P.O.
                                          - 11 -                            CLAIM FORM
                                                                       Case No. 8:13-cv-01818-CJC-JPR




                                                                                      Exhibit A-2
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       1 Box       173037,       Milwaukee,        WI     53217,       by        email        at
       2 info@QSISecuritiesSettlement.com, or by toll-free phone at 1-866-963-9980, or
       3 you may visit www.QSISecuritiesSettlement.com. DO NOT call QSI, the other
       4 Defendants, or their counsel with questions regarding your claim.
       5
       6
       7
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      28
                                              - 12 -                               CLAIM FORM
                                                                   Case No. 8:13-cv-01818-CJC-JPR




                                                                                  Exhibit A-2
                                                                                       - 99 -
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                     EXHIBIT A-3
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                                    #:2659



       1 BERNSTEIN LITOWITZ BERGER
          & GROSSMANN LLP
       2 DAVID R. STICKNEY (188574)
         BENJAMIN GALDSTON (211114)
       3 12481 High Bluff Drive, Suite 300
         San Diego, CA 92130
       4 Telephone: 858/793-0070
         858/793-0323 (fax)
       5 davids@blbglaw.com
         beng@blbglaw.com
       6
         ROBBINS GELLER RUDMAN
       7 & DOWD LLP
         DARREN J. ROBBINS (168593)
       8 ROBERT R. HENSSLER JR. (216165)
         655 West Broadway, Suite 1900
       9 San Diego, CA 92101
         Telephone: 619/231-1058
      10 619/231-7423 (fax)
         darrenr@rgrdlaw.com
      11 bhenssler@rgrdlaw.com
      12 Lead Counsel for Lead Plaintiffs
      13
      14                      UNITED STATES DISTRICT COURT
      15                     CENTRAL DISTRICT OF CALIFORNIA
      16                             SOUTHERN DIVISION
      17 In re QUALITY SYSTEMS, INC.         )   No. 8:13-cv-01818-CJC-JPR
                                             )
      18 SECURITIES LITIGATION               )   CLASS ACTION
                                             )
      19                                     )   SUMMARY NOTICE OF
                                             )   (I) PENDENCY OF CLASS ACTION
      20 This Document Relates To:           )   AND PROPOSED SETTLEMENT;
                                             )   (II) SETTLEMENT HEARING; AND
      21        ALL ACTIONS.                 )   (III) MOTION FOR ATTORNEYS’
                                             )   FEES AND EXPENSES
      22
      23                                         EXHIBIT A-3

      24
      25
      26
      27
      28                                                               SUMMARY NOTICE
                                                            Case No. 8:13-cv-01818-CJC-JPR




                                                                            Exhibit A-3
                                                                                - 100 -
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       1 IF YOU PURCHASED OR ACQUIRED QUALITY SYSTEMS, INC. (“QSI”)
         COMMON STOCK FROM MAY 26, 2011, THROUGH AND INCLUDING
       2 JULY 25, 2012, AND WERE DAMAGED THEREBY (THE “CLASS”), YOU
         COULD RECEIVE A PAYMENT FROM A CLASS ACTION SETTLEMENT.
       3 CERTAIN PERSONS ARE EXCLUDED FROM THE DEFINITION OF THE
         CLASS AS SET FORTH IN THE STIPULATION OF SETTLEMENT.
       4
       5        PLEASE READ THIS NOTICE CAREFULLY. YOUR RIGHTS MAY BE
       6 AFFECTED BY A CLASS ACTION LAWSUIT PENDING IN THIS COURT.
       7        YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules
       8 of Civil Procedure and Order of the United States District Court for the Central
       9 District of California, Southern Division, that the above-captioned litigation (the
      10 “Litigation”) has been certified as a class action for the purposes of settlement only
      11 and that a Settlement has been proposed for $19,000,000 in cash. A hearing will
      12 be held on ____________, 2018, at __:__ _.m., before the Honorable Cormac J.
      13 Carney at the Ronald Reagan Federal Building and U.S. Courthouse, 411 West
      14 Fourth Street, Courtroom 9B, Santa Ana, CA 92701, for the purpose of
      15 determining whether: (1) the proposed Settlement should be approved by the Court
      16 as fair, reasonable and adequate; (2) the proposed Plan of Allocation for
      17 distribution of the Settlement proceeds is fair, reasonable and adequate and
      18 therefore should be approved; and (3) the application of Lead Plaintiffs’ counsel
      19 for the payment of attorneys’ fees and expenses of no more than 25% of the
      20 Settlement Amount (up to $4,750,000) and payment of expenses of no more than
      21 $300,000 from the Settlement Fund, including interest earned thereon, should be
      22 approved.
      23        IF YOU ARE A MEMBER OF THE CLASS DESCRIBED ABOVE,
      24 YOUR RIGHTS MAY BE AFFECTED BY THE SETTLEMENT OF THE
      25 LITIGATION, AND YOU MAY BE ENTITLED TO SHARE IN THE
      26 SETTLEMENT FUND.               If you have not received a detailed Notice of
      27 (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing;
      28
                                                -1-                            SUMMARY NOTICE
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-3
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       1 and (III) Motion for Attorneys’ Fees and Expenses (the “Notice”) and a copy of the
       2 Proof of Claim and Release, you may obtain a copy of these documents by
       3 contacting the Claims Administrator: QSI Securities Settlement, c/o A.B. Data, Ltd.
       4 P.O. Box 173037, Milwaukee, WI 53217, 1-866-963-9980. You may also obtain
       5 copies of the Stipulation of Settlement, Notice and Proof of Claim and Release at
       6 www.QSISecuritiesSettlement.com.
       7        If you are a Class Member, to be eligible to share in the distribution of the
       8 Net Settlement Fund, you must submit a Proof of Claim and Release by mail
       9 postmarked no later than ____________, 2018, or submit it online by that date. If
      10 you are a Class Member and do not submit a valid Proof of Claim and Release, you
      11 will not be eligible to share in the distribution of the Net Settlement Fund, but you
      12 will still be bound by any judgment entered by the Court in this Litigation
      13 (including the releases provided for therein).
      14        To exclude yourself from the Class, you must submit a written request for
      15 exclusion so that is received by ____________, 2018, in accordance with the
      16 instructions set forth in the Notice. If you are a Class Member and do not exclude
      17 yourself from the Class, you will be bound by any judgment entered by the Court
      18 in this Litigation (including the releases provided for therein) whether or not you
      19 submit a Proof of Claim and Release.             If you submit a written request for
      20 exclusion, you will have no right to recover money pursuant to the Settlement.
      21        Any objection to the proposed Settlement, the Plan of Allocation of
      22 Settlement proceeds, or the fee and expenses application must be filed with the
      23 Court and delivered such that it is received by each of the following no later than
      24 _______, 2018:
      25        CLERK OF THE COURT
                UNITED STATES DISTRICT COURT
      26        CENTRAL DISTRICT OF CALIFORNIA
                Ronald Reagan Federal Building & U.S. Courthouse
      27        411 West Fourth Street
                Santa Ana, CA 92701
      28
                                               -2-                             SUMMARY NOTICE
                                                                      Case No. 8:13-cv-01818-CJC-JPR




                                                                                     Exhibit A-3
                                                                                         - 102 -
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                                    #:2662



       1
       2
                 Lead Counsel:
       3
                 ROBBINS GELLER RUDMAN
       4          & DOWD LLP
                 ROBERT R. HENSSLER JR.
       5         655 West Broadway, Suite 1900
                 San Diego, CA 92101
       6
                 BERNSTEIN LITOWITZ BERGER
       7          & GROSSMANN LLP
                 BENJAMIN GALDSTON
       8         12481 High Bluff Drive, Suite 300
                 San Diego, CA 92130
       9
                 Defense Counsel:
      10
                 LATHAM & WATKINS LLP
      11         PETER A. WALD
                 505 Montgomery Street, Suite 2000
      12         San Francisco, CA 94111
      13
           PLEASE DO NOT CONTACT THE COURT, THE CLERK’S OFFICE,
      14
           DEFENDANTS, OR DEFENDANTS’ COUNSEL REGARDING THIS
      15
           NOTICE. If you have any questions about the Settlement, or your eligibility to
      16
           participate in the Settlement, you may contact Lead Counsel at the addresses listed
      17
           above or by calling 1-800-449-4900 or 1-800-380-8496.
      18
      19 DATED: ________________                BY ORDER OF THE COURT
      20                                        UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
      21                                        SOUTHERN DIVISION

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      24
      25
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      28
                                               -3-                            SUMMARY NOTICE
                                                                     Case No. 8:13-cv-01818-CJC-JPR




                                                                                    Exhibit A-3
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                        EXHIBIT B
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      13
      14                      UNITED STATES DISTRICT COURT
      15                     CENTRAL DISTRICT OF CALIFORNIA
      16                             SOUTHERN DIVISION
      17                                     )   No. 8:13-cv-01818-CJC-JPR
         In re QUALITY SYSTEMS, INC.
      18 SECURITIES LITIGATION               )
                                             )   CLASS ACTION
      19                                     )
                                             )   [PROPOSED] FINAL JUDGMENT
      20 This Document Relates To:           )   AND ORDER OF DISMISSAL WITH
                                             )   PREJUDICE
      21                                     )
                ALL ACTIONS.                 )   EXHIBIT B
      22                                     )

      23
      24
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      27
      28                                          [PROPOSED] FINAL JUDGMENT AND ORDER
                                                           OF DISMISSAL WITH PREJUDICE
                                                                Case No. 8:13-cv-01818-CJC-JPR




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       1         This matter came before the Court for hearing pursuant to the Order of this
       2 Court, dated ____________, on the application of the Settling Parties for approval
       3 of the Settlement set forth in the Stipulation of Settlement dated July 16, 2018 (the
       4 “Stipulation”). Due and adequate notice having been given to the Class as required
       5 in the Order, the Court having considered all papers filed and proceedings held
       6 herein and otherwise being fully informed in the premises and good cause
       7 appearing therefore, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
       8 that:
       9         1.    This Judgment incorporates by reference the definitions in the
      10 Stipulation, and all terms used herein shall have the same meanings as set forth in
      11 the Stipulation, unless otherwise stated herein.
      12         2.    This Court has jurisdiction over the subject matter of the Litigation
      13 and over all parties to the Litigation, including all Members of the Class.
      14         3.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court
      15 hereby affirms its determinations in the Preliminary Approval Order, which
      16 certified, for purposes of effectuating the Settlement, a Class defined as all persons
      17 or entities who purchased or otherwise acquired QSI common stock during the
      18 period from May 26, 2011 through July 25, 2012, inclusive, and were damaged
      19 thereby.     Excluded from the Class are: (a) Defendants; (b) immediate family
      20 members of the individual Defendants (as defined in 17 C.F.R. §229.404
      21 Instructions (1)(a)(iii) and (1)(b)(ii)); (c) present or former executive officers or
      22 directors of QSI and their immediate family members (as defined in 17 C.F.R.
      23 §229.404 Instructions (1)(a)(iii) and (1)(b)(ii)); (d) any firm or entity in which any
      24 Defendant has or had a controlling interest during the Class Period; (e) any
      25 affiliates, parents, or subsidiaries of QSI; (f) all QSI plans that are covered by
      26 ERISA; and (g) the legal representatives, agents, affiliates, heirs, beneficiaries,
      27
                                                        [PROPOSED] FINAL JUDGMENT AND ORDER
      28                                                         OF DISMISSAL WITH PREJUDICE
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       1 successors-in-interest, or assigns of any excluded Person, in their respective
       2 capacity as such. Also excluded from the Class are those Persons who made a
       3 timely and valid request for exclusion from the Class (as identified in Exhibit 1
       4 hereto).
       5         4.    With respect to the Class, this Court finds for the purposes of
       6 effectuating the Settlement that: (a) the Members of the Class are so numerous that
       7 joinder of all Class Members in the Litigation is impracticable; (b) there are
       8 questions of law and fact common to the Class; (c) the claims of Lead Plaintiffs are
       9 typical of the claims of the Class; (d) Lead Plaintiffs and their counsel have fairly
      10 and adequately represented and protected the interests of the Class Members; (e)
      11 the questions of law and fact common to the Class predominate over any questions
      12 affecting only individual Members of the Class; and (f) a class action is superior to
      13 other available methods for the fair and efficient adjudication of the controversy,
      14 considering: (i) the interests of the Members of the Class in individually
      15 controlling the prosecution of the separate actions; (ii) the extent and nature of any
      16 litigation concerning the controversy already commenced by Members of the
      17 Class; (iii) the desirability or undesirability of concentrating the litigation of these
      18 claims in this particular forum; and (iv) the difficulties likely to be encountered in
      19 the management of the Litigation.
      20         5.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court
      21 certifies Lead Plaintiffs as representatives of the Class. Lead Counsel are also
      22 certified as counsel to Lead Plaintiffs and the Class in the Litigation.
      23         6.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, this
      24 Court hereby approves the Settlement set forth in the Stipulation and finds that:
      25               (a)    the Stipulation and the Settlement contained therein are, in all
      26 respects, fair, reasonable and adequate;
      27
                                                         [PROPOSED] FINAL JUDGMENT AND ORDER
      28                                                          OF DISMISSAL WITH PREJUDICE
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       1               (b)   there was no collusion in connection with the Stipulation;
       2               (c)   the Stipulation was the product of informed, arm’s-length
       3 negotiations among competent, able counsel; and
       4               (d)   the record is sufficiently developed and complete to have
       5 enabled Lead Plaintiffs and Defendants to have adequately evaluated and
       6 considered their positions.
       7        7.     Accordingly, the Court authorizes and directs implementation and
       8 performance of all the terms and provisions of the Stipulation, as well as the terms
       9 and provisions hereof. Except as to any individual claim of those Persons who
      10 have validly and timely requested exclusion from the Class (identified in Exhibit 1
      11 hereto), the Litigation and all claims contained therein are dismissed with prejudice
      12 as to Lead Plaintiffs and the other Class Members and as against each and all of the
      13 Released Defendant Parties. The Settling Parties are to bear their own costs except
      14 as otherwise provided in the Stipulation.
      15        8.     No Person shall have any claim against Lead Plaintiffs, Lead Counsel,
      16 or the Claims Administrator, or any other Person designated by Lead Counsel
      17 based on determinations or distributions made substantially in accordance with the
      18 Stipulation and the Settlement contained therein, the Plan of Allocation, or further
      19 order(s) of the Court.
      20        9.     Upon the Effective Date, Lead Plaintiffs and each of the Class
      21 Members shall be deemed to have, and by operation of this Judgment shall have,
      22 fully, finally and forever waived, released, discharged, and dismissed each and
      23 every one of the Released Plaintiffs’ Claims against each and every one of the
      24 Released Defendant Parties with prejudice on the merits, whether or not Lead
      25 Plaintiffs or such Class Member executes and delivers the Proof of Claim and
      26 Release and whether or not Lead Plaintiffs or each of the Class Members ever
      27
                                                       [PROPOSED] FINAL JUDGMENT AND ORDER
      28                                                        OF DISMISSAL WITH PREJUDICE
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       1 seeks or obtains any distribution from the Settlement Fund. Claims to enforce the
       2 terms of the Stipulation are not released.
       3        10.    Upon the Effective Date, the Defendants and each and every Released
       4 Defendant Party shall be deemed to have, and by operation of this Judgment shall
       5 have, fully, finally and forever waived, released, discharged, and dismissed the
       6 Released Plaintiff Parties from all Released Defendants’ Claims (including,
       7 without limitation, Unknown Claims).         Claims to enforce the terms of the
       8 Stipulation are not released.
       9        11.    Upon the Effective Date, Lead Plaintiffs, all Class Members and
      10 anyone claiming through or on behalf of any of them are forever barred and
      11 enjoined from commencing, instituting, asserting or continuing to prosecute any
      12 action or proceeding in any court of law or equity, arbitration tribunal,
      13 administration forum or other forum of any kind any of the Released Plaintiffs’
      14 Claims (including, without limitation, Unknown Claims) against any of the
      15 Released Defendant Parties.
      16        12.    The distribution of the Notice and publication of the Summary Notice
      17 of (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing;
      18 and (III) Motion for Attorneys’ Fees and Expenses as provided for in the
      19 Preliminary Approval Order constituted the best notice practicable under the
      20 circumstances, including individual notice to Class Members who could be
      21 identified through reasonable effort. The notice provided was the best notice
      22 practicable under the circumstances of those proceedings and of the matters set
      23 forth therein, including the proposed Settlement set forth in the Stipulation, to all
      24 Persons entitled to such notice, and said notice fully satisfied the requirements of
      25 Federal Rule of Civil Procedure 23, due process and any other applicable law,
      26 including the Private Securities Litigation Reform Act of 1995. No Class Member
      27
                                                       [PROPOSED] FINAL JUDGMENT AND ORDER
      28                                                        OF DISMISSAL WITH PREJUDICE
                                               -4-                  Case No. 8:13-cv-01818-CJC-JPR




                                                                                        Exhibit B
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       1 is relieved from the terms of the Settlement, including the releases provided for
       2 therein, based upon the contention or proof that such Class Member failed to
       3 receive actual or adequate notice. A full opportunity has been offered to the Class
       4 Members to object to the proposed Settlement and to participate in the hearing
       5 thereon. The Court further finds that the notice provisions of the Class Action
       6 Fairness Act, 28 U.S.C. Section 1715, were fully discharged and that the statutory
       7 waiting period has elapsed. Thus, it is hereby determined that all members of the
       8 Class are bound by this Judgment, except those persons listed on Exhibit 1 to this
       9 Judgment.
      10         13.   Any Plan of Allocation submitted by Lead Counsel or any order
      11 entered regarding any attorneys’ fee and expense application shall in no way
      12 disturb or affect this Judgment and shall be considered separate from this
      13 Judgment. Any order or proceeding relating to the Plan of Allocation or any order
      14 entered regarding any attorneys’ fee and expense application, or any appeal from
      15 any order relating thereto or reversal or modification thereof, shall not affect or
      16 delay the finality of the Final Judgment in this action.
      17         14.   Neither the Stipulation nor the Settlement contained therein, nor any
      18 act performed or document executed pursuant to or in furtherance of the
      19 Stipulation or the Settlement: (a) is or may be deemed to be or may be used as an
      20 admission of, or evidence of, the validity of any Released Plaintiffs’ Claim or of
      21 any wrongdoing or liability of the Defendants; or (b) is or may be deemed to be or
      22 may be used as an admission of, or evidence of, any fault or omission of any of the
      23 Defendants in any civil, criminal or administrative proceeding in any court,
      24 administrative agency or other tribunal. Defendants may file the Stipulation and/or
      25 this Judgment in any other action that may be brought against them in order to
      26 support a defense or counterclaim based on principles of res judicata, collateral
      27
                                                        [PROPOSED] FINAL JUDGMENT AND ORDER
      28                                                         OF DISMISSAL WITH PREJUDICE
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                                                                                         Exhibit B
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       1 estoppel, release, good faith settlement, judgment bar or reduction, or any other
       2 theory of claim preclusion or issue preclusion or similar defense or counterclaim.
       3        15.     Without affecting the finality of this Judgment in any way, this Court
       4 hereby retains continuing jurisdiction over: (a) implementation of the Settlement
       5 and any award or distribution of the Settlement Fund, including interest earned
       6 thereon; (b) disposition of the Settlement Fund; (c) hearing and determining
       7 applications for attorneys’ fees and expenses in the Litigation; and (d) all parties
       8 hereto for the purpose of construing, enforcing and administering the Settlement.
       9        16.     The Court finds that during the course of the Litigation, the Settling
      10 Parties and their respective counsel at all times complied with the requirements of
      11 Federal Rule of Civil Procedure 11.
      12        17.     In the event that the Settlement does not become effective in
      13 accordance with the terms of the Stipulation, or the Effective Date does not occur,
      14 or in the event that the Settlement Fund, or any portion thereof, is returned to the
      15 Defendants or their insurers, then this Judgment shall be rendered null and void to
      16 the extent provided by and in accordance with the Stipulation and shall be vacated;
      17 and in such event, all orders entered and releases delivered in connection herewith
      18 shall be null and void to the extent provided by and in accordance with the
      19 Stipulation.
      20        18.     The Settling Parties shall bear their own costs and expenses except as
      21 otherwise provided in the Stipulation or in this Judgment.
      22        19.     Without further order of the Court, the Settling Parties may agree to
      23 reasonable extensions of time to carry out any of the provisions of the Stipulation.
      24        20.     The Court directs immediate entry of this Judgment by the Clerk of
      25 the Court.
      26
      27
                                                        [PROPOSED] FINAL JUDGMENT AND ORDER
      28                                                         OF DISMISSAL WITH PREJUDICE
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                                                                                         Exhibit B
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       1        21.    The Court’s orders entered during this Litigation relating to the
       2 confidentiality of information shall survive this Settlement.
       3
       4        IT IS SO ORDERED.
       5 DATED: __________________ ____________________________________
       6                           THE HONORABLE CORMAC J. CARNEY
                                   UNITED STATES DISTRICT JUDGE
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                                                        [PROPOSED] FINAL JUDGMENT AND ORDER
      28                                                         OF DISMISSAL WITH PREJUDICE
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                                                                                         Exhibit B
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